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      USA EX REL. HENRY B. HELLER vs GUARDIAN PHARMACY OF ATL, ET AL.
                           Kevin McAnaney on 06/14/2022                           ·

 ·1· · · · · IN THE UNITED STATES DISTRICT COURT
 · · · · · ·FOR THE NORTHERN DISTRICT OF GEORGIA
 ·2· · · · · · · · · ·ATLANTA DIVISION

 ·3· · UNITED STATES OF· · · · · )
 · · · AMERICA, ex rel. HENRY· · )
 ·4· · B. HELLER,· · · · · · · · )
 · · · · · · · · · · · · · · · · )
 ·5· · · · ·Plaintiff,· · · · · ·)
 · · · · · · · · · · · · · · · · )· Civil Action File No.
 ·6· · vs.· · · · · · · · · · · ·)· 1:18-cv-03728-SDG
 · · · · · · · · · · · · · · · · )
 ·7· · GUARDIAN PHARMACY OF· · · )
 · · · ATLANTA, LLC, et al.,· · ·)
 ·8· · · · · · · · · · · · · · · )
 · · · · · ·Defendants.· · · · · )
 ·9· · · · · · · · · · · · · · · )
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 10· · · · · · · · · · · · · · · )

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 13· · · ·Videotaped Videoconference Deposition of

 14· · · · · · · · · · KEVIN MCANANEY

 15· · · · · · · · ·(Taken by Plaintiff)

 16· · · · · · · · · ·Atlanta, Georgia

 17· · · · · · · · · · ·June 14, 2022

 18
 · · ·Reported by:· ·Lynne C. Fulwood
 19
 · · · · · · · · · · Certified Court Reporter
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 ·1· ·STATE OF GEORGIA
 ·2· ·COUNTY OF COBB
 ·3· ·VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF KEVIN
 ·4· ·MCANANEY
 ·5
 ·6· · · · · · · ·Pursuant to Article 8.B of the RULES AND
 ·7· ·REGULATIONS OF THE BOARD OF COURT REPORTING OF THE
 ·8· ·JUDICIAL COUNCIL OF GEORGIA, I make the following
 ·9· ·disclosure:
 10· · · · · · · ·I am a Georgia Certified Court Reporter.
 11· ·I am here as a representative of Huseby Global
 12· ·Litigation.
 13· · · · · · · ·Huseby Global Litigation was contacted by
 14· ·the offices of KEATING MUETHING AND KLEKAMP, PLL, to
 15· ·provide court reporting services for this deposition.
 16· ·Huseby Global Litigation will not be taking this
 17· ·deposition by O.C.G.A. 15-14-37 (a) and (b).
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 ·1· ·ON BEHALF OF THE PLAINTIFF:

 ·2· · · · · · · ·JOSEPH M. CALLOW, JR. - videoconference
 · · · · · · · · ·COLLIN RYAN - audio
 ·3· · · · · · · ·CARSON MILLER - audio
 · · · · · · · · ·Attorneys at Law
 ·4· · · · · · · ·Keating Muething & Klekamp, PLL
 · · · · · · · · ·1 East 4th Street
 ·5· · · · · · · ·Suite 1400
 · · · · · · · · ·Cincinnati, Ohio 45202
 ·6· · · · · · · ·513-579-6400
 · · · · · · · · ·Jcallow@kmklaw.com
 ·7· · · · · · · ·Cryan@kmklaw.com

 ·8· · · · · · · ·LYNN M. ADAM - audio
 · · · · · · · · ·Attorney at Law
 ·9· · · · · · · ·Adam Law, LLC
 · · · · · · · · ·125 Clairemont Avenue
 10· · · · · · · ·Suite 380
 · · · · · · · · ·Decatur, Georgia 30030
 11· · · · · · · ·404-324-3582
 · · · · · · · · ·Ladam@lynnadamlaw.com
 12
 · · · · · · · · ·MICHAEL J. MOORE - videoconference
 13· · · · · · · ·Attorney at Law
 · · · · · · · · ·Moore Hall, LLC
 14· · · · · · · ·3630 Peachtree Road, N.E.
 · · · · · · · · ·Suite 1025
 15· · · · · · · ·Atlanta, Georgia 30326
 · · · · · · · · ·Mjmoore@moorehall.com
 16
 · · ·ON BEHALF OF THE DEFENDANTS:
 17
 · · · · · · · · ·JARED RISSLER - videoconference
 18· · · · · · · ·GLENN P. HENDRIX - audio
 · · · · · · · · ·Attorneys at Law
 19· · · · · · · ·Arnall Golden Gregory, LLP
 · · · · · · · · ·171 17th Street, N.W.
 20· · · · · · · ·Suite 2100
 · · · · · · · · ·Atlanta, Georgia 30363-1031
 21· · · · · · · ·Jared.rissler@agg.com
 · · · · · · · · ·Glenn.hendrix@agg.com
 22

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                           Kevin McAnaney on 06/14/2022               Page 4

 ·1· · · · · · · · · · - - -
 ·2· · · · ·Videotaped videoconference deposition
 ·3· ·of KEVIN MCANANEY, taken by the Plaintiffs,
 ·4· ·at 1 East 4th Street, Suite 1400,
 ·5· ·Cincinnati, Ohio, on the 14th day of June
 ·6· ·2022, at 9:30 a.m., before Lynne C.
 ·7· ·Fulwood, Certified Court Reporter.
 ·8
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 ·1· · · · · · P R O C E E D I N G S
 ·2· · · · · · · · · · - - -
 ·3· · · · ·(Whereupon, the video camera was
 ·4· ·turned on.)
 ·5· · · · ·THE VIDEOGRAPHER:· This is the
 ·6· ·beginning of Media 1, in the deposition of
 ·7· ·Kevin McAnaney, in the matter of United
 ·8· ·States of America, ex rel., Henry B.
 ·9· ·Heller, versus Guardian Pharmacy of
 10· ·Atlanta, LLC.· Today's date is June 14th,
 11· ·2022.· The time is 9:30 a.m.
 12· · · · ·If the attorneys present will please
 13· ·introduce themselves for the record, after
 14· ·which the Court Reporter will swear in the
 15· ·witness.
 16· · · · ·MR. CALLOW:· This is Joe Callow on
 17· ·behalf of the Relator, Mr. Heller.· I have
 18· ·Carson Miller with me in the room and
 19· ·Mr. Ryan, Collin Ryan, is also
 20· ·participating.
 21· · · · ·MS. ADAM:· Good morning.· This is Lynn
 22· ·Adam on behalf of Mr. Heller.
 23· · · · ·MR. MOORE:· Michael Moore on behalf of
 24· ·Mr. Heller.
 25· · · · ·MR. RISSLER:· Good morning.· Jared

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 ·1· · · · Rissler on behalf of the defendant.
 ·2· · · · · · · (It was stipulated and agreed by all
 ·3· · · · counsel present, that the Court Reporter is
 ·4· · · · authorized to swear the witness remotely.)
 ·5· · · · · · · · · · KEVIN MCANANEY,
 ·6· ·having first been duly sworn, was deposed and
 ·7· ·examined as follows:
 ·8· · · · · · · · · · · EXAMINATION
 ·9· ·BY MR. CALLOW:
 10· · · · ·Q· · Mr. McAnaney, good morning.
 11· · · · ·A· · Good morning.
 12· · · · ·Q· · My name is Joe Callow.· I'm one of the
 13· ·attorneys representing the Relator, Mr. Heller, in
 14· ·the litigation that brings us here for your
 15· ·deposition.· I know you've been deposed before many
 16· ·times, but let me, for the record, go over a couple
 17· ·of ground rules just to make sure we're on the same
 18· ·page as we get started here.
 19· · · · · · · We obviously have the Court Reporter
 20· ·transcribing our conversation.· She'll take down
 21· ·everything that's said, what I ask and how you
 22· ·respond and anything that your attorneys say.· It
 23· ·will help as you know make her job easier if all your
 24· ·answers are verbal.· No shakes of the head, no
 25· ·uh-huh's or huh-uh's.· That way we have a clean

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 ·1· ·record.
 ·2· · · · · · · It will make her job easier if only one
 ·3· ·of us is talking.· So even though we're doing this by
 ·4· ·video, I'm going to ask you to let me finish my
 ·5· ·question before you start your answer, and I'm going
 ·6· ·to work to make sure that you finish your answer
 ·7· ·before I start my next question.· Fair enough?
 ·8· · · · ·A· · That's fine.
 ·9· · · · ·Q· · If at anytime you can't hear me or you
 10· ·don't understand me or we have a bad connection, just
 11· ·let me know.· I'll be happy to repeat it or rephrase
 12· ·it.· I can even have the Court Reporter repeat it
 13· ·back.· Obviously, one of the ground rules is that if
 14· ·you answer my question, I will assume that you
 15· ·understood it.· Fair enough?
 16· · · · ·A· · Understood.
 17· · · · ·Q· · We've got a lot to cover today.· We'll do
 18· ·it as expeditiously as possible, but if at anytime
 19· ·you need to take a break, just let me know.· I'll be
 20· ·happy to accommodate you.· I just don't want to do it
 21· ·while a question is pending.· Okay?
 22· · · · ·A· · Yes.
 23· · · · ·Q· · We've agreed to do these depos by video,
 24· ·so we're using technology.· You should be able to
 25· ·both see me and then have a share file where I can

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 ·1· ·post documents for you to review.
 ·2· · · · · · · Are you set up that way?
 ·3· · · · ·A· · I'm logged into share file.· I never used
 ·4· ·it, so I don't know till you post something.
 ·5· · · · ·Q· · So I'm going to post documents that way
 ·6· ·rather than handing them across the conference room
 ·7· ·table like in times past.· Sometimes you have to
 ·8· ·refresh your browser in order for it to show up.· And
 ·9· ·occasionally, there's a delay that we'll work
 10· ·through.· But the deposition exhibits I use will be
 11· ·in that share file.· You should be able to move up
 12· ·and down and see whatever you want in that share
 13· ·file, and I can point you to certain things that I'll
 14· ·ask you about as well.· If you have any technical
 15· ·issues, we'll take a break and work through them as
 16· ·well.· Okay?
 17· · · · ·A· · That's fine.
 18· · · · ·Q· · Where exactly are you today for this
 19· ·deposition?
 20· · · · ·A· · I'm in Bethesda, Maryland.
 21· · · · ·Q· · Okay.· And are you by yourself in the
 22· ·room?
 23· · · · ·A· · Yes.
 24· · · · ·Q· · Any documents that you have with you in
 25· ·the room?

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 ·1· · · · ·A· · No.
 ·2· · · · ·Q· · Do you have a hard copy of your report?
 ·3· · · · ·A· · I do not.
 ·4· · · · ·Q· · Okay.· Any phone, any distractions, any
 ·5· ·computers in the room?
 ·6· · · · ·A· · I've got a phone.· It's on mute.
 ·7· · · · ·Q· · Perfect.· Sounds good.· I'm going to mark
 ·8· ·your report as Exhibit 387, so we'll test the share
 ·9· ·file right away here, see if it works.· But
 10· ·Mr. Miller is going to post the document in that
 11· ·share file system.
 12· · · · · · · ·(Whereupon, Exhibit No. 387 was marked
 13· · · · ·for identification by the court reporter.)
 14· ·BY MR. CALLOW:
 15· · · · ·Q· · Let's see if it pops up and if you can
 16· ·review it.
 17· · · · ·A· · Let's see.· I'm trying to find where I
 18· ·just opened it up and let's see -- no, it's not --
 19· ·okay, let me go back and...
 20· · · · ·Q· · It's all right.· Take your time.
 21· · · · ·A· · Okay.· Yeah, no.· Let me -- okay.· Let me
 22· ·go to share file.· Oh, yes.· Okay.· Let me click on
 23· ·it.· Okay.· Now I have to download it?· Is that --
 24· · · · ·Q· · Correct.· And then once it's downloaded,
 25· ·you open it and you should be able to see it.

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 ·1· · · · ·A· · Okay.· I'm -- actually, I'm -- let me
 ·2· ·see, see if my downloads -- yes, it came up.· Wait.
 ·3· ·It just went backwards.· Let me --
 ·4· · · · ·Q· · Take your time.· We're good.
 ·5· · · · ·A· · Expert reports, I don't -- I click on it.
 ·6· · · · ·Q· · It may take a second to download because
 ·7· ·it's a large document but --
 ·8· · · · ·A· · No, I think it says it's downloading.                     I
 ·9· ·click on it, and it goes to something called Guardian
 10· ·expert reports.· But in that file, my report's not in
 11· ·there.· I'm not --
 12· · · · ·Q· · What file are you in, sir?
 13· · · · ·A· · Oh, wait a minute.· This is -- it's --
 14· ·well, I'm in my download file.· You know, I -- I --
 15· ·if you'd give me a second, I think I have to go to
 16· ·Google Chrome.· It seems to -- I have trouble -- I
 17· ·have trouble downloading on Safari sometimes.                    I
 18· ·mean, I don't know -- let me just try that because I
 19· ·think that will work.
 20· · · · ·Q· · Wait, let's see if you can get it up and
 21· ·running.
 22· · · · ·A· · Okay.· Yeah.
 23· · · · ·Q· · Mr. Rissler needs to walk you through it.
 24· ·You can look at that to get it set up.
 25· · · · · · · MR. CALLOW:· Let's go off the record,

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 ·1· · · · and let's take care of the technology.
 ·2· · · · · · · THE VIDEOGRAPHER:· The time is
 ·3· · · · 9:37 a.m.· We're now off the record.
 ·4· · · · · · · (Whereupon, the video camera was
 ·5· · · · turned off.)
 ·6· · · · · · · (Whereupon, a brief recess was taken.)
 ·7· · · · · · · (Whereupon, the video camera was
 ·8· · · · turned on.)
 ·9· · · · · · · THE VIDEOGRAPHER:· The time is
 10· · · · 9:39 a.m.· We're back on the record.
 11· ·BY MR. CALLOW:
 12· · · · ·Q· · Mr. McAnaney, we're back on the record.
 13· · · · · · · Do you have Exhibit 387 on your screen
 14· ·now?
 15· · · · ·A· · I do.
 16· · · · ·Q· · And this appears to be the expert report
 17· ·of Kevin G. McAnaney; is that correct?
 18· · · · ·A· · Yes.
 19· · · · ·Q· · And you want to scroll down and make sure
 20· ·this is the complete and accurate report that you
 21· ·proffered in this case that your signature is on
 22· ·page 39?
 23· · · · ·A· · Yes, it seems to be.
 24· · · · ·Q· · Do you know -- I don't see a date.· Do
 25· ·you know when you authored this report or finalized

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 ·1· ·it?
 ·2· · · · ·A· · I do not.· I think it may have been
 ·3· ·shortly before the due date.
 ·4· · · · ·Q· · Okay.
 ·5· · · · ·A· · I don't know if it was the date it was
 ·6· ·done or the day before or the day before that,
 ·7· ·somewhere in that range.
 ·8· · · · ·Q· · Did you write this report?
 ·9· · · · ·A· · Yes, I did.
 10· · · · ·Q· · And this report contains a number of
 11· ·opinions.· Does the report contain all the opinions
 12· ·that you intend to offer in this case?
 13· · · · ·A· · I think it's -- I think it's a summary of
 14· ·my opinions in the case, yes.· Those are the opinions
 15· ·I intend to offer unless counsel will ask me for more
 16· ·opinions.
 17· · · · ·Q· · And the bases for those opinions is also
 18· ·identified in the report and the attachments?
 19· · · · ·A· · I'm sorry, I didn't -- I didn't catch
 20· ·that.
 21· · · · ·Q· · The bases for your opinions is also
 22· ·contained in the report and the attachments that
 23· ·identify the documents that you reviewed, correct?
 24· · · · ·A· · Yes, they're -- they're summarized in the
 25· ·report.

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 ·1· · · · ·Q· · Have you done any additional work to form
 ·2· ·additional opinions since you authored this report?
 ·3· · · · ·A· · Additional matter, I hadn't been asked
 ·4· ·for any additional opinions that aren't basically
 ·5· ·already contained, I think, in the report.
 ·6· · · · ·Q· · Or formed any new or different opinions
 ·7· ·between the time that you authored the report and
 ·8· ·your deposition here today?
 ·9· · · · ·A· · I don't believe so.
 10· · · · ·Q· · Have you changed any of the opinions
 11· ·that's contained in the report, Exhibit 287 [sic]?
 12· · · · ·A· · I don't believe so.
 13· · · · ·Q· · Have you reviewed any other documents or
 14· ·any other pleadings that relate to this case since
 15· ·you authored the report?
 16· · · · ·A· · Yes, I've -- yes, I have.
 17· · · · ·Q· · What have you reviewed related to your
 18· ·expert's opinion in the case since you authored this
 19· ·report?
 20· · · · ·A· · I reviewed an expert -- a report by
 21· ·Ms. Hoffman, I think.· You were an expert for
 22· ·Mr. Heller.· And then I reviewed the -- some expert
 23· ·reports that were submitted by Guardian as well.
 24· · · · ·Q· · Did any of your opinions change based
 25· ·upon those reports that you reviewed?

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 ·1· · · · ·A· · No.
 ·2· · · · ·Q· · In preparing the report that we have,
 ·3· ·Exhibit 387, did you actually talk with anyone at
 ·4· ·Guardian about any of the opinions or the bases of
 ·5· ·your opinions?
 ·6· · · · ·A· · Talk to anyone where?
 ·7· · · · ·Q· · Talk to anyone at Guardian.
 ·8· · · · · · · Did you have any discussions with anyone
 ·9· ·at Guardian related to the opinions or the factual
 10· ·bases for the opinions in your report?
 11· · · · ·A· · Yes, I did.
 12· · · · ·Q· · Who did you talk to at Guardian?
 13· · · · ·A· · I can't recall.
 14· · · · ·Q· · Okay.· Do you recall when you talked with
 15· ·someone at Guardian regarding your opinion,
 16· ·Exhibit 387?
 17· · · · ·A· · Yes.· It was relatively early in the
 18· ·engagement.
 19· · · · ·Q· · Okay.· Did you have more than one
 20· ·discussion with someone at Guardian regarding your
 21· ·expert report, Exhibit 387?
 22· · · · ·A· · Not that I recall.· I only recall one
 23· ·conversation.
 24· · · · ·Q· · What do you recall about that
 25· ·conversation?

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 ·1· · · · ·A· · As I said, it was early in the
 ·2· ·engagement, and it was basically -- I think there
 ·3· ·were -- I believe there were several people from
 ·4· ·Guardian.· I believe one or two, at least.· And it
 ·5· ·was basically discussing the background of the -- of
 ·6· ·the -- and the facts regarding the various
 ·7· ·allegations.
 ·8· · · · ·Q· · Let me be clear.· I don't want to know
 ·9· ·about your discussions with Mr. Rissler or the law
 10· ·firm.· You're talking about a discussion with someone
 11· ·working for Guardian of Atlanta, correct?
 12· · · · ·A· · Yes.
 13· · · · ·Q· · Okay.· Why don't you --
 14· · · · ·A· · Although I believe Mr. Rissler or --
 15· ·or -- and/or one of the other attorneys was on the
 16· ·call.
 17· · · · ·Q· · Okay.· So this initial call had one or
 18· ·two people from Guardian of Atlanta and one or two
 19· ·attorneys from the law firm representing Guardian of
 20· ·Atlanta?
 21· · · · ·A· · That's my recollection.
 22· · · · ·Q· · And you don't recall who the individuals
 23· ·were at Guardian that were on the phone?
 24· · · · ·A· · No, I -- not off my head.· I could make a
 25· ·guess but I don't -- I can't recall.

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 ·1· · · · ·Q· · Did you rely upon any facts that you
 ·2· ·gained from that initial call to form any of the
 ·3· ·opinions that you've authored in Exhibit 387?
 ·4· · · · ·A· · I didn't rely on them, but I think some
 ·5· ·helped form the basis.
 ·6· · · · ·Q· · Okay.· What facts from that initial call
 ·7· ·helped form the basis of the opinions that you're
 ·8· ·offering in Exhibit 387?
 ·9· · · · ·A· · Well, the one in particular that -- most
 10· ·of the things were general background which were then
 11· ·supported by depositions and exhibits that I read
 12· ·later.· The one that I recall in that conversation
 13· ·was I asked specifically about the allegation about
 14· ·laptop computers on the medication carts.· And I was
 15· ·told that they were stripped down of functionality so
 16· ·that they essentially couldn't be used for much of
 17· ·anything other than the EMR.
 18· · · · ·Q· · You recall being told that by somebody
 19· ·during that initial call?
 20· · · · ·A· · Yes.· I specifically asked and -- and was
 21· ·told that.
 22· · · · ·Q· · Any other facts from that initial call
 23· ·that helped form the basis of opinions that you're
 24· ·offering in Exhibit 387?
 25· · · · ·A· · Not that I recall.

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 ·1· · · · ·Q· · Did you talk to any of the other experts
 ·2· ·retained by the defendant Guardian of Atlanta before
 ·3· ·you offered your report, Exhibit 387?
 ·4· · · · ·A· · No, I did not talk to any of the other
 ·5· ·experts.
 ·6· · · · ·Q· · Did you review any of the other expert
 ·7· ·reports prior to finalizing your report, Exhibit 387?
 ·8· · · · ·A· · Yes.· Mr. Zavalishin.
 ·9· · · · ·Q· · Zavalishin?
 10· · · · ·A· · Zavalishin, okay.
 11· · · · ·Q· · Any other reports of any of the other
 12· ·defense experts that you've reviewed prior to
 13· ·finalizing your report, Exhibit 387?
 14· · · · ·A· · No.
 15· · · · ·Q· · Have you worked with any of these other
 16· ·experts before in litigation, the experts that were
 17· ·retained by the defendants?
 18· · · · ·A· · I don't believe so.
 19· · · · ·Q· · Have you worked with Arnall Golden
 20· ·Gregory before?
 21· · · · ·A· · Yes.
 22· · · · ·Q· · When did you work with them before?
 23· · · · ·A· · I think I was involved with a matter for
 24· ·them.· We go back to 2008 or something.
 25· · · · ·Q· · A legal matter, a litigation matter?

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 ·1· · · · ·A· · And I don't think I've got anything -- I
 ·2· ·don't think anything -- I think that's the only time.
 ·3· ·I also occasionally work with a lawyer who recently
 ·4· ·joined them who is a -- who I've done some
 ·5· ·collaborative work with, mutual things.
 ·6· · · · ·Q· · Have you done any expert work for Arnall
 ·7· ·Golden Gregory before?
 ·8· · · · ·A· · I don't think so.· In that other matter,
 ·9· ·I was -- I was not -- I don't believe I was an
 10· ·expert.
 11· · · · ·Q· · Okay.
 12· · · · ·A· · Certainly not -- I was a consulting
 13· ·attorney.
 14· · · · ·Q· · Okay.· Were you giving legal advice as
 15· ·part of a consulting attorney?
 16· · · · ·A· · Yes.
 17· · · · ·Q· · And did it relate to the Anti-Kickback
 18· ·Statute?
 19· · · · ·A· · Yes.
 20· · · · ·Q· · Did it relate to Guardian of Atlanta or
 21· ·Guardian Pharmacy?
 22· · · · ·A· · No.
 23· · · · ·Q· · Have you ever done any consulting or
 24· ·legal work for Guardian of Atlanta?
 25· · · · ·A· · No.

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 ·1· · · · ·Q· · Have you done any consulting or legal
 ·2· ·work for Guardian Pharmacy?
 ·3· · · · ·A· · No.
 ·4· · · · ·Q· · Have you done any consulting or legal
 ·5· ·work for a long-term care pharmacy other than
 ·6· ·Guardian?
 ·7· · · · ·A· · Yes.
 ·8· · · · ·Q· · What other long-term care pharmacy have
 ·9· ·you done consulting or legal work for?
 10· · · · ·A· · I'm sorry, that got a little jumbled.
 11· · · · ·Q· · What is the name of the long-term care
 12· ·pharmacy that you have done consulting or legal work
 13· ·for in the past?
 14· · · · ·A· · Omnicare.
 15· · · · ·Q· · When did you do work for Omnicare in a
 16· ·consulting or legal role?
 17· · · · ·A· · I was -- I was retained by a law firm as
 18· ·an expert consultant in a case involving Omnicare.
 19· · · · ·Q· · When was that retention?
 20· · · · ·A· · I can't recall.· Maybe 2010, 2011,
 21· ·something like that.· So quite a while ago.
 22· · · · ·Q· · Were you a consulting expert or a lawyer
 23· ·legal counsel to them?
 24· · · · ·A· · I -- I was an expert.
 25· · · · ·Q· · Consulting or testifying expert?

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 ·1· · · · ·A· · Testifying.
 ·2· · · · ·Q· · Did you offer a deposition on behalf of
 ·3· ·Omnicare in the litigation matter?
 ·4· · · · ·A· · I think -- I gave a report that was
 ·5· ·requested by Omnicare's attorneys, yes.
 ·6· · · · ·Q· · Were you deposed on that report?
 ·7· · · · ·A· · Yes.
 ·8· · · · ·Q· · Did you testify at trial on that report?
 ·9· · · · ·A· · There are no trials.
 10· · · · ·Q· · Fair enough.· I'll take that as a no.
 11· · · · · · · Did you know the name of the Omnicare
 12· ·case from this 2010, '11 timeframe?
 13· · · · ·A· · I -- I -- I can't recall.· I can't recall
 14· ·the relator.
 15· · · · ·Q· · Do you recall the name of the law firm
 16· ·that retained you?
 17· · · · ·A· · I can't recall, although the attorneys
 18· ·had come from my old firm.
 19· · · · ·Q· · Okay.
 20· · · · ·A· · My firm had dissolved, and this -- I
 21· ·can't -- I can't recall.
 22· · · · ·Q· · Okay.· Do you recall where the case was
 23· ·pending?
 24· · · · ·A· · No.· Although if I had to guess, I'd say
 25· ·Massachusetts.

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 ·1· · · · ·Q· · Fair enough.
 ·2· · · · · · · Generally, what do you recall the
 ·3· ·substance of your report was in that case?
 ·4· · · · ·A· · The case involved discounts, and so my --
 ·5· ·the essence of my report was that the arrangements
 ·6· ·that were at issue complied with the discount safe
 ·7· ·harbor.· I believe -- I mean, that's the gist of it.
 ·8· ·There were several different -- several varieties of
 ·9· ·discounts over time, but I believe that was the gist.
 10· · · · ·Q· · Do you recall if the case involved
 11· ·swapping?
 12· · · · ·A· · No.· It did not involve swapping.
 13· · · · ·Q· · Do you recall if it involved providing
 14· ·free or discounted services to long-term care
 15· ·facilities or nursing homes?
 16· · · · ·A· · No.· My recollection, it didn't involve
 17· ·nursing homes.
 18· · · · ·Q· · Do you recall if it was after Omnicare's
 19· ·big settlement of $98 million where they paid federal
 20· ·government in the False Claims Act settlement?
 21· · · · ·A· · I -- I don't recall.
 22· · · · ·Q· · You're aware that Omnicare has actually
 23· ·had several different settlements with the federal
 24· ·government under False Claim Act and Anti-Kickback
 25· ·Statute, correct?

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 ·1· · · · ·A· · It wouldn't surprise me.
 ·2· · · · ·Q· · Any other work that you've done for a
 ·3· ·long-term care pharmacy either in consulting,
 ·4· ·expert -- testifying expert or in your legal
 ·5· ·(inaudible)?
 ·6· · · · ·A· · That's -- that's the -- that's the --
 ·7· ·that's the only one I can think of.
 ·8· · · · ·Q· · Okay.· Have you done any other expert
 ·9· ·work or legal work for an assisted living community
 10· ·in Georgia?
 11· · · · ·A· · Not to my knowledge.
 12· · · · ·Q· · Have you done any expert work or legal
 13· ·work for a personal care home in Georgia?
 14· · · · ·A· · Not that I'm aware of.
 15· · · · ·Q· · Prior to this case, have you ever offered
 16· ·expert opinions regarding the Georgia regulations for
 17· ·long-term care facilities such as assisted living
 18· ·communities or personal care?
 19· · · · ·A· · I don't think I've ever given any opinion
 20· ·on the Georgia regulations.
 21· · · · ·Q· · Let me ask you to turn to paragraph ten
 22· ·in your report.· Paragraph ten says:· I've reviewed
 23· ·certain documents that counsel have provided me as
 24· ·specifically set forth in appendix C to this report.
 25· ·I have not undertaken any independent investigation.

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 ·1· ·I've also reviewed the expert report of plaintiff's
 ·2· ·expert, Gregory S. Kaupp.· I've also reviewed the
 ·3· ·relevant statutes, regulations, preambles and
 ·4· ·government guidance related to the AKS and Stark.
 ·5· · · · · · · Did I read that correctly?
 ·6· · · · ·A· · Yes.
 ·7· · · · ·Q· · So the documents that you reviewed are in
 ·8· ·appendix C.· If you could scroll down, I have a
 ·9· ·couple questions about appendix C.
 10· · · · ·A· · Mine doesn't have appendix C attached on
 11· ·that document.
 12· · · · ·Q· · Let me have Mr. Miller put it up.· Hold
 13· ·on.
 14· · · · ·A· · How do I -- do I go back to this, I
 15· ·guess?· No.
 16· · · · ·Q· · Refresh.
 17· · · · ·A· · No.· Where am I?
 18· · · · ·Q· · Hold on one second.· There it goes.· See
 19· ·if you refresh and see if you can pop open the next
 20· ·exhibit.
 21· · · · ·A· · Okay.· I actually only use Google Chrome
 22· ·so I'm not showing -- where is the refresh button?
 23· · · · ·Q· · On mine, it's in the upper left, and it
 24· ·looks like a circle.
 25· · · · ·A· · (Inaudible) litigation -- oh, there I see

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 ·1· ·it.· It seems to me I'm not back in the -- do I need
 ·2· ·to go back to the Huseby Global and sign in again?                      I
 ·3· ·don't seem to be on that.
 ·4· · · · ·Q· · You don't have to sign in again, no.
 ·5· ·Don't sign in again.· You've already signed in once.
 ·6· ·You should be able to close that document and go back
 ·7· ·to that folder.
 ·8· · · · ·A· · Okay.· I can -- let's see, close the
 ·9· ·document.· No, no, it -- now it got me somewhere
 10· ·else.· Okay.· Let me.
 11· · · · · · · MR. RISSLER:· Kevin, if you go to the
 12· · · · tab where you downloaded the Exhibit 387,
 13· · · · at least in mine, there's a blue arrow to
 14· · · · the left that's near the top of the page.
 15· · · · It will take you back to where the folder
 16· · · · is where you can refresh.
 17· · · · · · · THE WITNESS:· Okay.· Let me -- I seem
 18· · · · to have -- I seem to have gotten out of the
 19· · · · whole thing.· So let me -- let me --
 20· · · · · · · MR. CALLOW:· Take your time to get
 21· · · · back in.· We're good.· We're all learning
 22· · · · the ways of this new system the past couple
 23· · · · of years, so take your time.· We're good.
 24· · · · · · · THE WITNESS:· Okay.· Now I'm back into
 25· · · · that.· Okay.· Appendix, unable to download

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 ·1· · · · the selected item.· I get a message I can't
 ·2· · · · download it.· Oh, wait a minute.· I see.
 ·3· · · · Never mind.· I've screwed up.· I'm in
 ·4· · · · Safari again.
 ·5· · · · · · · MR. CALLOW:· You're okay, sir.· Take
 ·6· · · · your time.
 ·7· · · · · · · THE WITNESS:· Oh, I know, okay.· Okay.
 ·8· · · · Okay.· Now I've got it.· Sorry.
 ·9· · · · · · · MR. CALLOW:· No problem.
 10· · · · · · · THE WITNESS:· Okay.
 11· ·BY MR. CALLOW:
 12· · · · ·Q· · So can you see what is attachment C?
 13· · · · ·A· · Yes.
 14· · · · ·Q· · Okay.· And these are the documents that
 15· ·you reviewed.· Did you put this list together?
 16· · · · ·A· · I did.
 17· · · · ·Q· · Okay.· And how did this list of documents
 18· ·come about?· How is it that these are the documents
 19· ·that you have in your file for your opinions in this
 20· ·case?
 21· · · · ·A· · Well, some of them were given to me
 22· ·initially as I asked for things to review at the
 23· ·beginning.· And then depositions came in as they were
 24· ·done and as I requested them.· I -- and other
 25· ·materials which I requested.

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 ·1· · · · ·Q· · Do you recall when you were first
 ·2· ·retained as an expert in this matter?
 ·3· · · · ·A· · I do not.
 ·4· · · · ·Q· · Do you recall if it was in 2022 or 2021?
 ·5· · · · ·A· · I -- I believe it may be have been late
 ·6· ·2021 in November, December, something like that.
 ·7· ·Maybe early 2021.· But I think -- I think -- I think
 ·8· ·late 2021, not 2022.
 ·9· · · · ·Q· · Are there specific documents that you
 10· ·requested to review to form your opinions in this
 11· ·case?
 12· · · · ·A· · Yes.
 13· · · · ·Q· · And what documents do you recall
 14· ·specifically requesting?
 15· · · · ·A· · I think the depositions and their
 16· ·exhibits.· I think the contracts, the various
 17· ·contracts.· Obviously, the two expert reports and --
 18· ·and the declarations by the homes.
 19· · · · ·Q· · Anything else that you recall requesting
 20· ·that you wanted to see to help form the opinions in
 21· ·your report, Exhibit 387?
 22· · · · ·A· · You said the declarations as well from
 23· ·the homes, the declarations and the depositions.                      I
 24· ·think -- I think those were the -- those were the
 25· ·documents that I specifically requested.

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 ·1· · · · ·Q· · You looked at the contracts between
 ·2· ·Guardian of Atlanta and the communities, correct?
 ·3· · · · ·A· · Yes.· And I -- I think if it's not here,
 ·4· ·I thought I had one -- one or two of the PBMs, at
 ·5· ·least one of the PBM contracts I think I took a look
 ·6· ·at.
 ·7· · · · ·Q· · So one of my questions was:· Did you
 ·8· ·review the language of the PBM contracts?
 ·9· · · · ·A· · I -- I believe I did.· I don't -- I
 10· ·certainly didn't review them all, but I believe I
 11· ·reviewed one of them or maybe two.
 12· · · · ·Q· · I didn't see references to the PBM
 13· ·contract language in your report.
 14· · · · · · · Are you relying upon some language in the
 15· ·PBM contract for any of the opinions in your report?
 16· · · · ·A· · No, I am not -- I am not -- I am not
 17· ·relying on -- on the -- I'm not relying on the
 18· ·language in the PBM contracts other than I am relying
 19· ·on the expert report of Mr. Zavalishin.
 20· · · · ·Q· · So you're not offering any opinions
 21· ·regarding the PBM contracts or the language in the
 22· ·PBM contracts?
 23· · · · ·A· · Yes.· No, I'm not.
 24· · · · ·Q· · And you've deferred to Mr. Zavalishin on
 25· ·that I think you've said in your report a couple of

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 ·1· ·times?
 ·2· · · · ·A· · Yes.
 ·3· · · · ·Q· · In the course of the work that you did
 ·4· ·for Guardian of Atlanta, did you review their
 ·5· ·Anti-Kickback Statute training?
 ·6· · · · ·A· · No.
 ·7· · · · ·Q· · You're aware that they did training on
 ·8· ·the Anti-Kickback Statute, are you not?
 ·9· · · · ·A· · I did.· And I guess I reviewed it to the
 10· ·extent they were exhibits.
 11· · · · ·Q· · Okay.· There were exhibits, and there was
 12· ·discussion about the Anti-Kickback Statute training
 13· ·at Guardian of Atlanta, correct?
 14· · · · ·A· · Yes.
 15· · · · ·Q· · And you saw that they did training, and
 16· ·they had an annual certification process, correct?
 17· · · · ·A· · That's my recollection.
 18· · · · ·Q· · There was also training on False Claims
 19· ·Act as well, correct?
 20· · · · ·A· · I'm not sure I paid much attention to
 21· ·that.
 22· · · · ·Q· · Okay.· You're not offering any opinions
 23· ·on the appropriateness of the Anti-Kickback Statute
 24· ·training at Guardian of Atlanta?
 25· · · · ·A· · No.

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 ·1· · · · ·Q· · Do you know whether it was adequate or
 ·2· ·appropriate, or do you believe it was consistent with
 ·3· ·the Anti-Kickback Statute?
 ·4· · · · ·A· · My recollection was what I reviewed was
 ·5· ·quite general.
 ·6· · · · ·Q· · Okay.· Is the training at Guardian of
 ·7· ·Atlanta on the Anti-Kickback Statute relevant to your
 ·8· ·opinions of whether they violated the Anti-Kickback
 ·9· ·Statute?
 10· · · · ·A· · Not particularly.
 11· · · · ·Q· · Why not?
 12· · · · ·A· · Because it -- the case is about whether
 13· ·conduct violated the kickback statute.
 14· · · · ·Q· · Do you know whether through the training
 15· ·that they conducted on an annual basis whether or not
 16· ·they were warned away from giving free services, free
 17· ·goods, discounted services, discounted goods in the
 18· ·course of their business?
 19· · · · ·A· · As I said, it was very general, yes.
 20· · · · ·Q· · So do you know whether or not there's
 21· ·anything in the training that's relevant to put
 22· ·Guardian of Atlanta on notice about some of the
 23· ·issues that you identified in your report?
 24· · · · · · · MR. RISSLER:· Object to form.
 25· · · · ·A· · My recollection is the training was --

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 ·1· ·was fairly general and spoke in terms of may or may
 ·2· ·not have put particular people on notice as to
 ·3· ·particular practices.
 ·4· ·BY MR. CALLOW:
 ·5· · · · ·Q· · You didn't cite to any of that training
 ·6· ·or any of the training materials or the slide deck or
 ·7· ·the PowerPoint presentation or the certifications in
 ·8· ·your report, correct?
 ·9· · · · ·A· · Correct.
 10· · · · ·Q· · Going back to your report, it says that
 11· ·you did not conduct any independent investigation.
 12· ·It's in paragraph ten.
 13· · · · · · · What do you mean by that?
 14· · · · ·A· · It means I -- I relied on the materials
 15· ·that -- that I had -- the depositions, the exhibits,
 16· ·the contracts.· I did not independently go and
 17· ·interview people or -- or take any steps to
 18· ·investigate whether what they said was accurate or
 19· ·not.
 20· · · · ·Q· · Did you conduct any research regarding
 21· ·any of the topics or issues that relate to the
 22· ·opinions in your report, Exhibit 387?
 23· · · · ·A· · Well, I -- I read the Lewin report.                    I
 24· ·reread, you know, what the OIG guidance says and
 25· ·things, but most of which I know.· So I didn't

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 ·1· ·conduct new.· I knew where to go and to look at it
 ·2· ·just to refresh it.
 ·3· · · · ·Q· · So the -- you cite to lots of things in
 ·4· ·your report and we're going to talk about them.
 ·5· ·Sounds like those are things you knew.
 ·6· · · · · · · Did you go do any new or independent
 ·7· ·research to help form any of the bases for your
 ·8· ·opinions in your report, Exhibit 387?
 ·9· · · · ·A· · I think that's accurate.
 10· · · · ·Q· · You did not look at anything new.· You
 11· ·relied on stuff that you already had in the
 12· ·(inaudible)?
 13· · · · ·A· · Yes, I think that's -- that's the case.
 14· · · · ·Q· · The last sentence in paragraph ten says:
 15· ·I've also reviewed the relevant statutes,
 16· ·regulations, preambles and government guidance
 17· ·related to AKS and Stark.· That's all in your report,
 18· ·right?· Anything that relates to a statute,
 19· ·regulation, preamble, is it cited somewhere in your
 20· ·report?
 21· · · · ·A· · It -- I mean, well, it may or may -- I
 22· ·reviewed materials that I didn't rely on.· So I
 23· ·wouldn't say everything is -- is in the report that I
 24· ·looked at.
 25· · · · ·Q· · Okay.

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 ·1· · · · ·A· · I think everything's in the report that I
 ·2· ·relied on.
 ·3· · · · ·Q· · Fair enough.
 ·4· · · · ·A· · Or close to it.
 ·5· · · · ·Q· · Can you tell me materials that you
 ·6· ·reviewed that you chose not to rely upon or they're
 ·7· ·not in your report so I have an example of what we're
 ·8· ·talking about?
 ·9· · · · ·A· · Well, there's a lot of guide- -- I mean,
 10· ·there are a lot of informal guidance documents that
 11· ·are put out by the OIG that I've not -- that I didn't
 12· ·rely on or that I didn't cite that I -- for one
 13· ·reason or another I didn't think they were relevant.
 14· ·I mean, some of the materials are cited by your --
 15· ·Ms. Hoffman, for example.· I mean, I didn't
 16· ·necessarily cite those.· I know them and I looked at
 17· ·them, but I didn't rely on them.
 18· · · · ·Q· · Fair enough.
 19· · · · · · · Paragraph seven of your report, sir,
 20· ·says:· Since 2003, I've been in private practice
 21· ·specializing in the Stark law and AKS.· In that
 22· ·capacity, I've had extensive experience counseling
 23· ·healthcare providers and entities on AKS compliance;
 24· ·is that correct?
 25· · · · ·A· · Yeah.· So I'm -- I now because I closed

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 ·1· ·the thing I didn't -- I don't have that up anymore.
 ·2· ·So how would I get that up?· I'm now on C.· So if I
 ·3· ·hit the refresh it will go back or should I just go
 ·4· ·back one?
 ·5· · · · ·Q· · I think Mr. Rissler is accurate.· There
 ·6· ·should be a blue arrow on the right side of your
 ·7· ·screen.
 ·8· · · · ·A· · On the right side, there should be a --
 ·9· ·what kind of an arrow?· I'm just...
 10· · · · ·Q· · On my screen, it's a white arrow and a
 11· ·blue circle that takes you back to the listing of the
 12· ·documents.
 13· · · · ·A· · Let's see.· That's -- and then I go back
 14· ·to the -- okay.· So I should get my report back up,
 15· ·right?
 16· · · · ·Q· · Mr. Rissler was accurate.· It probably is
 17· ·open at the bottom of the screen in tab format where
 18· ·you can keep them open and go back between different
 19· ·tabs.
 20· · · · ·A· · Okay.· Yeah, I'll -- I'll get the hang of
 21· ·it eventually.· Now I've got it.· So I'm sorry, you
 22· ·cited paragraph?
 23· · · · ·Q· · Paragraph seven.
 24· · · · ·A· · Paragraph?
 25· · · · ·Q· · Seven on page three.

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 ·1· · · · ·A· · Okay.· Yes.· Okay.
 ·2· · · · ·Q· · You've been in private practice since
 ·3· ·2003; is that correct?
 ·4· · · · ·A· · Yes.
 ·5· · · · ·Q· · And you specialize in Stark law and the
 ·6· ·Anti-Kickback Statute compliance; is that correct?
 ·7· · · · ·A· · Yes, that's correct.
 ·8· · · · ·Q· · So I don't want to get into your actual
 ·9· ·legal advice to clients.· Generally, tell me what
 10· ·your practice is.
 11· · · · ·A· · Well, I mean, my practice is -- as I said
 12· ·is basically entirely on those two statutes and their
 13· ·regs.· I don't -- I don't go out and do anything
 14· ·else.· And I -- well, I mean, it's changed over the
 15· ·years.· I mean, most of it was counseling for a long
 16· ·time.· I mean, all kinds of healthcare companies, how
 17· ·to structure various arrangements to comply with the
 18· ·two statutes.
 19· · · · · · · And increasingly since -- since the
 20· ·Affordable Care Act and the rise of False Claims Act
 21· ·cases based on Stark and kickback violations, I do a
 22· ·fair bit of consulting and -- and expert testimony
 23· ·dealing with False Claims Act cases.· And so those
 24· ·are the two pieces, consulting really and I then call
 25· ·it litigation related.

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 ·1· · · · ·Q· · The litigation-related stuff, is that
 ·2· ·expert work that you do?
 ·3· · · · ·A· · I mean, it's mostly expert reports.
 ·4· ·Sometimes it's brought in as a consulting attorney
 ·5· ·given my specific expertise in these two areas.· And
 ·6· ·sometimes it's a consulting -- sometimes it's an
 ·7· ·attorney.· Sometimes it's a consulting expert.
 ·8· ·Sometimes it's a testifying expert.
 ·9· · · · ·Q· · Are you a litigator where you appear in
 10· ·court to litigate?
 11· · · · ·A· · I am not a litigator.
 12· · · · ·Q· · Fair enough.
 13· · · · · · · The breakdown of your work from
 14· ·litigation related where it's consulting attorney or
 15· ·expert work versus advising a client in a
 16· ·non-litigation component?
 17· · · · ·A· · I'm sorry.
 18· · · · ·Q· · Yeah.· So trying to figure out the
 19· ·percentage of your work that may be litigation
 20· ·related, whether you're a consulting expert,
 21· ·testifying expert or consulting attorney versus
 22· ·private practice.
 23· · · · ·A· · Yeah.· So it's -- I would say
 24· ·historically, it's been 75 consulting, 25 -- I mean,
 25· ·well, very little since I left in 2003.· Prior to I'd

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 ·1· ·say 2010, 2012, there was very little litigation
 ·2· ·type.· There was some, but it was relatively small.
 ·3· ·I'd say since then it's probably been on average
 ·4· ·litigation related 25 to 33 percent.· And I think
 ·5· ·maybe during COVID, it may have been more because
 ·6· ·I've been tailing off my practice.· So that's --
 ·7· ·that's easier to tail off than consulting is.
 ·8· · · · ·Q· · You've been tailing off your
 ·9· ·(inaudible) --
 10· · · · ·A· · Tail off consulting than the
 11· ·consultants -- I mean, clients want you immediately.
 12· · · · ·Q· · Understand.
 13· · · · · · · So 25 to 33 percent on average was
 14· ·litigation related either as --
 15· · · · ·A· · I'd say since over the last five years.
 16· · · · ·Q· · In your private practice, are you
 17· ·creating compliance programs for companies?
 18· · · · ·A· · No, I do not.· I review them
 19· ·occasionally.· I don't -- I don't create them.
 20· · · · ·Q· · Have you done any type of -- have you
 21· ·created an Anti-Kickback Statute training program or
 22· ·manual or slide presentation on how to comply with
 23· ·the Anti-Kickback Statute or the Stark Act?
 24· · · · ·A· · No -- no, I mean, that's -- I do not --
 25· ·I -- I do not do training.

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 ·1· · · · ·Q· · Okay.· So if you don't do training or
 ·2· ·compliance, what type of advising do you do in your
 ·3· ·private practice with respect to the Anti-Kickback
 ·4· ·Statute and Stark?
 ·5· · · · ·A· · Mainly structuring arrangements and
 ·6· ·reviewing them to see if they raise Stark or kickback
 ·7· ·issues.
 ·8· · · · ·Q· · You provide opinions to companies on
 ·9· ·whether or not an arrangement is compliant with or
 10· ·violates Anti-Kickback Statute or Stark?
 11· · · · ·A· · I provide opinions whether in my opinion
 12· ·it does occasionally, yes.
 13· · · · ·Q· · Okay.· Do you provide written opinions or
 14· ·oral opinions or both?
 15· · · · ·A· · I would say both.
 16· · · · ·Q· · Rather than a compliance program, you're
 17· ·reviewing particular arrangements and offering
 18· ·advice, whether it's compliant or how to make it
 19· ·compliant with the Anti-Kickback Statute or the Stark
 20· ·Act?
 21· · · · ·A· · Yes, I think that's -- that's a fair.                     I
 22· ·mean, going back to compliance, I mean, I did work on
 23· ·the OIG's compliance guidances, so I have that much.
 24· ·But I know enough there to know that I only can cover
 25· ·a small part of it.

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 ·1· · · · ·Q· · Now, talk about your private practice.
 ·2· ·So when you're looking at arrangements, have you ever
 ·3· ·offered an opinion in your private practice related
 ·4· ·to the arrangement of a long-term care pharmacy's
 ·5· ·contract or contractual arrangement with a skilled
 ·6· ·nursing facility, assisted living community in any
 ·7· ·state?
 ·8· · · · ·A· · Not that I recall.
 ·9· · · · ·Q· · So none of your private practice work
 10· ·relates to the factual predicate that brings us here
 11· ·today.· Nothing similar of the long-term care
 12· ·facility -- long-term care pharmacies relationship
 13· ·with an assisted living community or a skilled
 14· ·nursing facility?
 15· · · · ·A· · Yes.· I have not had a prior engagement
 16· ·that dealt specifically with this kind of an
 17· ·arrangement.· Certainly in general sort of
 18· ·arrangements involved assisted living facilities, not
 19· ·so much long -- I mean, long-term care pharmacies I
 20· ·can't recall.
 21· · · · ·Q· · I thought the only other long-term care
 22· ·pharmacy work you did was as a consulting attorney or
 23· ·consulting expert in the Omnicare matter?
 24· · · · ·A· · That's my recollection.
 25· · · · ·Q· · And in your private practice -- have you

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 ·1· ·done any work in your private practice for a
 ·2· ·long-term care facility since 2003?
 ·3· · · · ·A· · For a long-term care facility?
 ·4· · · · ·Q· · Long-term care pharmacy.· My apologies.
 ·5· · · · ·A· · Oh.· Not that I recall.
 ·6· · · · ·Q· · Since 2003, have you done work for a
 ·7· ·skilled nursing facility and evaluated Stark and
 ·8· ·Anti-Kickback Statutes arrangements for a skilled
 ·9· ·nursing facility?
 10· · · · ·A· · Yes.
 11· · · · ·Q· · Okay.· What is the name of the skilled
 12· ·nursing facility?
 13· · · · ·A· · I'm not sure.· I can't recall.· I've done
 14· ·a lot of work for a lot of different skilled nursing
 15· ·facilities and chains.· But none of them particularly
 16· ·comes to mind.
 17· · · · ·Q· · Do you recall the last skilled nursing
 18· ·facility you did work for, just the name?
 19· · · · ·A· · I can't.· I don't recall having done
 20· ·anything in the last several years.
 21· · · · ·Q· · Can you tell me approximately the last
 22· ·time you did work for a skilled nursing facility?
 23· · · · ·A· · I can't.
 24· · · · ·Q· · Can you tell me if you've done work for a
 25· ·congregate home, the term that you used for assisted

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 ·1· ·living personal care homes?· Have you advised a
 ·2· ·congregate home on Stark law or Anti-Kickback
 ·3· ·Statute?
 ·4· · · · ·A· · I don't recall ever doing work on for --
 ·5· ·for -- for congregate homes.
 ·6· · · · ·Q· · Let me ask you to turn to paragraph five
 ·7· ·in your report on page two.· Prior to your private
 ·8· ·practice in 2003, you were chief of the industry
 ·9· ·guidance branch of the office of counsel to the
 10· ·inspector general for HHS from 1997 to 2003, correct?
 11· · · · ·A· · Yes.
 12· · · · ·Q· · And paragraph five you talk about some of
 13· ·the work that you did?
 14· · · · ·A· · Yes.
 15· · · · ·Q· · And you were responsible for developing
 16· ·the policies and procedures for issuing formal
 17· ·guidance to the regulated community through advisory
 18· ·opinions, fraud alerts and special bulletins,
 19· ·compliance program guidance and regulations related
 20· ·to the fraud and abuse statutes and regulations
 21· ·enforced by OIG including the Anti-Kickback Statute,
 22· ·correct?
 23· · · · ·A· · Correct.
 24· · · · ·Q· · So let's talk about those different types
 25· ·of guidance.· All those things you list in paragraph

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 ·1· ·five are guidance, correct?
 ·2· · · · ·A· · Yes, they're sub-regulatory guidance I'd
 ·3· ·say.
 ·4· · · · ·Q· · (Inaudible) forms of guidance that comes
 ·5· ·from OIG and HHS and the federal government, correct?
 ·6· · · · ·A· · I'm sorry, what -- the different forms?
 ·7· · · · ·Q· · Yes, sir.
 ·8· · · · ·A· · Yes.
 ·9· · · · ·Q· · There's formal guidance which you've
 10· ·identified, right?
 11· · · · ·A· · Yes.· I mean I think there's no --
 12· ·there's no term "formal guidance," but there are
 13· ·certain types of guidances that historically the OIG
 14· ·has put out.
 15· · · · ·Q· · As you look at paragraph five, there are
 16· ·formal guidance to the regulated community through
 17· ·advisory opinions, right?· There's fraud alerts,
 18· ·right?
 19· · · · ·A· · Yes.
 20· · · · ·Q· · There's special bulletins?
 21· · · · ·A· · Yes.
 22· · · · ·Q· · There's compliance program guidance?
 23· · · · ·A· · Yes.
 24· · · · ·Q· · There's regulations?
 25· · · · ·A· · Yes.

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 ·1· · · · ·Q· · At times aren't there comments to the
 ·2· ·regulations as well?
 ·3· · · · ·A· · Well, yes.· When I use regulations, I
 ·4· ·mean the entire regulatory process.
 ·5· · · · ·Q· · Including the comments and the questions
 ·6· ·and answers that relate to that as well?
 ·7· · · · ·A· · Yes.
 ·8· · · · ·Q· · Okay.· There's advisory opinions that are
 ·9· ·issued at times?
 10· · · · ·A· · Yes.
 11· · · · ·Q· · There are safe harbor regulations?
 12· · · · ·A· · Yes.
 13· · · · ·Q· · There's occasionally settlements, right?
 14· ·And the settlements --
 15· · · · ·A· · Excuse me?
 16· · · · ·Q· · Settlements.· False Claim Act,
 17· ·Anti-Kickback statutes that provides guidance as
 18· ·well?
 19· · · · ·A· · Well, that's not formal guidance.
 20· · · · ·Q· · It's informal guidance?
 21· · · · ·A· · Yes.
 22· · · · ·Q· · It's relevant to a company's termination
 23· ·of whether or not to comply with the Anti-Kickback
 24· ·Statute or the Stark Act to look at both formal
 25· ·guidance and informal guidance, correct?

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 ·1· · · · ·A· · Correct.
 ·2· · · · ·Q· · You can also ask for an advisory opinion,
 ·3· ·right?
 ·4· · · · ·A· · Yes.
 ·5· · · · ·Q· · You can get specific guidance if you have
 ·6· ·questions or concerns by seeking an advisory opinion
 ·7· ·as well?
 ·8· · · · ·A· · Maybe.
 ·9· · · · ·Q· · You may or may not get an answer, right,
 10· ·but you can ask?
 11· · · · ·A· · Excuse me?· Yes, you can ask.
 12· · · · ·Q· · You can ask and you may or may not get an
 13· ·answer in response, but you can ask for formal
 14· ·guidance in respect to particular situations.· If you
 15· ·have a concern, you'd send a letter and you'd get a
 16· ·formal response, correct?
 17· · · · ·A· · Yes.
 18· · · · ·Q· · You've done that when you were there from
 19· ·'97 to 2003.· You authored responses to inquiries
 20· ·where people asked for guidance, and you provided
 21· ·guidance in response, correct?
 22· · · · ·A· · Sometimes.
 23· · · · ·Q· · Are you aware in this case of whether
 24· ·Guardian sought an advisory opinion at anytime
 25· ·related to the relationship in this case?

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 ·1· · · · ·A· · I'm sorry, can you repeat the question?
 ·2· · · · ·Q· · Are you aware of whether or not Guardian
 ·3· ·sought an advisory opinion related to the
 ·4· ·relationships at issue in this case?
 ·5· · · · ·A· · No.
 ·6· · · · ·Q· · Are you aware of any legal advice that
 ·7· ·Guardian of Atlanta obtained related to their
 ·8· ·Anti-Kickback Statute or Stark law liability related
 ·9· ·to the arrangements in this case?
 10· · · · ·A· · No.
 11· · · · ·Q· · You, in your private practice, advise on
 12· ·arrangements.· Companies contact you and you offer
 13· ·assistance with helping them determine whether a
 14· ·relationship is compliant, noncompliant, needs
 15· ·changes to avoid Anti-Kickback Statute and Stark law
 16· ·liability.
 17· · · · · · · Do you have any knowledge or information
 18· ·that Guardian of Atlanta did that in this situation?
 19· · · · ·A· · I don't know.
 20· · · · ·Q· · Do you have any knowledge or information
 21· ·that Guardian of Atlanta consulted with in-house
 22· ·counsel at Guardian Pharmacy regarding any aspect of
 23· ·the relationship that you're opining about in your
 24· ·report, Exhibit 387?
 25· · · · ·A· · I don't recall.

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 ·1· · · · ·Q· · So in forming your opinion you're not
 ·2· ·aware that any other lawyer, in-house or outside
 ·3· ·counsel, offered any advice or opinions or analysis
 ·4· ·of any of the relationships that you're opining about
 ·5· ·in your report, Exhibit 387?
 ·6· · · · ·A· · I'm not aware of anything.
 ·7· · · · ·Q· · When you were at OIG and then you
 ·8· ·authored several opinions -- I'm going to have
 ·9· ·Mr. Miller put up 388.· Give it a second and then
 10· ·we're going to refresh.
 11· · · · ·A· · And we're going to try this and see.
 12· · · · · · · ·(Whereupon, Exhibit No. 388 was marked
 13· · · · ·for identification by the court reporter.)
 14· ·BY MR. CALLOW:
 15· · · · ·Q· · We're going to make it work.
 16· · · · · · · MR. RISSLER:· I think it's going to be
 17· · · · 389, Joe.· I think 388 was the Exhibit C to
 18· · · · the report.
 19· · · · · · · THE WITNESS:· This should get me back.
 20· · · · Okay.· Is there another exhibit coming up?
 21· · · · · · · MR. CALLOW:· Yes, sir.· It should be
 22· · · · Exhibit 389.
 23· · · · · · · THE WITNESS:· Okay.
 24· · · · · · · MR. CALLOW:· It should be a document
 25· · · · dated July 1st, 19- --

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 ·1· · · · · · · THE WITNESS:· Yeah, it's up.
 ·2· · · · · · · ·(Whereupon, Exhibit No. 389 was marked
 ·3· · · · ·for identification by the court reporter.)
 ·4· ·BY MR. CALLOW:
 ·5· · · · ·Q· · So this is a document dated July 1st,
 ·6· ·1997.· I believe it's a document that you authored as
 ·7· ·chief of industry guidance branch.
 ·8· · · · ·A· · Yes.
 ·9· · · · ·Q· · Can you take a moment to review it?· I'm
 10· ·going to ask you some questions with respect to it.
 11· · · · ·A· · (Witness complies with request of
 12· ·counsel.)· Yes, I reviewed it.
 13· · · · ·Q· · Do you recall this guidance?
 14· · · · ·A· · Sort of.
 15· · · · ·Q· · This guidance that you authored or you
 16· ·signed?
 17· · · · ·A· · Yes.· Yes, I wrote it.
 18· · · · ·Q· · And this would be industry guidance,
 19· ·right?· This is one of the guidance documents we
 20· ·talked about as referenced in paragraph five.
 21· · · · ·A· · Well, I mean, it's something that comes
 22· ·out of the government, so you look at it.· It's
 23· ·clearly not -- I mean, it's very informal.
 24· · · · ·Q· · Understand.· Some company sends a letter
 25· ·concerning the provision of free goods and services

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 ·1· ·including a legal opinion as to whether the provision
 ·2· ·of a free fax machine, the provision of consultant
 ·3· ·pharmacist for free or at a reduced rate and the
 ·4· ·provision of gifts to pharmacies to current or
 ·5· ·prospective nursing home customers implicates
 ·6· ·Medicare and Medicaid Anti-Kickback Statute, right?
 ·7· · · · ·A· · Yes.
 ·8· · · · ·Q· · And as I read this advisory note, there
 ·9· ·was a point in the preamble that if a computer can
 10· ·only be used for particular purpose, it has no
 11· ·independent value, then perhaps that computer --
 12· ·providing that computer would not trigger the
 13· ·Anti-Kickback Statute or Stark Act, correct?
 14· · · · ·A· · Correct.
 15· · · · ·Q· · In contrast, sometimes the computer that
 16· ·is given away is a regular personal computer which
 17· ·the physician is free to use for a variety of
 18· ·purposes in addition to receiving test results.· In
 19· ·that situation, the computer has a definite value to
 20· ·the physician and depending on the circumstances may
 21· ·well constitute an illegal inducement, correct?
 22· · · · ·A· · Yes, that's what the letter says.
 23· · · · ·Q· · So providing a free computer that can be
 24· ·used for the services provided and some other service
 25· ·would be an inducement under the Anti-Kickback

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 ·1· ·Statute?
 ·2· · · · ·A· · No, not necessarily.
 ·3· · · · ·Q· · Can it be?
 ·4· · · · ·A· · Almost anything can be.
 ·5· · · · ·Q· · Okay.· So when I read in contrast, the
 ·6· ·computer that is given away where the physician is
 ·7· ·able to use it for other purposes in addition to
 ·8· ·receiving test results, may well be an illegal
 ·9· ·inducement; is that right?
 10· · · · ·A· · You read it correctly.
 11· · · · ·Q· · You note that you can discern no reason
 12· ·why any different analysis would apply to the
 13· ·question of fax machines, consulting services or
 14· ·gifts given to referral services either for free or
 15· ·at a cost below fair market value where the intent of
 16· ·the parties is to induce or encourage the referral of
 17· ·federal program business, the statute would appear to
 18· ·be violated by such a practice; is that correct?
 19· · · · ·A· · I think that's an incorrect statement of
 20· ·law, but it's correct what's written.
 21· · · · ·Q· · What do you mean it's an incorrect
 22· ·statement of law but it's correct what's written?
 23· · · · ·A· · Well, you read it correctly.· That's what
 24· ·it says.· But that's not an accurate statement of the
 25· ·law.

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 ·1· · · · ·Q· · So where the intent of the parties is to
 ·2· ·induce or encourage the referral of federal program
 ·3· ·business the statute would appear to be violated by
 ·4· ·such a practice.· I read that correctly, but you
 ·5· ·don't believe that's the law?
 ·6· · · · ·A· · No.
 ·7· · · · ·Q· · What's wrong and why is that not the law
 ·8· ·in your July 1, 1997, OIG advisory opinion?
 ·9· · · · ·A· · I think encouragement is -- is allowed.
 10· ·Inducement is not.· So I think I would just strike
 11· ·the "or encourage."
 12· · · · ·Q· · So where the intent of the parties is to
 13· ·induce the referral of federal program business the
 14· ·statute would appear to be violated by such practice?
 15· · · · ·A· · Would appear to be assuming one could
 16· ·prove each of those facts.
 17· · · · ·Q· · So providing free goods and services,
 18· ·providing free fax machines, the provision of
 19· ·consultant pharmacists for free or reduced rates or
 20· ·providing gifts to induce the referral of a federal
 21· ·program business would appear to be a violation of
 22· ·the act?
 23· · · · ·A· · Providing it's nursing homes, yeah, I
 24· ·mean that would be -- that would appear to be.
 25· · · · ·Q· · Is it limited to nursing homes, or can it

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 ·1· ·be any assisted living facility?
 ·2· · · · ·A· · Well, I think --
 ·3· · · · · · · MR. RISSLER:· Object to the form.
 ·4· · · · · · · THE WITNESS:· I think every -- every
 ·5· · · · case has to -- depends on its own facts and
 ·6· · · · circumstances.
 ·7· ·BY MR. CALLOW:
 ·8· · · · ·Q· · Is this advisory limited solely to
 ·9· ·nursing homes?
 10· · · · ·A· · Well, the advisory isn't worth -- it's
 11· ·limited to whom it was sent.· And it specifically
 12· ·references what someone alleged occurred and accepted
 13· ·it as fact.
 14· · · · ·Q· · Is it your understanding that this would
 15· ·not apply to situations outside a nursing home
 16· ·context?
 17· · · · ·A· · Well, I think it would have to be
 18· ·analyzed on the facts and circumstances that are
 19· ·presented.· That's true of every kickback case.
 20· · · · ·Q· · Where the intent of the parties is to
 21· ·induce a referral, the statute's violated whether
 22· ·it's a nursing home, assisted living community,
 23· ·retail, whatever it is, that's the standard?
 24· · · · ·A· · Well, if someone is giving somebody
 25· ·something for free and it's obviously for free with

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 ·1· ·the intent to cause them to refer, that's -- that's
 ·2· ·sort of a classic kickback.· That certainly sounds
 ·3· ·like a violation, but only a jury can figure it out.
 ·4· · · · ·Q· · I'm sorry?
 ·5· · · · ·A· · Only a jury can figure it out.
 ·6· · · · ·Q· · Free or discounted or reduced rate,
 ·7· ·right, either/or?
 ·8· · · · ·A· · And let me clarify.· There's -- let me --
 ·9· · · · ·Q· · Go ahead.
 10· · · · ·A· · Also another problem with the statement
 11· ·of the law in that last sentence, it does not include
 12· ·knowingly and willingly -- knowingly and willfully.
 13· · · · ·Q· · Understand.
 14· · · · ·A· · (Inaudible) has to be proven.
 15· · · · · · · THE COURT REPORTER:· Can you give me
 16· · · · one second, please?· Can we go off the
 17· · · · record?· This is the Court Reporter.
 18· · · · · · · THE VIDEOGRAPHER:· The time is
 19· · · · 10:44 a.m.· We're now off the record.
 20· · · · · · · (Whereupon, the video camera was
 21· · · · turned off.)
 22· · · · · · · (Whereupon, a brief recess was taken.)
 23· · · · · · · (Whereupon, the video camera was
 24· · · · turned on.)
 25· · · · · · · THE VIDEOGRAPHER:· The time is

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 ·1· · · · 10:49 a.m.· We're back on the record.
 ·2· ·BY MR. CALLOW:
 ·3· · · · ·Q· · Mr. McAnaney, can you hear me okay?
 ·4· · · · ·A· · Yes.
 ·5· · · · ·Q· · Great.· I'm going to have Mr. Miller put
 ·6· ·up Exhibit 390.· It's another exhibit.
 ·7· · · · · · · ·(Whereupon, Exhibit No. 390 was marked
 ·8· · · · ·for identification by the court reporter.)
 ·9· ·BY MR. CALLOW:
 10· · · · ·Q· · You have it up?
 11· · · · ·A· · Not yet.
 12· · · · ·Q· · Okay.· Take your time and refresh.· 390
 13· ·should be a two-page --
 14· · · · ·A· · Okay.
 15· · · · ·Q· · October 2nd, 1997.
 16· · · · ·A· · Yes.
 17· · · · ·Q· · Okay.· This is an October 2nd, 1997,
 18· ·guidance letter that also bears your signature.· If
 19· ·you could take a moment to review this, I'd like to
 20· ·ask you some questions with respect to it.
 21· · · · ·A· · (Witness complies with request of
 22· ·counsel.)· Yes, I reviewed it.
 23· · · · ·Q· · Can you identify this document?
 24· · · · ·A· · It's another informal letter that OIG
 25· ·posted on its website.

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 ·1· · · · ·Q· · Letter that you authored?
 ·2· · · · ·A· · Yes.
 ·3· · · · ·Q· · And this is another company seeking
 ·4· ·advice, and this is the response of OIG, correct?
 ·5· · · · ·A· · Well, it's my response.
 ·6· · · · ·Q· · Okay.
 ·7· · · · ·A· · It's not -- it's not official.
 ·8· · · · ·Q· · Okay.· It's your response?
 ·9· · · · ·A· · Yes.
 10· · · · ·Q· · It's not the official position of OIG?
 11· · · · ·A· · Well, it has no -- I mean, it has no --
 12· ·it has no precedential value.· It's -- it's my
 13· ·opinion.
 14· · · · ·Q· · So guidances don't have precedential
 15· ·value?
 16· · · · ·A· · Well, I -- well, actually no, they
 17· ·have -- I mean, under the law, they have no value at
 18· ·all.· It's sub-regulatory guidance.· The Justice
 19· ·Department has said in the last administration you
 20· ·couldn't even cite it in court.· So, I mean, I
 21· ·don't -- but, I mean, it is what it is.· It certainly
 22· ·shows you -- I mean, gives you a prosecutorial view
 23· ·of the scope of the law.
 24· · · · ·Q· · Well, paragraph five of your report talks
 25· ·about guidance and you refer to guidance throughout

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 ·1· ·your report as part of the bases for your opinions.
 ·2· ·Guidance matter or not?
 ·3· · · · ·A· · Well, some matter more.· As I said,
 ·4· ·this -- this is just a letter from me.· Other things,
 ·5· ·some of them go through notice and comment rule
 ·6· ·making.· Others go through review internally and have
 ·7· ·to be so -- advisory opinions, for example, are
 ·8· ·reviewed not only by OIG but by CMS and the Justice
 ·9· ·Department Criminal and Civil Divisions.
 10· · · · · · · So obviously, some have more weight
 11· ·than -- I mean, in terms of counseling a client, some
 12· ·are -- there is somewhat of a hierarchy.
 13· · · · ·Q· · Okay.· Let's look at 390 and page two of
 14· ·the guidance that you authored.· I see the third
 15· ·paragraph from the bottom starts the provision of
 16· ·services.· Do you see that?
 17· · · · ·A· · Yes.
 18· · · · ·Q· · The provision of services that the
 19· ·recipient would otherwise be obligated to provide for
 20· ·free or at less than fair market value confers a
 21· ·benefit on the recipient.· This benefit may
 22· ·constitute prohibitive remuneration under the
 23· ·Anti-Kickback Statute.· If one purpose of the
 24· ·remuneration is to secure referrals of federal
 25· ·program business.· Under the circumstances described

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 ·1· ·in your letter, a strong inference is that the
 ·2· ·clinical laboratories are being asked to provide the
 ·3· ·free chart review and section called services in
 ·4· ·exchange for referrals of the nursing home's
 ·5· ·laboratory business including services payable in
 ·6· ·whole or in part by a federal program.· We would view
 ·7· ·such arrangement as highly suspect.
 ·8· · · · · · · Is that what you wrote?
 ·9· · · · ·A· · Yes, that's what I wrote.
 10· · · · ·Q· · Is that accurate?
 11· · · · ·A· · Well, again, it's -- it's not quite -- it
 12· ·illuminates -- it doesn't mention that it has to be
 13· ·done knowingly and willfully.· But yes, I think
 14· ·it's -- it would be a suspect arrangement.
 15· · · · · · · ·(Whereupon, Exhibit No. 391 was marked
 16· · · · ·for identification by the court reporter.)
 17· ·BY MR. CALLOW:
 18· · · · ·Q· · Let me ask Mr. Miller to put up 391.
 19· ·Tell me when you have that up, sir.· 391 should be an
 20· ·office of inspector general special fraud alert with
 21· ·a date of March 1998.
 22· · · · ·A· · Yes, I've got it up.
 23· · · · ·Q· · Are you familiar with this document?
 24· · · · ·A· · Yes.
 25· · · · ·Q· · And is this guidance from the OIG?

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 ·1· · · · ·A· · I'm sorry?
 ·2· · · · ·Q· · Is this guidance from OIG?
 ·3· · · · ·A· · Yes.
 ·4· · · · ·Q· · This is dated March of 1998, correct?
 ·5· · · · ·A· · Yes.
 ·6· · · · ·Q· · Now, did you have any involvement with
 ·7· ·respect to this guidance, Exhibit 391?
 ·8· · · · ·A· · Yes.
 ·9· · · · ·Q· · And what role or involvement did you have
 10· ·as chief of industry guidance branch with respect to
 11· ·this special fraud alert, Exhibit 391?
 12· · · · ·A· · I probably was the -- was the principal
 13· ·drafter.
 14· · · · ·Q· · Of the special fraud alert?
 15· · · · ·A· · Yes.
 16· · · · ·Q· · Okay.· Flipping over to page four of this
 17· ·alert you listed specific practices which are
 18· ·suspected kickbacks, right?
 19· · · · ·A· · Yes.
 20· · · · ·Q· · And on page four, the first bullet point
 21· ·of suspected kickback practices is a hospice offering
 22· ·free goods or goods at below fair market value to
 23· ·induce a nursing home to refer patients to the
 24· ·hospice, correct?
 25· · · · ·A· · Correct.

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 ·1· · · · ·Q· · Fourth bullet point was a hospice paying
 ·2· ·above fair market value for additional noncore
 ·3· ·services which Medicaid does not consider to be
 ·4· ·included in its room and board payments to a nursing
 ·5· ·home, correct?
 ·6· · · · ·A· · I'm sorry, which -- which --
 ·7· · · · ·Q· · Guidance.
 ·8· · · · ·A· · What was that?
 ·9· · · · ·Q· · Fourth diamond, sir.
 10· · · · ·A· · Oh, yes.· That's what it says.
 11· · · · ·Q· · Fifth bullet point is a hospice referring
 12· ·its patients to a nursing home to induce the nursing
 13· ·home to refer its patients to the hospice, correct?
 14· · · · ·A· · Yes.
 15· · · · ·Q· · And these were all situations that you
 16· ·identified as suspected kickback practices, correct?
 17· · · · ·A· · Yes.
 18· · · · ·Q· · Where does this special fraud alert fall
 19· ·on that hierarchy of guidance that you talked about?
 20· · · · ·A· · Well, I mean, I think it's -- it's -- as
 21· ·I said, it's a prosecutor's view of the range -- on
 22· ·the range of the statute, so it's something that you
 23· ·would look at.· A special -- a fraud alert would have
 24· ·gone through -- I think it would have gone -- it was
 25· ·probably reviewed by OIG and Justice and OIG's Office

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 ·1· ·of Investigations typically.
 ·2· · · · ·Q· · That would be higher up on the hierarchy?
 ·3· · · · ·A· · Yes.· Although even DHS, the departmental
 ·4· ·appeals board has said it's not entitled to any legal
 ·5· ·weight in the proceeding, even an administrative
 ·6· ·proceeding at HHS.· It's -- it's sub-regulatory
 ·7· ·guidance.
 ·8· · · · ·Q· · Does it provide notice to the industry?
 ·9· · · · ·A· · I mean, the government alleges.· They
 10· ·always say it does.
 11· · · · ·Q· · Okay.
 12· · · · ·A· · That's their position.
 13· · · · ·Q· · Fair enough.
 14· · · · · · · ·(Whereupon, Exhibit No. 392 was marked
 15· · · · ·for identification by the court reporter.)
 16· ·BY MR. CALLOW:
 17· · · · ·Q· · Let me ask you to look at 392, sir.· This
 18· ·is another document that Mr. Miller is going to put
 19· ·up on the screen.· This should be a reference to the
 20· ·Federal Register, September 30, 2008.
 21· · · · ·A· · Yes, I see it.· Let me --
 22· · · · ·Q· · On the hierarchy this is the top, right?
 23· ·This is notice, comment, regulation.· This is the top
 24· ·of the hierarchy, isn't it?
 25· · · · ·A· · No, I wouldn't say so.· This is just a

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 ·1· ·notice of a government document.· It's not -- but, I
 ·2· ·mean, it's -- I mean, it's obviously -- again, it's
 ·3· ·important guidance.· It's not rule making.
 ·4· · · · ·Q· · It's gone -- this has gone through
 ·5· ·various reviews by various people in different
 ·6· ·branches?
 ·7· · · · ·A· · Yes.· I mean, I -- I would -- I believe
 ·8· ·this would have been reviewed by -- well, OIG, CMS,
 ·9· ·HHS, and I'm sure it was run by the justice
 10· ·Department.
 11· · · · ·Q· · All of which would have --
 12· · · · ·A· · Criminal division.
 13· · · · ·Q· · All of which would have reviewed it prior
 14· ·to September 30th of 2008, correct?
 15· · · · ·A· · Let me just look.· I think so.
 16· · · · ·Q· · You see Department of Health and Human
 17· ·Services, Office of Inspector General, OIG
 18· ·supplemental guidance -- (inaudible) program guidance
 19· ·for nursing facilities, agency OIG HHS action notice,
 20· ·correct?
 21· · · · ·A· · Yes.
 22· · · · ·Q· · Did you review this in forming the
 23· ·opinions in this case?
 24· · · · ·A· · I'm aware of it.· I mean, I know the
 25· ·guidance.

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 ·1· · · · ·Q· · Okay.· Did you rely upon it or cite to it
 ·2· ·in your report?
 ·3· · · · ·A· · Not that I recall.
 ·4· · · · ·Q· · Okay.· Let me ask you to turn over to
 ·5· ·what's 56837.· Scroll down.
 ·6· · · · ·A· · 56837?
 ·7· · · · ·Q· · Yes, sir.· Then at that far right column.
 ·8· · · · ·A· · Yes, okay.
 ·9· · · · ·Q· · Far right column, you'll see three period
 10· ·medication management in the far right.
 11· · · · ·A· · Yes.
 12· · · · ·Q· · And then further down in that column, the
 13· ·third paragraph starts:· CMS regulations require that
 14· ·nursing facilities employ or obtain the services of a
 15· ·licensed pharmacist to provide consultation on all
 16· ·aspects of the provision of pharmacy services in the
 17· ·facility.
 18· · · · · · · Do you see that?
 19· · · · ·A· · Yes.
 20· · · · ·Q· · That continues over on to the following
 21· ·page.· And further in that paragraph, there's a
 22· ·statement:· Some of the consultant pharmacists
 23· ·obtained by nursing facilities are employed by
 24· ·long-term care pharmacies that furnish drugs and
 25· ·supplies to nursing facilities.

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 ·1· · · · · · · Do you see that?
 ·2· · · · ·A· · Yes.
 ·3· · · · ·Q· · Then there's a reference to footnote 53
 ·4· ·which is at the bottom of that first column.· 53
 ·5· ·notes:· Nursing facilities that receive consultant
 ·6· ·pharmacist services under contract with the long-term
 ·7· ·care pharmacy should be mindful that the provision or
 ·8· ·receipt of free services or services at non-fair
 ·9· ·market value rates between actual or potential
 10· ·referral sources present a heightened risk of fraud
 11· ·and abuse.· For further discussion of Anti-Kickback
 12· ·Statute service arrangements, see section 3C-1 and
 13· ·3C-2.
 14· · · · · · · Do you see that?
 15· · · · ·A· · Yes.
 16· · · · ·Q· · That's a specific reference to a
 17· ·long-term care pharmacy and concerns with providing
 18· ·consulting services at free or non-fair market value
 19· ·rates, correct?
 20· · · · ·A· · Yes.· That applies to long-term care
 21· ·facilities as -- in federal regulations.
 22· · · · · · · ·(Whereupon, Exhibit No. 393 was marked
 23· · · · ·for identification by the court reporter.)
 24· ·BY MR. CALLOW:
 25· · · · ·Q· · Ask Mr. Miller to put up Exhibit 393.

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 ·1· ·You can refresh your screen.· It should be another
 ·2· ·Office of Inspector General guidance, which is OIG
 ·3· ·opinion No. 1219.
 ·4· · · · ·A· · 393.
 ·5· · · · ·Q· · Yes, sir, 393.
 ·6· · · · ·A· · (Witness complies with request of
 ·7· ·counsel.)· Yes.
 ·8· · · · ·Q· · Are you familiar with this OIG advisory
 ·9· ·opinion No. 1219?
 10· · · · ·A· · Yes.
 11· · · · ·Q· · Can you tell me what this is?
 12· · · · ·A· · It's an advisory opinion.· It was issued
 13· ·by OIG in 2012 addressing proposed arrangement
 14· ·between a pharmacy company and community homes.
 15· · · · ·Q· · Where does this advisory opinion rank on
 16· ·that hierarchy that you discussed earlier?
 17· · · · ·A· · Well, I mean, I think it's all of them
 18· ·legally are the same.· They're all -- I think this
 19· ·one is with respect to the case here, this is -- this
 20· ·is particularly relevant because it actually deals
 21· ·with assisted living facilities as opposed to
 22· ·long-term care nursing homes and skilled nursing
 23· ·facilities which most of the rest apply to.
 24· · · · ·Q· · So this one unfortunately doesn't have
 25· ·Bates numbers, but I'd like you to look over at

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 ·1· ·proposed arrangement A.· You know what, we're going
 ·2· ·to put that aside.· Forget about that for the time
 ·3· ·being.· Let me go back to your report, sir, which is
 ·4· ·the first exhibit.· So take a second to get that
 ·5· ·back.
 ·6· · · · ·A· · Let me see.
 ·7· · · · ·Q· · Take your time.
 ·8· · · · ·A· · I've got all these things down on my
 ·9· ·screen, but I'm not sure.
 10· · · · ·Q· · Mr. Rissler is right.· You should have
 11· ·tabs at the bottom where you can --
 12· · · · ·A· · Yeah, I know.· I can get them but I think
 13· ·I -- for some reason I didn't have the report.· So
 14· ·let me just go bring it up again.
 15· · · · ·Q· · No rush.· We're good.
 16· · · · ·A· · Let me -- let me.· Okay.· Okay.· Okay.
 17· ·I've got my report up.
 18· · · · ·Q· · All right.· Let's go to paragraph three,
 19· ·which is on page one.
 20· · · · ·A· · Yes.
 21· · · · ·Q· · Okay.· So paragraph three, Guardian asked
 22· ·me to opine on the provisions of certain items and
 23· ·services provided in assisted living communities and
 24· ·personal care homes together congregate homes or CHs
 25· ·where Guardian's clients resided and which were used

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 ·1· ·in Guardian's provision of long-term care pharmacy
 ·2· ·services to such clients, correct?
 ·3· · · · ·A· · Correct.
 ·4· · · · ·Q· · And you combined ALCs and PCHs as
 ·5· ·congregate homes.
 ·6· · · · · · · Have you used that term before?
 ·7· · · · ·A· · I'm sorry, I didn't catch that.
 ·8· · · · ·Q· · You combined assisted living facilities
 ·9· ·and personal care homes to call them congregate
 10· ·homes.· I've not seen that terminology before.
 11· · · · · · · Where do you get that terminology
 12· ·congregate from?
 13· · · · ·A· · I was just thinking some homes to that --
 14· ·was covered both and excluded nursing facilities.
 15· · · · ·Q· · Okay.· So this is a definition you
 16· ·created for the report.· This isn't a statute or a
 17· ·regulation or a rule or anything?
 18· · · · ·A· · No, not that I recall.
 19· · · · ·Q· · Okay.· There's no advisory, there's no
 20· ·rule, there's no regulation.· There's nothing that
 21· ·talks about congregate homes.· You've combined two
 22· ·and tried to exclude another and called them
 23· ·congregate homes for your report?
 24· · · · ·A· · That's -- I mean, that's correct.
 25· · · · ·Q· · And you're excluding skilled nursing

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 ·1· ·facilities from your definition of congregate homes?
 ·2· · · · ·A· · Yes, nursing facilities, nursing homes
 ·3· ·and skilled nursing facilities.
 ·4· · · · ·Q· · Why are skilled nursing facilities or
 ·5· ·skilled nursing homes different than assisted living
 ·6· ·communities?
 ·7· · · · ·A· · Well, (inaudible) different.· I don't
 ·8· ·presume to count them all, but, I mean, probably one
 ·9· ·of the most important is that they don't receive
 10· ·federal reimbursement for their care.· So the
 11· ·congregate care is living or basically custodial
 12· ·facilities, whereas skilled nursing facilities or
 13· ·nursing facility, nursing homes are -- also provide
 14· ·and required to provide a lot of medical care under
 15· ·the Medicaid program.· So, I mean, that's basic.
 16· ·There's no federal reimbursement for the custodial
 17· ·care at congregate homes.
 18· · · · ·Q· · Fair enough.· Your paragraph A under
 19· ·three, whether the alleged conduct of Guardian with
 20· ·respect to its services to or the applicant's client
 21· ·and congregate homes has indicia of unlawful conduct
 22· ·identified by the OIG and guidance is intended to be
 23· ·prohibited by the AKS or other indicia of illegality
 24· ·commonly looked at -- commonly looked to by
 25· ·regulators and experienced healthcare counsel.

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 ·1· · · · · · · Did I read that close to correctly, I
 ·2· ·think?
 ·3· · · · ·A· · Yes.
 ·4· · · · ·Q· · I see this by regulators and experienced
 ·5· ·healthcare counsel throughout your report.· That's
 ·6· ·your focus in this report?
 ·7· · · · ·A· · Yes.
 ·8· · · · ·Q· · And you're looking at what regulators or
 ·9· ·experienced healthcare counsel would review these
 10· ·arrangements?
 11· · · · ·A· · I'm sorry, I missed the very end.
 12· · · · ·Q· · Your opinions are based on what
 13· ·regulators and experienced healthcare counsel would
 14· ·review these arrangements, correct?
 15· · · · ·A· · How they would review and analyze these
 16· ·arrangements, yes.
 17· · · · ·Q· · And that's the language and standard I
 18· ·see throughout your 34-page report, correct?
 19· · · · · · · MR. CALLOW:· Lost you.
 20· · · · · · · THE COURT REPORTER:· He's frozen.
 21· · · · · · · THE WITNESS:· My Internet is unstable.
 22· · · · · · · MR. CALLOW:· Okay.
 23· · · · · · · THE WITNESS:· I'm sorry.
 24· ·BY MR. CALLOW:
 25· · · · ·Q· · That's all right.· That's the language

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 ·1· ·and standard I see throughout your 34-page report,
 ·2· ·this regulators and experienced healthcare counsel
 ·3· ·standard, correct?
 ·4· · · · ·A· · I believe so.
 ·5· · · · ·Q· · Okay.· Now, I understand quarterly
 ·6· ·consulting.· I see professional education and skills
 ·7· ·checks.· I see the eMARs and laptops and I see the
 ·8· ·medication carts.· So I understand B, C, D and E.
 ·9· ·But are you looking at any other services in A that
 10· ·are different from B, C, D and E?
 11· · · · ·A· · I don't believe so.· I think it was meant
 12· ·to look at them all generally and then specific one
 13· ·by one take them.
 14· · · · ·Q· · Okay.· And these are services provided to
 15· ·the assisted living communities and the personal care
 16· ·homes and their residents by Guardian of Atlanta,
 17· ·correct?
 18· · · · ·A· · I believe these are the -- these are the
 19· ·services that are alleged by the Relator to violate
 20· ·the Anti-Kickback Statute.· I believe that that's all
 21· ·of them.
 22· · · · ·Q· · And that's why your opinions talk about
 23· ·as intended to be prohibited by the Anti-Kickback
 24· ·Statute for A, B, C, D and E, correct?
 25· · · · ·A· · Correct.

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 ·1· · · · ·Q· · Now, I understand your difference of
 ·2· ·congregate homes versus skilled nursing facilities
 ·3· ·and federal reimbursement.· Is the standard for
 ·4· ·Anti-Kickback Statute liability different for a
 ·5· ·congregate home versus a skilled nursing facility?
 ·6· · · · ·A· · I mean, the statutory -- I mean, the
 ·7· ·elements of a violation are the same for both.· The
 ·8· ·facts and circumstances differ obviously in every
 ·9· ·case.
 10· · · · ·Q· · Understand.· Let me ask you to turn over
 11· ·to paragraph 12.· This is the start of the summary of
 12· ·your opinions?
 13· · · · ·A· · Yes.
 14· · · · ·Q· · First bullet point you list and then the
 15· ·second bullet point with respect to the specific
 16· ·items and services, you then identify your opinions
 17· ·and talk about at a separate charge or Guardian's
 18· ·charging practices in the four sub-bullet points
 19· ·below that.· Do you see where I am?
 20· · · · ·A· · Yes.
 21· · · · ·Q· · So the sub-bullet points:· Guardian's
 22· ·provision of quarterly consulting services, including
 23· ·medication reviews and cart audits, for the benefit
 24· ·of its clients without a separate charge to the CHs
 25· ·in which its clients resided, did not have the

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 ·1· ·indicia of unlawful conduct identified by the OIG in
 ·2· ·guidance as intended to be prohibited by the AKS or
 ·3· ·other indicia of illegality commonly looked to by
 ·4· ·regulators and experienced healthcare counsel,
 ·5· ·correct?
 ·6· · · · ·A· · Correct.
 ·7· · · · ·Q· · So I note here that you say without a
 ·8· ·separate charge to the CHs for the quarterly
 ·9· ·consulting services.· Do you see that?
 10· · · · ·A· · Yes.
 11· · · · ·Q· · Is it your understanding that none of the
 12· ·congregate homes as you defined them paid for
 13· ·quarterly consulting services?
 14· · · · ·A· · My recollection is that at least one did.
 15· ·I think there's -- that there was some testimony.                     I
 16· ·think some may have.
 17· · · · ·Q· · There are multiple contracts and multiple
 18· ·situations where the congregate homes did not pay for
 19· ·the quarterly consultants, correct?
 20· · · · ·A· · Where there was no separate charge to the
 21· ·facilities, yes.
 22· · · · ·Q· · So when you say without a separate charge
 23· ·to the congregate homes in which its clients resided,
 24· ·is it your understanding that the client's fee for
 25· ·the quarterly consulting services that are the

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 ·1· ·subject of that particular bullet point in your
 ·2· ·opinion?
 ·3· · · · ·A· · It is -- it is my opinion that the
 ·4· ·services encompassed by the quarterly consulting
 ·5· ·services, if that's what we're calling -- were
 ·6· ·covered by a combination of the dispensing fee and
 ·7· ·the service fee that were paid by the residents.
 ·8· · · · ·Q· · Your understanding is that the quarterly
 ·9· ·consulting services -- that Guardian received payment
 10· ·for the quarterly consulting services from both the
 11· ·dispensing fee and a service fee to the residents?
 12· · · · ·A· · Some combination.· I mean, between the
 13· ·two of them the services were paid in full.
 14· · · · ·Q· · Let me back up.· I should -- I should be
 15· ·more clear.· Your understanding is that Guardian
 16· ·received a payment for the quarterly consulting
 17· ·services partially from the dispensing fee paid by
 18· ·Medicare and partially from monies received from the
 19· ·Medicare beneficiary the resident (inaudible); is
 20· ·that correct?
 21· · · · ·A· · My -- my view is that Guardian -- the
 22· ·costs of the quarterly consulting services were
 23· ·covered in full between the dispensing fee that was
 24· ·received and by the residents monthly service fees.
 25· · · · ·Q· · And did you do any analysis of what

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 ·1· ·portion of the quarterly consulting was covered by
 ·2· ·the dispensing fee and which portion was covered by
 ·3· ·the monthly service fee?
 ·4· · · · ·A· · I did not, although I reviewed the expert
 ·5· ·report of one of the accountants that showed it
 ·6· ·was -- it would the have been paid in full by the
 ·7· ·service fee, and also Mr. Zavalishin said it would
 ·8· ·have been paid by the dispensing fee.· So between the
 ·9· ·two of them, I think it was more than covered.
 10· · · · ·Q· · So is it your understanding that Guardian
 11· ·intended to receive payment for its costs of the
 12· ·quarterly consulting services identified in your
 13· ·report from both the dispensing fee and the monthly
 14· ·service fee in the 2014 to 2019 timeframe?
 15· · · · ·A· · I think it was Guardian's understanding
 16· ·during that time that between the -- between the
 17· ·dispensing fee and the service fee, those costs were
 18· ·being paid for.
 19· · · · ·Q· · And you understand it's a monthly service
 20· ·fee to the residents?
 21· · · · ·A· · I believe it was a monthly service fee to
 22· ·the residents.
 23· · · · ·Q· · Did you see any contract with the
 24· ·residents to understand what that fee was or covered?
 25· · · · ·A· · No.· I've seen the -- I've seen the

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 ·1· ·contract with the residents.· It is pretty vague.
 ·2· · · · ·Q· · You've seen the contracts between
 ·3· ·Guardian of Atlanta and the communities.· You've not
 ·4· ·seen any contracts between Guardian and a resident;
 ·5· ·is that right?
 ·6· · · · ·A· · No, that's not right.· I have at least
 ·7· ·seen a copy of some.· Whether I got it specifically
 ·8· ·or whether it was in an exhibit in the depositions,
 ·9· ·but I have reviewed -- I have reviewed the -- what I
 10· ·think is a contract between Guardian and a resident.
 11· ·I think it was a form.· It did not have a specific
 12· ·patient.
 13· · · · ·Q· · In that form, there was a reference to a
 14· ·monthly service fee?
 15· · · · ·A· · No, there's a reference to charges.
 16· · · · ·Q· · Okay.· Did you see a contract or a
 17· ·document that specifically identified a, quote,
 18· ·monthly service fee, closed quote, that Guardian
 19· ·charged its residents at any of the communities?
 20· · · · ·A· · I think I've only seen that contract.                     I
 21· ·hadn't seen anything else.
 22· · · · ·Q· · One that says charges generally but
 23· ·nothing more specific?
 24· · · · ·A· · Yeah.· I think it basically says you got
 25· ·to pay the monthly statement at the end of the month,

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 ·1· ·anything that's on there and not covered by
 ·2· ·insurance.
 ·3· · · · ·Q· · But what those charges are called or how
 ·4· ·they're described or what they're defined in that
 ·5· ·agreement between Guardian and the resident you don't
 ·6· ·know?
 ·7· · · · ·A· · Well, I know that -- I mean, Guardian
 ·8· ·understood it covered their cost of providing
 ·9· ·services to the residents.
 10· · · · ·Q· · I understand.
 11· · · · · · · But do you know how that charge was
 12· ·defined or identified or represented to the resident
 13· ·in the agreement?
 14· · · · ·A· · I -- I do not.
 15· · · · ·Q· · So if there is a monthly service fee, you
 16· ·don't have any knowledge as you testify here today
 17· ·how that monthly service fee was described or how it
 18· ·was defined or how it was represented to the
 19· ·resident?
 20· · · · ·A· · Beyond that, it was for services being
 21· ·provided, no.
 22· · · · ·Q· · Similar for an eMAR charge or any other
 23· ·charge or fee that Guardian provided to the resident,
 24· ·you don't have any knowledge of how that term was
 25· ·defined or represented or identified in any agreement

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 ·1· ·between Guardian and its residents as you testify
 ·2· ·here today?
 ·3· · · · ·A· · I don't have any -- I don't recall seeing
 ·4· ·anything on how it was presented to the patients.
 ·5· ·And there's certainly testimony by people at Guardian
 ·6· ·that they understood it included payment for their
 ·7· ·services.
 ·8· · · · ·Q· · I understand what Guardian thought.· Do
 ·9· ·you have any knowledge of what the resident thought
 10· ·or believed based upon the language of the contract
 11· ·or representation or information provided to the
 12· ·resident?
 13· · · · ·A· · I do not beyond they were paying a
 14· ·service fee every month.
 15· · · · ·Q· · Do you recall that Mr. Hopp testified in
 16· ·his second deposition that the quarterly consulting
 17· ·services were covered by the dispensing fee?
 18· · · · ·A· · Yes, I recall that testimony.
 19· · · · ·Q· · Do you believe there's a Guardian witness
 20· ·who testified that the quarterly consulting services
 21· ·were paid for by the monthly service fee?
 22· · · · ·A· · I -- I -- I believe Mr. Hopp testified to
 23· ·that as well.· I mean, if the testimony was a bit
 24· ·confusing and back and forth, but I think he -- some
 25· ·of it they discussed it being a bundled fee.

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 ·1· · · · ·Q· · So you believe Mr. Hopp knowingly and
 ·2· ·intentionally sought to recover quarterly consulting
 ·3· ·service costs from both the dispensing fee and the
 ·4· ·monthly service fee based on his testimony?
 ·5· · · · ·A· · I don't believe there's any evidence that
 ·6· ·Mr. Hopp thought he was getting paid twice.· He was
 ·7· ·saying between the two they covered the costs.
 ·8· · · · ·Q· · Well, he must have known he was getting
 ·9· ·paid from both sources to cover his costs, correct?
 10· · · · ·A· · Well, he knew he was getting payment from
 11· ·both sources for some costs.
 12· · · · ·Q· · So for the --
 13· · · · ·A· · I don't think he necessarily thought they
 14· ·were being paid for the same services.
 15· · · · ·Q· · Is there any doubt in your mind having
 16· ·read his deposition testimony that Mr. Hopp knew that
 17· ·the dispensing fee covered quarterly consulting
 18· ·services and that he was also being paid for those
 19· ·quarterly consulting services from charges to
 20· ·residents at the same time?· Any doubt about that
 21· ·from your reading of his testimony?
 22· · · · ·A· · I did not read -- I do not recall the
 23· ·deposition testimony being to that effect nor do I
 24· ·particularly think it was very clear.
 25· · · · ·Q· · Well, is it clear that Guardian is

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 ·1· ·receiving payment for the quarterly consulting
 ·2· ·services from both the dispensing fee and the monthly
 ·3· ·service fee charged to residents?
 ·4· · · · ·A· · It is -- I do not believe that -- that
 ·5· ·necessarily that there's anything that they were both
 ·6· ·covering exactly the same services.· There were a
 ·7· ·number of services being provided during the
 ·8· ·quarterly consulting fee, and I think it's perfectly
 ·9· ·understandable that some might be covered by one and
 10· ·some might be covered by the service fee.
 11· · · · ·Q· · So your testimony is that the quarterly
 12· ·consulting services that you've identified in your
 13· ·report in this particular paragraph 12 and
 14· ·throughout, some of those services are covered by the
 15· ·dispensing fee, and some of those services are
 16· ·covered by the monthly service fee?
 17· · · · ·A· · My testimony is that between the two
 18· ·payments from the dispensing fee and the service fee
 19· ·all the costs of the quarterly medical reviews were
 20· ·covered and then some.
 21· · · · ·Q· · And did Guardian know that at the time
 22· ·from 2014 to 2019?
 23· · · · ·A· · I believe that's what Guardian's
 24· ·understanding was.
 25· · · · ·Q· · The second bullet point says that you

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 ·1· ·talk about the charging practices for the
 ·2· ·professional education and skills checks.· Do you see
 ·3· ·that?
 ·4· · · · ·A· · Let me go back.· A split screen would be
 ·5· ·great.· Okay.· Now, I'm -- yes, I'm on that bullet.
 ·6· · · · ·Q· · So what do you understand the charging
 ·7· ·practices to be for professional education and skills
 ·8· ·checks?
 ·9· · · · ·A· · Well, my understanding is that they
 10· ·generally charge for both, that the education was, I
 11· ·think, usually $50 per eight-hour session.· And proxy
 12· ·care I think was one day.· Certified medication
 13· ·system was two days.· And then for the skills check
 14· ·it was I think a flat amount for the CMA.· It seems
 15· ·to me, I think, 125, and for the proxy caregiver, it
 16· ·was on an hourly basis that it took to do it.· So
 17· ·that I think was the -- was the general fee schedule.
 18· ·I mean, sort of -- that was the most common fee that
 19· ·they charged generally.
 20· · · · · · · And then I think that in particular,
 21· ·there were two -- well, three practices that were
 22· ·alleged to be improper.· One was free attendance by
 23· ·members of the host community.· The host community
 24· ·for before Guardian had their own classroom that had
 25· ·a host -- and the host community could send a certain

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 ·1· ·number of people free.· New -- new customers to
 ·2· ·Guardian and newly licensed ALCs could send up to ten
 ·3· ·attendees.· And then skills checks if they were
 ·4· ·performed during a quarterly -- during a regular
 ·5· ·quarterly consulting service was at no charge for up
 ·6· ·to two people.
 ·7· · · · ·Q· · The standard of practices existed up
 ·8· ·until 2018 when they were changed, correct?
 ·9· · · · ·A· · That's my understanding that in -- yes,
 10· ·in January of 2018, I think that they -- they started
 11· ·charging everyone both for the -- the education and
 12· ·for the skills checks.
 13· · · · ·Q· · So that we're in agreement, we're on the
 14· ·same page, prior to January of 2018, Guardian would
 15· ·conduct training classes at various communities and
 16· ·allow those communities to send up to two or three
 17· ·people to attend for free; is that correct?
 18· · · · ·A· · I'm not sure if it's prior to 2018.                    I
 19· ·mean, it was prior to when they got their own
 20· ·facility for doing it, and sometime between 2014 and
 21· ·some date it was done.
 22· · · · ·Q· · And whoever the host community was sent
 23· ·two or three people and did not pay the $50 or $100
 24· ·charge for whatever class was provided?
 25· · · · ·A· · The arrangement was that they provided

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 ·1· ·the space and the chairs and I think light
 ·2· ·refreshments and maybe a -- maybe a continental
 ·3· ·breakfast or something like that.
 ·4· · · · ·Q· · But the communities did not pay either
 ·5· ·the $50 a day or $100 for the two-day session for the
 ·6· ·two to three people that attended?
 ·7· · · · ·A· · That's correct.· The arrangement was they
 ·8· ·provided the facility, and we'll give you a couple as
 ·9· ·a quid pro quo.
 10· · · · ·Q· · Prior to 2018, new communities -- various
 11· ·communities that signed on with Guardian got to send
 12· ·up to ten people to this class without charge or
 13· ·payment of $50 a day, $100 for a two-day event,
 14· ·correct?
 15· · · · ·A· · Yeah, I believe that was the general --
 16· ·that was certainly what was Lori Newcomb's
 17· ·understanding.
 18· · · · ·Q· · And did you review the signup sheets for
 19· ·those classes?
 20· · · · ·A· · Only insofar as they were exhibits to
 21· ·depositions.
 22· · · · ·Q· · Did you go back and see how many
 23· ·different communities got free classes under that
 24· ·arrangement with Guardian and Ms. Newcomb prior to
 25· ·January of 2018?

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 ·1· · · · ·A· · No, I did not.
 ·2· · · · ·Q· · Whatever the arrangement was the
 ·3· ·communities didn't have to pay for that training
 ·4· ·in -- prior to January 2018.
 ·5· · · · ·A· · I'm sorry, was there a question?
 ·6· · · · ·Q· · Communities did not have to pay for that
 ·7· ·training for the individuals that they sent to that
 ·8· ·class prior to 2018, correct?
 ·9· · · · · · · MR. RISSLER:· Object to form.
 10· · · · ·A· · Prior to -- I mean, while that policy was
 11· ·in effect, there was a -- call it an introductory
 12· ·discount that you could send them for free the first
 13· ·ten.
 14· ·BY MR. CALLOW:
 15· · · · ·Q· · And is there not a value to saving a
 16· ·hundred dollars times ten in the 2014, '15, '16, '17
 17· ·timeframe?· Is there no value to the community in
 18· ·saving a hundred to a thousand bucks without having
 19· ·to pay for training?
 20· · · · ·A· · Well, it's a common discount practice so
 21· ·it's -- I don't -- I mean, yes, it's a value that
 22· ·you're getting something, but it's a very common --
 23· ·it's a common discount arrangement.
 24· · · · ·Q· · We agree it has value to the community
 25· ·not to pay a hundred, two hundred, a thousand dollars

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 ·1· ·to train its staff to be compliant with the Georgia
 ·2· ·rules?
 ·3· · · · ·A· · It was a discount.· It was clearly a
 ·4· ·discount.
 ·5· · · · ·Q· · That had value?
 ·6· · · · ·A· · (Inaudible).
 ·7· · · · ·Q· · Right?
 ·8· · · · ·A· · Excuse me?
 ·9· · · · ·Q· · It had value to the community, did it
 10· ·not?
 11· · · · ·A· · Yes, I mean --
 12· · · · ·Q· · Skills checks that were provided prior to
 13· ·January of 2018, my understanding is that if Guardian
 14· ·was already at the facility doing other work, it
 15· ·would provide up to two skills checks for free
 16· ·without charging them 125 for one or 250 for two; is
 17· ·this correct?
 18· · · · ·A· · That's correct.
 19· · · · ·Q· · That was up until 2018 as well, correct?
 20· · · · ·A· · Correct.
 21· · · · ·Q· · Does not paying $125 or $255 [sic] for a
 22· ·skills check required by Georgia regulation at least
 23· ·provide some value to the community?
 24· · · · ·A· · Well, I mean, it was part of the
 25· ·arrangement.· So yes, I mean, that was the price they

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 ·1· ·agreed on.
 ·2· · · · ·Q· · Well, they didn't have to pay the 125 or
 ·3· ·250 if it was provided as part of some other service.
 ·4· ·They got the skills check for free, right?
 ·5· · · · ·A· · Well, the arrangement was a skills check
 ·6· ·is you can pay for this, if you do it at the same
 ·7· ·time, you don't.· It's not necessarily for free.
 ·8· ·That's the arrangement.
 ·9· · · · ·Q· · Well, what else was paid for at the time
 10· ·in your review of the documents and information?
 11· · · · ·A· · Well, any other services that were being
 12· ·covered by -- being provided by -- by Guardian,
 13· ·education.
 14· · · · ·Q· · So if the community was paying a hundred
 15· ·bucks, two hundred bucks, a thousand bucks, whatever
 16· ·the other services were, Guardian would give them the
 17· ·value of $125 or $250 for free incidental to the
 18· ·other charges they were paying during that visit,
 19· ·correct?
 20· · · · ·A· · It's a discount, yes.· Yes, it was an
 21· ·arrangement.· So you do these, and if you get this --
 22· ·these are -- these are not without charge.· So it's a
 23· ·discounted service.
 24· · · · ·Q· · Well, how is that not below market rate
 25· ·if it's for free and incidental to something else,

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 ·1· ·sir?· How is that not -- how is that not a
 ·2· ·problematic relationship?
 ·3· · · · ·A· · Because --
 ·4· · · · · · · MR. RISSLER:· Object to form.
 ·5· · · · ·A· · Because the kickback statute does not --
 ·6· ·the kickback statute does not criminalize discounts.
 ·7· ·BY MR. CALLOW:
 ·8· · · · ·Q· · So your opinion is that giving the $125
 ·9· ·skills check or $255 [sic] skills check for two
 10· ·people is a discounted service, not a free service if
 11· ·it's incidental to some other payment?
 12· · · · ·A· · I think it could be, yes.
 13· · · · ·Q· · Well, could be.· Is it?· Do you have an
 14· ·opinion of whether it is or is not a discount or is
 15· ·or is not the providing of a free service to the
 16· ·communities receiving them?
 17· · · · ·A· · I'm sorry, can you repeat the question?
 18· · · · ·Q· · Yeah.· I'm not asking could be's because
 19· ·you're offering an opinion.
 20· · · · · · · Is the providing of $125 value skills
 21· ·check or a $250 valued skills check for two people
 22· ·the providing of a free service incidental to other
 23· ·services as was Guardian's policy prior to January of
 24· ·2018?
 25· · · · ·A· · I'm sorry, I still didn't quite -- I

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 ·1· ·didn't quite understand the question.
 ·2· · · · ·Q· · Guardian was providing free skills
 ·3· ·checks --
 ·4· · · · ·A· · Yes.
 ·5· · · · ·Q· · -- to communities which it internally
 ·6· ·valued and priced out at $125 for one person or 250
 ·7· ·for two people, but Guardian did not charge the
 ·8· ·community for those skills checks if it was already
 ·9· ·at the community doing other work.
 10· · · · · · · Are we in agreement on that?
 11· · · · ·A· · Yes, I believe that was the policy.
 12· · · · ·Q· · Prior to January of 2018?
 13· · · · ·A· · Yes.
 14· · · · ·Q· · And how is that not providing a free
 15· ·service incidental to providing other services prior
 16· ·to January of 2018?· It's not discounted, it's free?
 17· · · · ·A· · Well, it's part of an ongoing
 18· ·arrangement, so I think it's -- I mean, it's part of
 19· ·the suite of services that are being provided so...
 20· · · · ·Q· · It is if they're not charging for those
 21· ·services because they're being paid for other
 22· ·services, correct?
 23· · · · ·A· · It is a -- it is a particular discount
 24· ·for this service.· I mean, I...
 25· · · · ·Q· · It's discounted to zero; is it not?

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 ·1· · · · ·A· · Well, that's a -- that's a discount.
 ·2· · · · ·Q· · Okay.
 ·3· · · · ·A· · I mean, it's a discount if they're paying
 ·4· ·for other services overall.
 ·5· · · · ·Q· · You talk about whether or not there's a
 ·6· ·separate charge or separate fee for the medication
 ·7· ·cart and the computers, correct?
 ·8· · · · ·A· · Let me go back and look.· This is the
 ·9· ·opinion?
 10· · · · ·Q· · Sure.· It's the fourth bullet point under
 11· ·paragraph 12.
 12· · · · ·A· · Okay.
 13· · · · ·Q· · It's the last -- it's on page five?
 14· · · · ·A· · It's on five or is it the carryover or
 15· ·the last one?
 16· · · · ·Q· · Yes, sir.· Top of page five, it's a
 17· ·carryover open bullet point.
 18· · · · ·A· · Okay.
 19· · · · ·Q· · Guardian's provision of medication carts
 20· ·without a separate charge.· Do you see that?
 21· · · · ·A· · Yes.· And yes.
 22· · · · ·Q· · Again, I want to make sure we're on the
 23· ·same page.· You understand that Guardian provided
 24· ·medication carts to a number of homes on a loan; is
 25· ·that right?

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 ·1· · · · ·A· · I missed the very end.· I'm sorry.
 ·2· · · · ·Q· · It's all right.· You're aware that
 ·3· ·Guardian provided medication carts to various
 ·4· ·communities as a loan, correct?
 ·5· · · · ·A· · Yes.
 ·6· · · · ·Q· · So Guardian kept title to the medication
 ·7· ·cart, but it loaned these carts to the community at
 ·8· ·no charge?
 ·9· · · · ·A· · Yes.
 10· · · · ·Q· · And so the community?
 11· · · · ·A· · My understanding.
 12· · · · ·Q· · So the community doesn't have to go buy
 13· ·the medication cart.· It can take the loaned cart
 14· ·from Guardian as long as it enters into the agreement
 15· ·with Guardian, correct?
 16· · · · ·A· · Yes.
 17· · · · ·Q· · Same with the laptop.· Guardian kept
 18· ·ownership of the laptop, but if the community enters
 19· ·an arrangement with Guardian, Guardian will provide
 20· ·them that free laptop?
 21· · · · ·A· · A stripped down laptop that goes with
 22· ·the -- the eMARs.
 23· · · · ·Q· · Sir, I'm going to have Mr. Miller pop up
 24· ·132.· See if it pops up on your screen.
 25· · · · ·A· · What -- what just happened?

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 ·1· · · · ·Q· · Take your time.
 ·2· · · · ·A· · All of a sudden it went to (inaudible).
 ·3· ·Let me go -- okay.· Here we go.
 ·4· · · · · · · MR. RISSLER:· I just got kicked off
 ·5· · · · the share file too.· Will you give me a
 ·6· · · · minute, Joe?
 ·7· · · · · · · MR. CALLOW:· Sure.· Take your time.
 ·8· · · · No worries.
 ·9· · · · · · · THE WITNESS:· So Hopp 132?
 10· · · · · · · MR. CALLOW:· Yes, sir.· But let me
 11· · · · make sure Jerad's in the right place too.
 12· · · · Hold on one second, sir.
 13· · · · · · · MR. RISSLER:· Thanks, Joe.· I've got
 14· · · · it.
 15· · · · · · · MR. CALLOW:· Good.
 16· · · · · · · MR. RISSLER:· Yep, we're good.
 17· · · · · · · ·(Whereupon, Hopp Exhibit No. 132 was
 18· · · · ·previously marked for identification by the
 19· · · · ·court reporter.)
 20· ·BY MR. CALLOW:
 21· · · · ·Q· · Mr. McAnaney, let's go to Hopp 132.· That
 22· ·should be a pharmaceutical products and services
 23· ·agreement between Guardian of Atlanta and Canterfield
 24· ·of Kennesaw.· Do you see that?
 25· · · · ·A· · Yes.

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 ·1· · · · ·Q· · And you looked at a number of contracts
 ·2· ·in preparing the opinions that you're giving in this
 ·3· ·case, correct?
 ·4· · · · ·A· · Yes, correct.
 ·5· · · · ·Q· · So I want to look over on the second page
 ·6· ·of this particular agreement, and I note that there's
 ·7· ·a reference to pharmacy equipment at the top?
 ·8· · · · ·A· · Let me see, yes.
 ·9· · · · ·Q· · So in this particular case, pharmacy is
 10· ·providing a medication cart and a laptop computer for
 11· ·each cart.· Can you see that?
 12· · · · ·A· · Yes.
 13· · · · ·Q· · Then it says:· Pharmacy consulting
 14· ·services quarterly at no charge.· Do you see that?
 15· · · · ·A· · Yes.
 16· · · · ·Q· · And then there's a reference to
 17· ·additional consulting eMAR and proxy CMA classes.· Do
 18· ·you see that?
 19· · · · ·A· · Yes.
 20· · · · ·Q· · Above these pricing terms, it says
 21· ·confidential pricing terms.· Do you see that?
 22· · · · ·A· · Yes.
 23· · · · ·Q· · Do you know why the terms are
 24· ·confidential?
 25· · · · ·A· · I don't, but in my experience, it's

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 ·1· ·pretty common.
 ·2· · · · ·Q· · For businesses to have confidential
 ·3· ·pricing?
 ·4· · · · ·A· · Yes.· Most people want to keep their
 ·5· ·pricing confidential.
 ·6· · · · ·Q· · Not share it with the public or their
 ·7· ·competitors, right?
 ·8· · · · ·A· · Correct.
 ·9· · · · ·Q· · Okay.· On Exhibit A, standard terms,
 10· ·you'll see there's a reference under 2.1 to preferred
 11· ·provider.· Pharmacy will be the preferred provider of
 12· ·pharmaceutical products and services for each service
 13· ·facility.· Do you see that?
 14· · · · ·A· · Yes.
 15· · · · ·Q· · That's the language that is part of this
 16· ·agreement.· Guardian is designated the preferred
 17· ·provider for all of the residents of that community,
 18· ·right?
 19· · · · ·A· · Well, I don't think that's accurate.                    I
 20· ·think it's the preferred provider of the facility.
 21· · · · ·Q· · Correct.
 22· · · · · · · But the preferred provider of the
 23· ·facility, right?
 24· · · · ·A· · Yes.
 25· · · · ·Q· · And then the facility then tells the

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 ·1· ·residents that Guardian is the preferred provider of
 ·2· ·that facility and then Guardian -- excuse me, the
 ·3· ·residents decide whether to sign up with Guardian or
 ·4· ·not?
 ·5· · · · ·A· · I think that's the general idea.· Whether
 ·6· ·that's what happens, I'm not sure.
 ·7· · · · ·Q· · You don't know how that works?
 ·8· · · · ·A· · Well, I suspect it varies from -- from --
 ·9· ·from facility to facility exactly how it's
 10· ·implemented.
 11· · · · ·Q· · All right.· Let me ask you to look at
 12· ·Exhibit B to this agreement which says pharmacy
 13· ·consulting services.
 14· · · · ·A· · (Witness complies with request of
 15· ·counsel.)· Yes.
 16· · · · ·Q· · And this is an Exhibit B that you saw in
 17· ·a lot of the contracts that you reviewed I'm sure,
 18· ·correct?
 19· · · · ·A· · It appears to be.
 20· · · · ·Q· · Okay.· In multiple different agreements
 21· ·you have this similar standard language that looks
 22· ·pretty close to Exhibit B, pharmacy consulting
 23· ·services, right?
 24· · · · ·A· · I think so, yes.
 25· · · · ·Q· · And part of these standard services talks

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 ·1· ·specifically about the Anti-Kickback Statute,
 ·2· ·correct?
 ·3· · · · ·A· · Yes.
 ·4· · · · ·Q· · So paragraph seven:· The parties intend
 ·5· ·that their contractual relationship will be compliant
 ·6· ·in all manners with applicable federal and state laws
 ·7· ·including, but not limited to, the federal
 ·8· ·Anti-Kickback Statute.· Accordingly, they agree to
 ·9· ·the following terms which are hereby incorporated
 10· ·into the agreement by reference for all purposes; is
 11· ·that correct?
 12· · · · ·A· · Yes.
 13· · · · ·Q· · And then you have paragraphs A through H
 14· ·below, correct?
 15· · · · ·A· · Correct.
 16· · · · ·Q· · Did you review these paragraphs A through
 17· ·H?
 18· · · · ·A· · Yes.
 19· · · · ·Q· · Do you agree with paragraphs A through H?
 20· · · · ·A· · I'm sorry?
 21· · · · ·Q· · Do you agree with the language?
 22· · · · ·A· · I mean, I don't disagree with it.
 23· · · · ·Q· · Okay.· So --
 24· · · · ·A· · I mean, it's -- it's what they agreed to.
 25· · · · ·Q· · So when A says pharmacy will provide or

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 ·1· ·arrange for, an operator will pay for consulting
 ·2· ·pharmacist services only on terms that account for
 ·3· ·pharmacy's cost to do so and never below those costs,
 ·4· ·do you see that?
 ·5· · · · ·A· · I do.
 ·6· · · · ·Q· · And what does operator refer to?
 ·7· · · · ·A· · I believe it's the community.
 ·8· · · · ·Q· · Right.
 ·9· · · · · · · So looking at page one, operator is
 10· ·Canterfield of Kennesaw, correct?
 11· · · · ·A· · Yes.
 12· · · · ·Q· · So this specifically says under the
 13· ·Anti-Kickback Statute language:· Pharmacy will
 14· ·provide for arrange -- excuse me, pharmacy will
 15· ·provide or arrange for and Canterfield of Kennesaw
 16· ·will pay for consulting pharmacy services only on
 17· ·terms that account for pharmacy's cost to do so and
 18· ·never below those costs.· Correct?
 19· · · · ·A· · Yes.
 20· · · · ·Q· · But in actuality under the contract
 21· ·Canterfield Kennesaw is not paying for any of those
 22· ·consulting services?
 23· · · · · · · MR. RISSLER:· Objection.
 24· · · · · · · MR. CALLOW:· What's the objection,
 25· · · · Jerad?

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 ·1· · · · · · · MR. RISSLER:· It misstates the
 ·2· · · · contract.· There are pricing terms for a
 ·3· · · · number of the consulting services.
 ·4· ·BY MR. CALLOW:
 ·5· · · · ·Q· · It specifically says here, Mr. McAnaney,
 ·6· ·pharmacy will provide or arrange for and Kennesaw --
 ·7· ·Canterfield of Kennesaw will pay for consulting
 ·8· ·pharmacy services only on terms that account for
 ·9· ·pharmacy's costs to do so and never below those
 10· ·costs, correct?
 11· · · · ·A· · Yes, that's what it says.
 12· · · · ·Q· · A consulting pharmacy services is
 13· ·specifically listed on page two where it says
 14· ·pharmacy consulting services and it says quarterly at
 15· ·no charge, does it not?
 16· · · · ·A· · Yes, it says that.
 17· · · · ·Q· · So how is Canterfield of Kennesaw paying
 18· ·for the consulting services at or not below
 19· ·Guardian's costs if paragraph A specifically refers
 20· ·to the operator and page two specifically says it's
 21· ·at no cost?
 22· · · · ·A· · Well, I believe I mean, it appears that
 23· ·the understanding was that they were talking about
 24· ·additional pharmacist costs which are at $65 an hour.
 25· · · · ·Q· · This says -- this says consulting

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 ·1· ·pharmacist services in paragraph A and the chart says
 ·2· ·pharmacy consulting services quarterly at no charge.
 ·3· ·There is a reference to additional consulting.
 ·4· ·There's a reference to monthly services.· But
 ·5· ·pharmacy consulting services are the exact three
 ·6· ·words used in the chart and used in A.· And under
 ·7· ·this contract Canterfield of Kennesaw does not pay
 ·8· ·for pharmacy consulting services even though this
 ·9· ·language specifically says they cannot do so under
 10· ·below market costs?
 11· · · · · · · MR. RISSLER:· Objection, misstates the
 12· · · · contract.
 13· · · · ·A· · I mean, that's not exactly -- the first
 14· ·term at no charge is pharmacy consulting services.
 15· ·Additional consulting is for pharmacists, 55 for a
 16· ·nurse, and this is for -- they pay for consulting
 17· ·pharmacists services and -- consulting pharmacists.
 18· ·BY MR. CALLOW:
 19· · · · ·Q· · So --
 20· · · · ·A· · And pharmacist services.· So it's pretty
 21· ·clear that they understood it not to include those
 22· ·services.
 23· · · · ·Q· · It's --
 24· · · · ·A· · And that's what I would say as a lawyer.
 25· ·I mean, plus as you said, it's a boilerplate

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 ·1· ·contract.
 ·2· · · · ·Q· · I didn't say it was boilerplate contract,
 ·3· ·sir.
 ·4· · · · ·A· · Okay.· Well --
 ·5· · · · ·Q· · Are you saying it's boilerplate?· Are you
 ·6· ·saying compliance with the Anti-Kickback Statute is
 ·7· ·boilerplate?
 ·8· · · · ·A· · I mean, Exhibit B was -- comes in all of
 ·9· ·them.· I mean, is it boilerplate?· Yes, it's
 10· ·boilerplate.
 11· · · · ·Q· · You would call compliance with the
 12· ·Anti-Kickback statute language boilerplate contract
 13· ·language?
 14· · · · · · · MR. RISSLER:· Objection, misstates his
 15· · · · testimony.
 16· · · · ·A· · I would say that --
 17· · · · · · · MR. RISSLER:· Go ahead.
 18· · · · ·A· · -- a contract that has a provision that
 19· ·complies with the -- I mean, I think it is -- yes, I
 20· ·think that's typical boilerplate language.· Not that
 21· ·it's not important or enforceable but --
 22· ·BY MR. CALLOW:
 23· · · · ·Q· · Do you see any evidence that Canterfield
 24· ·of Kennesaw or any community that has a contract with
 25· ·Guardian knew or had information on whether or not

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 ·1· ·the pharmacy consulting services were at or below
 ·2· ·cost?
 ·3· · · · ·A· · Well, this is one of the problems with
 ·4· ·the Anti-Kickback Statute.· They wouldn't.· It's
 ·5· ·impossible for them.· No one's going to tell them.
 ·6· · · · ·Q· · No one from Guardian is not going to tell
 ·7· ·them?
 ·8· · · · ·A· · Excuse me?
 ·9· · · · ·Q· · When you say no one's going to tell them,
 10· ·Guardian is not going to tell them, right?
 11· · · · ·A· · Well, in -- in any of these Anti-Kickback
 12· ·Statute when they say at or below cost, only the
 13· ·person providing them knows what those costs are.
 14· ·And of course, in this case the expert testimony is
 15· ·the costs were negligible.· The marginal costs of
 16· ·education or skills training were negligible
 17· ·according to the comment.· So I think -- and that's
 18· ·all you have to cover economically to make a profit.
 19· · · · ·Q· · Paragraph B said:· All arrangements for
 20· ·consulting pharmacist services will be established
 21· ·without regard to any referrals.· Do you see that?
 22· · · · ·A· · Go back.· Yes.
 23· · · · ·Q· · Which means that the consulting
 24· ·pharmacists can't hold back or not perform services
 25· ·in exchange for a referral, correct?

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 ·1· · · · ·A· · Well, I'm not -- I mean, it -- I think it
 ·2· ·says what it says.
 ·3· · · · ·Q· · Well, what do you think it says?· You
 ·4· ·tell me.
 ·5· · · · ·A· · Excuse me?
 ·6· · · · ·Q· · You tell me.· What does it say?
 ·7· · · · ·A· · All arrangements for consulting
 ·8· ·pharmacist services will be established without
 ·9· ·regard to any referrals.
 10· · · · ·Q· · So can a consulting pharmacist hold back
 11· ·services until it gets referrals of residents?
 12· · · · ·A· · I'm not -- it strikes me it depends.
 13· · · · ·Q· · Depends on what?
 14· · · · ·A· · Well, some of the consulting pharmacist
 15· ·services require a patient.· I mean, if you don't
 16· ·have any patients you're not -- you're not going to
 17· ·provide any services.
 18· · · · ·Q· · Do the consultant service providers
 19· ·provide different levels of service whether they have
 20· ·one, ten or 20 patients at a community?
 21· · · · ·A· · Yes.
 22· · · · ·Q· · They can provide different levels of
 23· ·service and hold out services until they get a larger
 24· ·number of residents to sign up with them?
 25· · · · ·A· · I'm -- what I'm saying is a -- a vendor

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 ·1· ·can provide different levels of services to customers
 ·2· ·depending on the amount of business they have with
 ·3· ·that customer.· So I mean, that's -- the generic
 ·4· ·question is sure, people can provide different
 ·5· ·services based on how many -- how much business they
 ·6· ·have with a particular facility or customer.
 ·7· · · · ·Q· · Can a vendor under this Anti-Kickback
 ·8· ·statute in paragraph B tell the community that they
 ·9· ·will provide different or additional services in
 10· ·exchange for a referral of residents?
 11· · · · ·A· · Well, first of all, I don't think they're
 12· ·going to say that to a congregate home because a
 13· ·congregate home doesn't make a referral.· So you can
 14· ·start with that.
 15· · · · ·Q· · That wasn't my question at all, sir.· My
 16· ·question was:· Can a consulting pharmacy tell the
 17· ·community we will provide you different or additional
 18· ·services if we get more patients referred to us, yes
 19· ·or no?
 20· · · · ·A· · I just think -- as I said, I don't
 21· ·think -- I mean, yes, if that were the case, but
 22· ·those facilities can't refer.· So I think that's not
 23· ·exactly how it works.· If it were a nursing home,
 24· ·yeah, because they can refer the patients.
 25· · · · ·Q· · If a long-term care pharmacy like

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 ·1· ·Guardian in an assisted living community or personal
 ·2· ·care home says they will provide different or
 ·3· ·additional services in exchange for the referral of
 ·4· ·patients, would you agree with me that that is a
 ·5· ·violation of the Anti-Kickback Statute if it
 ·6· ·occurred?
 ·7· · · · ·A· · No.
 ·8· · · · ·Q· · Why not?
 ·9· · · · ·A· · Well, for one thing it has to be knowing
 10· ·and willful.· And another thing it has to be
 11· ·remuneration which isn't clear.· And then it has to
 12· ·be in exchange for or to induce referrals.· So, I
 13· ·mean, you have to look at the specific facts and the
 14· ·specific arrangement.· That's what you have to do
 15· ·with every kickback.
 16· · · · ·Q· · Paragraph E:· Neither pharmacy nor
 17· ·operator will offer, solicit, pay or receive any
 18· ·remuneration for anything of value, closed paren,
 19· ·intended to induce referrals of any patient for the
 20· ·purchasing or ordering of any item or services that
 21· ·may be reimbursed in whole or in part under federal
 22· ·healthcare programs such as Medicare or Medicaid.
 23· · · · · · · Is that accurate?
 24· · · · ·A· · Yes, that's what it says.
 25· · · · ·Q· · You agree that's a correct application of

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 ·1· ·the Anti-Kickback Statute?
 ·2· · · · ·A· · Well, no, it's a contract provision.
 ·3· · · · ·Q· · I understand.· Do you agree that A
 ·4· ·through H are appropriate concerns under the
 ·5· ·Anti-Kickback Statutes?
 ·6· · · · ·A· · I think A through H are intended to
 ·7· ·foster compliance with the Anti-Kickback Statute,
 ·8· ·yes.
 ·9· · · · ·Q· · G in this paragraph -- excuse me, in this
 10· ·page notes that nothing in this addendum will
 11· ·prohibit arrangements that comply with one or more of
 12· ·the Anti-Kickback Statute safe harbors.· Do you see
 13· ·that?
 14· · · · ·A· · Yes.
 15· · · · ·Q· · Did you do any analysis of whether or not
 16· ·any of these arrangements fit within the
 17· ·Anti-Kickback Statute safe harbor according to CFR
 18· ·1001.952?
 19· · · · ·A· · Not -- not in detail.
 20· · · · ·Q· · So you're not offering an opinion in this
 21· ·case that this conduct is protected by any
 22· ·Anti-Kickback Statute safe harbor basis; is that
 23· ·right?
 24· · · · ·A· · No.
 25· · · · · · · MR. CALLOW:· We've been going for a

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 ·1· · · · couple of hours.· Why don't we take a half
 ·2· · · · hour or 45-minute break for lunch.· Do you
 ·3· · · · want to do half hour or 45 minutes or an
 ·4· · · · hour?· I'll defer to you and Jerad what you
 ·5· · · · want to take.
 ·6· · · · · · · THE WITNESS:· Up to you, Jerad.
 ·7· · · · · · · MR. RISSLER:· 45 minutes good for you?
 ·8· · · · · · · THE WITNESS:· Sounds good.
 ·9· · · · · · · MR. CALLOW:· Come back at ten to 1:00,
 10· · · · and we'll pick back up there.· Thanks.
 11· · · · · · · THE VIDEOGRAPHER:· This is the end of
 12· · · · Media 1.· The time is 12:04 p.m.· We're now
 13· · · · off the record.
 14· · · · · · · (Whereupon, the video camera was
 15· · · · turned off.)
 16· · · · · · · (Whereupon, a brief recess was taken.)
 17· · · · · · · (Whereupon, the video camera was
 18· · · · turned on.)
 19· · · · · · · THE VIDEOGRAPHER:· This is the
 20· · · · beginning of Media 2.· The time is
 21· · · · 12:51 p.m.· We're back on the record.
 22· ·BY MR. HENDRIX:
 23· · · · ·Q· · Mr. McAnaney, can you hear me okay?
 24· · · · ·A· · Yes, I can.
 25· · · · · · · MR. CALLOW:· Jerad, are you good?

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 ·1· · · · · · · MR. RISSLER:· I'm good.
 ·2· ·BY MR. CALLOW:
 ·3· · · · ·Q· · Okay.· Sir, let's go back to your report
 ·4· ·and I'd like for you to turn to paragraph 40, which
 ·5· ·is on page 12.
 ·6· · · · ·A· · (Witness complies with request of
 ·7· ·counsel.)· Yes.
 ·8· · · · ·Q· · All right.· So page 12 in the middle
 ·9· ·starts a section B, Georgia regulations of ALC and
 10· ·PCH medication administration.· Do you see that?
 11· · · · ·A· · Yes.
 12· · · · ·Q· · And you wrote these sections regarding
 13· ·the Georgia regulations?
 14· · · · ·A· · Yes.
 15· · · · ·Q· · 40 says that any ALC in Georgia offering
 16· ·medication administration services to its residents
 17· ·must employ certification medication aids, at a
 18· ·minimum, to administer medications, correct?
 19· · · · ·A· · Correct.
 20· · · · ·Q· · And just to be clear, that's a
 21· ·requirement on the community.· That's not a
 22· ·requirement of the long-term care facility, correct?
 23· · · · ·A· · Right.· That's a requirement --
 24· · · · · · · MR. RISSLER:· You mean long-term care
 25· · · · pharmacy, Joe?

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 ·1· · · · · · · MR. CALLOW:· I apologize.· Long-term
 ·2· · · · care pharmacy.· Thank you, Jared.
 ·3· · · · ·A· · Yes.· I mean, as I -- you read the regs,
 ·4· ·it says if an ALC is going to offer medication
 ·5· ·administration services, they have to have a cert --
 ·6· ·a CMA.
 ·7· ·BY MR. CALLOW:
 ·8· · · · ·Q· · And the Georgia regulations apply to the
 ·9· ·communities and the obligations of the communities,
 10· ·correct?
 11· · · · ·A· · Yes.
 12· · · · ·Q· · So when you list in 40, 41, 42 and 43,
 13· ·when you're talking about the requirements of the
 14· ·Georgia regulations, to be clear, those are
 15· ·regulations that apply to the communities that either
 16· ·need to employ their own people or contract with a
 17· ·pharmacy like Guardian to perform some of those
 18· ·services?
 19· · · · ·A· · The regulation requires if they use CMAs,
 20· ·they have to meet these requirements.
 21· · · · ·Q· · Okay.· Are you familiar with any other
 22· ·states that have similar requirements to the Georgia
 23· ·regulations you outline in 40 through 43?
 24· · · · ·A· · Not really.
 25· · · · ·Q· · Okay.· And there is a difference between

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 ·1· ·a personal care home and an assisted living community
 ·2· ·under Georgia law, correct?
 ·3· · · · ·A· · Yes.
 ·4· · · · ·Q· · There was -- at least there was at the
 ·5· ·time, right?
 ·6· · · · ·A· · That's my understanding, yes.
 ·7· · · · ·Q· · And let me ask you to look over on
 ·8· ·paragraph 44.
 ·9· · · · ·A· · (Witness complies with request of
 10· ·counsel.)
 11· · · · ·Q· · Talks about designation of a preferred
 12· ·pharmacy status.· Do you see that?
 13· · · · ·A· · Yes.
 14· · · · ·Q· · (Inaudible) services that long-term care
 15· ·pharmacies provide to their clients, LTC pharmacies
 16· ·generally strive to have a sufficient number of
 17· ·clients in a given congregate home to spread the
 18· ·fixed costs of serving the residents in the home over
 19· ·a number of clients.· Do you see that?
 20· · · · ·A· · Yes.
 21· · · · ·Q· · You don't have a cite for that.· What's
 22· ·your cite to your basis for that opinion?
 23· · · · ·A· · Just my general experience.
 24· · · · ·Q· · You don't have any experience in
 25· ·long-term care pharmacies.

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 ·1· · · · ·A· · No, but vendors to the long-term care
 ·2· ·industry.· This is not -- this kind of arrangement is
 ·3· ·not unusual for different vendors of long-term care
 ·4· ·facilities.
 ·5· · · · ·Q· · A long-term care pharmacy's relationship
 ·6· ·with the community is no different than other
 ·7· ·vendors?
 ·8· · · · ·A· · It's -- well, in terms of congregate care
 ·9· ·facilities -- I mean, often prefer to have a
 10· ·preferred vendor for a given service.
 11· · · · ·Q· · Is the long-term care pharmacy's
 12· ·obligation to the residents any different whether or
 13· ·not the long-term care pharmacy services 10 percent
 14· ·or 50 percent and 90 percent of the residents in a
 15· ·community?
 16· · · · ·A· · I think the -- basically probably not.
 17· ·They deliver the drugs as prescribed.
 18· · · · ·Q· · So the obligations of the long-term care
 19· ·pharmacy, whatever those costs are, should not affect
 20· ·the service to the residents whether or not the
 21· ·long-term care pharmacy service is 10 percent or
 22· ·50 percent and 90 percent of the residents in that
 23· ·community?
 24· · · · ·A· · I'm not -- I'm not -- I'm not sure about
 25· ·that.· I mean, it's -- it's a pretty vague statement.

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 ·1· · · · ·Q· · It's a vague statement.
 ·2· · · · · · · Is a long-term care pharmacy's obligation
 ·3· ·to a resident who signs an agreement with Guardian to
 ·4· ·make Guardian it's long-term care pharmacy, do the
 ·5· ·services provided under that agreement depend in some
 ·6· ·way on whether the person next door to them signs the
 ·7· ·same agreement or not?
 ·8· · · · ·A· · I think it could.
 ·9· · · · ·Q· · Okay.· Explain to me how the level of
 10· ·service provided to a resident who signs a contract
 11· ·with a long-term care pharmacy is affected or
 12· ·different whether or not their neighbor next door
 13· ·signs the same contract or not.
 14· · · · ·A· · Well, a long-term pharmacy provides a
 15· ·number of services.· I think they -- some are fixed,
 16· ·some are -- some are not necessarily fixed, I think.
 17· ·And depending on the number of customers they have in
 18· ·a facility, then the costs of providing those
 19· ·services will vary.· And so I can easily see how they
 20· ·might provide more services if they have more
 21· ·customers in a given facility.
 22· · · · ·Q· · Well --
 23· · · · ·A· · Go ahead.
 24· · · · ·Q· · Whether the cost of the services vary,
 25· ·does the level of service or the service required by

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 ·1· ·either the Georgia regulations or the federal
 ·2· ·government dispensing fee vary depending on whether
 ·3· ·or not a Guardian has a contract with 10 percent,
 ·4· ·50 percent or 90 percent of the residents in the
 ·5· ·community?
 ·6· · · · ·A· · Well, obviously, I think that there's a
 ·7· ·minimum that will not vary.· I think most of those
 ·8· ·things set a minimum.· I don't know that there can't
 ·9· ·be services over and above that.
 10· · · · ·Q· · You can have additional services or
 11· ·different services depending on the number of people,
 12· ·but the minimum level of service required under the
 13· ·Georgia regulations or required by the CMS
 14· ·regulations does not vary depending on the number of
 15· ·people you have under contract at a particular
 16· ·community, does it?
 17· · · · ·A· · Well, I have no idea about what the
 18· ·Georgia long-term care pharmacy regulations require.
 19· ·I haven't actually looked at them.· And but I do
 20· ·think that the dispensing fee sets a minimum.· It
 21· ·doesn't set a maximum.· So the minimum won't change.
 22· · · · ·Q· · Regardless of how many residents Guardian
 23· ·services at a particular community?
 24· · · · ·A· · I would think that you have to provide
 25· ·the minimum.

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 ·1· · · · ·Q· · And do you know if there's any language
 ·2· ·in the contract that Guardian has with the residents
 ·3· ·that indicates that we will provide you different or
 ·4· ·additional services if other residents also sign up
 ·5· ·with Guardian?
 ·6· · · · ·A· · I don't believe there's any specific
 ·7· ·language to that effect.
 ·8· · · · ·Q· · You note in paragraph 45 that ALCs and
 ·9· ·PCHs generally prefer to have their residents served
 10· ·by as few LTC pharmacies as possible.· And then you
 11· ·have a reference to the Lewin report page 16 for
 12· ·support for this paragraph.
 13· · · · ·A· · That's -- as I said in my report, these
 14· ·are all illustrative.· They're not the only examples.
 15· ·There's a lot of support for that statement.
 16· · · · ·Q· · So the ALCs and PCHs generally prefer to
 17· ·have the residents served by as few LTC pharmacies as
 18· ·possible.
 19· · · · · · · What's the source for that statement?
 20· · · · ·A· · That's the Lewin report and much of the
 21· ·deposition testimony, the expert reports.· I mean,
 22· ·it's -- it's a basic -- it's a basic safety
 23· ·consideration.
 24· · · · ·Q· · Which expert reports did you review that
 25· ·concluded that ALCs and PCHs generally prefer to have

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 ·1· ·their residents served by as few LTC pharmacies as
 ·2· ·possible?
 ·3· · · · ·A· · I can't remember the names.· We have a
 ·4· ·pharmacy -- it was a pharmacy expert from Southern
 ·5· ·Cal or something like that that report -- I think
 ·6· ·there's testimony by Ms. Newcomb that says that.                     I
 ·7· ·think it's a pretty -- I think it's a pretty
 ·8· ·established fact.
 ·9· · · · ·Q· · Well, the report from the Southern Cal
 10· ·expert you did not have at the time you authored this
 11· ·report, correct?
 12· · · · ·A· · Correct.
 13· · · · ·Q· · So that wasn't the source of you writing
 14· ·paragraph 45 because you didn't have that report at
 15· ·the time that you wrote this?
 16· · · · ·A· · That's correct.
 17· · · · ·Q· · So do you think Ms. Newcomb testified
 18· ·that ALCs and PCHs generally prefer to have their
 19· ·residents served by as few LTC pharmacies as
 20· ·possible?
 21· · · · ·A· · I believe virtually all of them that --
 22· ·she among others and the Lewin report as well.
 23· · · · ·Q· · As few LTC pharmacies as possible does
 24· ·not mean one pharmacy, does it?· It's as few as
 25· ·possible.

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 ·1· · · · ·A· · I think most of them say they want one
 ·2· ·preferred.· I take as few -- I'm sure less is better
 ·3· ·than more, and one is probably better than two.
 ·4· · · · ·Q· · So the ALCs and PCHs in your opinion want
 ·5· ·one LTC or as few LTC pharmacies as possible?
 ·6· · · · ·A· · Generally, that's typical in the
 ·7· ·industry, yes.
 ·8· · · · ·Q· · You also recognize that the residents
 ·9· ·have choice and the residents can choose whichever
 10· ·pharmacy they want?
 11· · · · ·A· · Yes, in -- in ALFs and in congregate
 12· ·personal care homes.
 13· · · · ·Q· · In the Guardian contracts that you looked
 14· ·at, Guardian works to be the preferred pharmacy, not
 15· ·one of few LTC pharmacies as possible.· Guardian
 16· ·wants to be the preferred pharmacy, correct?
 17· · · · ·A· · That's correct.
 18· · · · ·Q· · And when Guardian is the preferred
 19· ·pharmacy, the community only refers its patients to
 20· ·Guardian?
 21· · · · ·A· · I don't believe that's the case at all.
 22· · · · ·Q· · Well, does Guardian -- does the community
 23· ·provide a welcome packet to residents with the name
 24· ·of any community -- does the community provide a
 25· ·welcome packet to its residents with the name of a

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 ·1· ·long-term care pharmacy other than Guardian and
 ·2· ·Guardian is the preferred pharmacy?
 ·3· · · · ·A· · My recollection is the testimony is that
 ·4· ·some did that.· It wasn't -- I mean, there wasn't
 ·5· ·a -- it was not what Guardian would prefer, but I
 ·6· ·believe they said that some do.
 ·7· · · · ·Q· · That some communities provided the names
 ·8· ·of other pharmacies other than Guardian when Guardian
 ·9· ·was the preferred pharmacy?
 10· · · · ·A· · Yes, I'm sure they all did.· I mean, if
 11· ·asked they were going to provide other pharmacies.
 12· · · · ·Q· · Do you believe you have testimony in the
 13· ·records before you that the communities offered the
 14· ·names of more than one pharmacy when Guardian was
 15· ·designated a long-term care pharmacy?
 16· · · · ·A· · I believe there's some -- I believe
 17· ·there's -- my recollection is there was some
 18· ·testimony to that effect.· I can't recall it now
 19· ·exactly but --
 20· · · · ·Q· · You don't cite that anywhere.· Can you
 21· ·recall where that testimony came from?
 22· · · · ·A· · Excuse me?
 23· · · · ·Q· · You don't cite there anywhere in your
 24· ·report.
 25· · · · ·A· · No, it's not anything I relied on.

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 ·1· · · · ·Q· · Well, can you tell me which community you
 ·2· ·believe provided the name of any other pharmacy after
 ·3· ·Guardian was determined to be the preferred pharmacy
 ·4· ·for the community?
 ·5· · · · ·A· · As I told you a minute ago, no, I
 ·6· ·can't -- I can't recall exactly.· What I said is I
 ·7· ·have a recollection that there is some testimony to
 ·8· ·that effect.
 ·9· · · · ·Q· · Do you believe that Guardian prefers to
 10· ·be the only pharmacy that the community listed in its
 11· ·communications in the welcome packet to residents
 12· ·after it signed the contract with the community?
 13· · · · ·A· · I believe that they hope and understood
 14· ·that they would be the preferred pharmacy, that their
 15· ·packet would be distributed.
 16· · · · ·Q· · And in those situations, the welcome
 17· ·packet would only list Guardian as the long-term care
 18· ·pharmacy preferred choice to the residents?
 19· · · · ·A· · I'm not sure I've seen -- I've not
 20· ·actually -- I've seen one set of materials I think
 21· ·that Guardian put out.· I don't know what materials
 22· ·were actually distributed by all the various homes.
 23· · · · ·Q· · Have you seen any of the welcome packets
 24· ·where the community designates Guardian as the
 25· ·preferred long-term care pharmacy?

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 ·1· · · · ·A· · I've seen what Guardian put together as
 ·2· ·their welcome packet, yes.
 ·3· · · · ·Q· · And they're the only one listed when
 ·4· ·their welcome packet is used, correct?
 ·5· · · · ·A· · I can't recall.· I mean, that wouldn't --
 ·6· ·I think that's the idea, was they were the preferred
 ·7· ·pharmacy.
 ·8· · · · ·Q· · And when they're the preferred pharmacy,
 ·9· ·the community doesn't identify any other pharmacy
 10· ·other than Guardian when residents asked about
 11· ·long-term care pharmacy services, correct?
 12· · · · ·A· · I don't believe why -- that strikes me as
 13· ·probably not correct, but I don't know.· If someone
 14· ·asks, I'm sure they'll tell them.· The patients have
 15· ·freedom of choice.
 16· · · · ·Q· · So you're sure that if patients ask the
 17· ·community, the community will provide Guardian and
 18· ·some other long-term care pharmacy names?
 19· · · · ·A· · I believe if residents ask for the names
 20· ·of other long-term care pharmacies that any
 21· ·responsible home would provide them.
 22· · · · ·Q· · If the resident asked the community for
 23· ·the name of a long-term care pharmacy provider, is it
 24· ·appropriate for the community to only give them the
 25· ·name of Guardian when Guardian is the preferred

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 ·1· ·provider for that community?
 ·2· · · · ·A· · I don't know whether under the law it's
 ·3· ·required, but I certainly think that they would --
 ·4· ·that they would.· This is our preferred provider, you
 ·5· ·know, there are others.
 ·6· · · · ·Q· · Do you have any evidence that a community
 ·7· ·lists others to assist in the freedom of choice that
 ·8· ·you've identified in your answer earlier?
 ·9· · · · ·A· · I never said they gave out lists.· I'm
 10· ·not quite sure what the question is aiming at.
 11· · · · ·Q· · Well, the question is trying to get at
 12· ·the fact that the long-term care communities when
 13· ·they sign the contract with Guardian only give
 14· ·Guardian's name to their residents when asked and
 15· ·only include Guardian in the welcome packet.
 16· · · · · · · Do you not understand that to be the
 17· ·factual basis?
 18· · · · ·A· · I do not believe that is -- I've seen no
 19· ·evidence of what you're talking about.· I believe
 20· ·that the contract and the testimony was they were --
 21· ·they were made a preferred provider.· Their welcome
 22· ·packet was given out.· I have seen no evidence that
 23· ·if someone asked about other ones that they would not
 24· ·tell them or that the contract required them to do
 25· ·it.· I find that -- there's no support.· I haven't

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 ·1· ·even seen an allegation of that.
 ·2· · · · ·Q· · Would that trouble you if you learn that
 ·3· ·the factual record is undisputed in this case that
 ·4· ·when Guardian is the preferred provider to a
 ·5· ·community, the community only lists Guardian in the
 ·6· ·welcome packets and only refers them, residents, to
 ·7· ·Guardian and not to the anybody else?
 ·8· · · · ·A· · No, it wouldn't -- I mean, it wouldn't
 ·9· ·surprise -- it would -- it would surprise me.                   I
 10· ·don't think it's -- I mean, it surprises me.· I don't
 11· ·think it's -- I mean, it is what it is.
 12· · · · ·Q· · Why would it surprise you?
 13· · · · ·A· · Because that's not the way I --
 14· ·healthcare facilities and facilities in my experience
 15· ·work, especially when a patient has freedom of
 16· ·choice.· If a patient or their family asks:· Is there
 17· ·anybody else, these people help them.· They're --
 18· ·they say, Well, sure, there's this and this, we
 19· ·prefer these guys because of that.· But the fact that
 20· ·they say, no, I'm not going to tell you anybody else,
 21· ·I find that frankly unbelievable based on my
 22· ·experience.
 23· · · · ·Q· · Do you see any testimony in the
 24· ·depositions that you reviewed where communities go to
 25· ·the point of charging a fee to residents if the

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 ·1· ·resident chooses the long-term care pharmacy other
 ·2· ·than Guardian?
 ·3· · · · ·A· · Well, I saw there is a reference to one
 ·4· ·that charged a fee to residents if they use somebody
 ·5· ·else because in that case there were -- unlike
 ·6· ·Guardian, they would have to make written eMAR and
 ·7· ·that would take time and they were charging them for
 ·8· ·the cost of the written medication review.
 ·9· · · · ·Q· · Do you recall the charge to the resident
 10· ·in that community if they chose to use a pharmacy
 11· ·other than Guardian?
 12· · · · ·A· · I'm not quite sure on what base it was,
 13· ·but I recall something like $100, $150.
 14· · · · ·Q· · So $150 is the charge to a resident if
 15· ·after the community signs an agreement with Guardian
 16· ·for Guardian to be the long-term care pharmacy, the
 17· ·resident in that community has to pay $150 a month if
 18· ·they want to use a different long-term care pharmacy?
 19· · · · ·A· · I'm sorry, what was the question?
 20· · · · ·Q· · Is that your understanding?
 21· · · · ·A· · My understanding was that particular
 22· ·facility at least for some period of time put in --
 23· ·put in a charge for people that were -- for the cost
 24· ·of having -- requiring them to undergo a written
 25· ·medication administration review.· What they charged,

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 ·1· ·I don't know.· I saw no evidence it had anything to
 ·2· ·do with Guardian so...
 ·3· · · · ·Q· · You said it was $150 charge, sir.
 ·4· · · · ·A· · Excuse me?
 ·5· · · · ·Q· · You said it was $150 charge.· That was
 ·6· ·your recollection.· I'm reading it right here.
 ·7· · · · ·A· · No, no, that's -- I have no -- I could
 ·8· ·go -- we could stop, and I could go find the
 ·9· ·reference.· But I -- it seems like that might have
 10· ·been it.· I don't know what it was.· It was some
 11· ·charge that the facility put in.· They must have
 12· ·thought that's what it cost them.
 13· · · · ·Q· · The facility put in a charge that if a
 14· ·resident chose not to use Guardian as their long-term
 15· ·care provider, that they had to pay as much as $150 a
 16· ·month to use a different long-term care pharmacy
 17· ·service, correct?
 18· · · · ·A· · Well, I don't -- as I said, I don't
 19· ·remember what exactly the charge was or how
 20· ·frequently it was.· What I do recall is there was a
 21· ·charge including -- because they had to manually --
 22· ·manually do the medication administration record.
 23· · · · ·Q· · Do you at least agree with me that a
 24· ·charge of that size and magnitude impacts the
 25· ·resident's choice of which long-term care pharmacy to

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 ·1· ·use?
 ·2· · · · ·A· · It could.
 ·3· · · · ·Q· · Do you agree with me that if the
 ·4· ·community only recommends Guardian and only uses
 ·5· ·Guardian in its welcome packet that that could impact
 ·6· ·a resident's choice of long-term care pharmacies as
 ·7· ·well?
 ·8· · · · ·A· · Yes, I -- yes, I think it certainly could
 ·9· ·or a preferred provider that assuming that there's a
 10· ·reason for it.
 11· · · · ·Q· · You recognize that there is a value to
 12· ·Guardian of being designated a preferred pharmacy at
 13· ·a community?
 14· · · · ·A· · Yes, I think they thought so.
 15· · · · ·Q· · Paragraph 47 in your report, consistent
 16· ·with industry practice, Guardian routinely entered
 17· ·into preferred pharmacy agreements with ALCs and
 18· ·PCHs.
 19· · · · · · · What is your knowledge of industry
 20· ·practice?
 21· · · · ·A· · Well, I think it summarized very clearly
 22· ·in the -- the Lewin report and also as summarized by
 23· ·the various professionals being deposed.
 24· · · · ·Q· · So your understanding is that it was
 25· ·industry practice for long-term care pharmacies to

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 ·1· ·enter into preferred pharmacy agreements with ALCs
 ·2· ·and PCHs?
 ·3· · · · ·A· · Yes.
 ·4· · · · ·Q· · Is it your understanding that long-term
 ·5· ·care pharmacies competed in order to be designated
 ·6· ·the preferred pharmacy at ALCs and PCHs?
 ·7· · · · ·A· · I assume so, yes.
 ·8· · · · ·Q· · And there was a value to being designated
 ·9· ·preferred pharmacy because if the community only
 10· ·wanted one pharmacy, whoever got that designation got
 11· ·that value in the particular community, correct?
 12· · · · ·A· · Yes.· Well, I mean, the person who got
 13· ·the preferred designation got whatever value the
 14· ·preferred designation was worth.
 15· · · · ·Q· · So there is competition among long-term
 16· ·care pharmacies to be designated the preferred
 17· ·pharmacy?
 18· · · · ·A· · I mean, there's competition among
 19· ·long-term care pharmacies for clients, yes.
 20· · · · ·Q· · You note in paragraph 46 given this
 21· ·mutuality of interests ALCs and PCHs often designate
 22· ·one LTC pharmacy as their preferred pharmacy while
 23· ·recognizing and acknowledging that the residents of
 24· ·the home are free to use any pharmacy they choose.
 25· ·Do you see that?

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 ·1· · · · ·A· · Yes.
 ·2· · · · ·Q· · So the mutuality of interests as I
 ·3· ·understand what your opinion is, ALCs and PCHs would
 ·4· ·prefer one preferred pharmacy for residents?
 ·5· · · · ·A· · Typically safer, yes.
 ·6· · · · ·Q· · And LTC pharmacies would prefer to have
 ·7· ·the preferred pharmacy designation?
 ·8· · · · ·A· · I think they want as many clients as they
 ·9· ·can in one facility.
 10· · · · ·Q· · So there's a mutuality of interest
 11· ·because the community is looking for one pharmacy and
 12· ·the pharmacy wants to be the only pharmacy that the
 13· ·community recommends to its residents.· That's the
 14· ·mutuality of interest you're talking about here?
 15· · · · ·A· · Yes, because the long-term care pharmacy
 16· ·ideally have more patients there and the cost of
 17· ·providing services are cheaper and so probably make
 18· ·more money on the margin.
 19· · · · ·Q· · Do you agree with me that given that
 20· ·mutuality of interest, this is heightened opportunity
 21· ·for kickbacks to occur that need to be monitored?
 22· · · · ·A· · I wouldn't say it's heightened, but, I
 23· ·mean, there's always an opportunity.
 24· · · · ·Q· · Because of the mutuality of interests
 25· ·between those parties the contract exchanged?

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 ·1· · · · ·A· · Well, the mutuality -- I mean, the
 ·2· ·kickback doesn't require mutual.· It just requires
 ·3· ·one party wanting to get more business.
 ·4· · · · ·Q· · So page 14, paragraph 49, sir, starts
 ·5· ·your discussion about the quarterly medication
 ·6· ·reviews that we talked a little bit about before the
 ·7· ·break.· You see that?
 ·8· · · · ·A· · Yes.
 ·9· · · · ·Q· · And paragraph 50 you note that Guardian's
 10· ·quarterly services largely track the quarterly
 11· ·medication management reviews required for ALC
 12· ·licensure, correct?
 13· · · · ·A· · Correct.
 14· · · · ·Q· · And ALC is the community that you're
 15· ·referring to, right?
 16· · · · ·A· · I'm sorry, I didn't catch that.
 17· · · · ·Q· · I want to make sure I understand
 18· ·paragraph 50.· The quarterly medication management
 19· ·reviews on a quarterly basis are required for the ALC
 20· ·licensure, correct?
 21· · · · ·A· · Correct.
 22· · · · ·Q· · The homes need to have those quarterly
 23· ·services to maintain their licenses under Georgia
 24· ·law?
 25· · · · ·A· · They have to provide those services to be

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 ·1· ·in accordance with the regulations.· I'm not sure
 ·2· ·what the -- what the penalties are.
 ·3· · · · ·Q· · Okay.· So the quarterly services were
 ·4· ·specific to the Georgia regulations that apply to the
 ·5· ·communities in Georgia?
 ·6· · · · ·A· · I guess what I'm saying is the quarterly
 ·7· ·services largely track the same requirements that
 ·8· ·Georgia regulations had on ALCs.
 ·9· · · · ·Q· · Correct.· So the quarterly reviews
 10· ·largely track the Georgia regulations --
 11· · · · ·A· · Yes.
 12· · · · ·Q· · -- of what the communities needed to do
 13· ·to keep their licenses?
 14· · · · ·A· · Well, what communities had to do if they
 15· ·were going to use certified medication aides to
 16· ·provide -- to administer drugs to their residents.
 17· · · · ·Q· · And those requirements applied to ALCs
 18· ·and PCHs but they don't apply to skilled nursing
 19· ·facilities?
 20· · · · ·A· · I don't -- well, actually I'm not -- they
 21· ·only -- they only apply to certain ALCs and certain
 22· ·public homes.· I have no idea what the Georgia
 23· ·regulations require for nursing homes or I have some
 24· ·idea what some federal regulations are but not their
 25· ·quarterly services.

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 ·1· · · · ·Q· · Well, the regulations that you cited in
 ·2· ·paragraphs 40 through 44 that you talk here apply to
 ·3· ·ALCs and some apply to PCHs?
 ·4· · · · ·A· · That's correct.· If they use -- if they
 ·5· ·provide medication -- medication administration
 ·6· ·services to their residents.· Many -- many as -- from
 ·7· ·reading the regs, many of these people
 ·8· ·self-administer.
 ·9· · · · ·Q· · There are other communities, there are
 10· ·other residents that receive services from Guardian
 11· ·that are not in a long-term care -- that are not in
 12· ·an assisted living care community or personal care
 13· ·home, right?
 14· · · · ·A· · I don't know anything about Guardian's
 15· ·services outside of the case and the facilities we're
 16· ·talking about here.
 17· · · · ·Q· · Do you know if Guardian -- if Guardian
 18· ·has relationships and engages in any dispensing of
 19· ·pharmacy services or products outside of an assisted
 20· ·living community or personal care home?
 21· · · · ·A· · I -- I don't know.· I don't know.
 22· · · · ·Q· · The communities required to have those
 23· ·quarterly medication management reviews for residents
 24· ·whether or not the resident is serviced by Guardian
 25· ·or not, correct?

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 ·1· · · · ·A· · Yes.· I mean -- I mean, if -- yes, if
 ·2· ·they're using a certified medication aide to -- to
 ·3· ·administer, then that applies to any patient that's
 ·4· ·getting that service.
 ·5· · · · ·Q· · If the community has a hundred patients
 ·6· ·and 50 or 60 or 90 are serviced by Guardian, the
 ·7· ·community still has an obligation to get these
 ·8· ·quarterly medication management reviews for the ten
 ·9· ·or 40 or 50 residents who are not serviced by
 10· ·Guardian, correct?
 11· · · · ·A· · I believe that's correct, yes.
 12· · · · ·Q· · And in fact, Guardian offered to do
 13· ·medication management reviews on a quarterly basis
 14· ·for non-Guardian patients for a fee, correct?
 15· · · · ·A· · I've seen that.· I think the testimony
 16· ·was it was quite rare, but yes.
 17· · · · ·Q· · Then Guardian recognized that it would
 18· ·pay -- Guardian offered a service that it would do
 19· ·the quarterly reviews to help the community with its
 20· ·licensure for residents who were not signed up with
 21· ·Guardian at that particular time.
 22· · · · ·A· · Was there a question?
 23· · · · ·Q· · Correct?
 24· · · · ·A· · Yes, that's my understanding.
 25· · · · ·Q· · Do you recall seeing any testimony from

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 ·1· ·Ms. Newcomb that she complained that Guardian wasn't
 ·2· ·charging for the quarterly services that she and her
 ·3· ·team were providing?
 ·4· · · · ·A· · I certainly remember she would have --
 ·5· ·she would have liked her services to be a revenue
 ·6· ·center.
 ·7· · · · ·Q· · She wanted to charge the communities for
 ·8· ·consulting but Matt Hopp resisted charging the
 ·9· ·communities for consulting in those cases, correct?
 10· · · · ·A· · I think that's -- I'm not quite sure
 11· ·that's exactly it, but she proposed putting in fees
 12· ·and he -- he said no.· I mean, they put in -- they
 13· ·changed the fee structure to some extent but not for
 14· ·quarterly consulting.
 15· · · · ·Q· · And even after January '18, Guardian did
 16· ·not charge the communities for the quarterly
 17· ·consulting that Lori and her team were doing?
 18· · · · ·A· · Right.· There was no separate charge to
 19· ·the communities beyond what was already covered in
 20· ·the dispensing fee and in the service fee being paid
 21· ·by the customers.
 22· · · · ·Q· · Paragraph 58 in your report on page 17,
 23· ·you talk about MARs and eMARs.
 24· · · · ·A· · Yes.
 25· · · · ·Q· · And can you explain to me the difference

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 ·1· ·as you understand it between a MAR and an eMAR?
 ·2· · · · ·A· · Well, an eMAR is kind of a MAR, but most
 ·3· ·MARs were handwritten.· It's a medication
 ·4· ·administration record, details what they're being --
 ·5· ·and their conditions.· I mean, eMAR is basically the
 ·6· ·same thing, but it's inputted through a computer, and
 ·7· ·then you have a computerized record.
 ·8· · · · ·Q· · What you have reviewed are eMARs safer
 ·9· ·than MARs?
 10· · · · ·A· · Well, I think that -- well, I think it --
 11· ·I think it depends, probably.· If the eMAR is being
 12· ·reviewed by someone who is a resident whose all of
 13· ·their drugs are coming from the same place so they're
 14· ·all there, that's okay.· But I think generally it is
 15· ·considered -- well, it's certainly safer in the sense
 16· ·that everybody's on the same system; it reduces
 17· ·mistakes.· But so I guess that's all I would say.
 18· · · · ·Q· · For an individual resident, is it safer
 19· ·for that individual resident to have the long-term
 20· ·care pharmacy use eMARs or MARs?
 21· · · · ·A· · I'm not an expert.· I believe the
 22· ·testimony is people in the industry and Ms. Newcomb
 23· ·thought that eMARs were safer.
 24· · · · ·Q· · For an individual resident?
 25· · · · ·A· · For an individual resident.

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 ·1· · · · ·Q· · Regardless of whether one resident or ten
 ·2· ·residents or 50 residents or a thousand residents
 ·3· ·used it, for an individual resident eMAR was a safer
 ·4· ·alternative than MARs?
 ·5· · · · · · · MR. RISSLER:· That's outside the scope
 ·6· · · · of his opinions.
 ·7· · · · · · · Kevin, you can answer.
 ·8· · · · ·A· · I think that's -- I think that conflates
 ·9· ·to -- I think if, in fact, you're using multiple
 10· ·systems, it raises the risk of medication error for
 11· ·everyone including those that were on the eMARs if
 12· ·they're the only one on the eMARs and everybody else
 13· ·is on a MAR.· I think the chances of a person making
 14· ·a mistake are just increased.· So I think it --
 15· ·it's -- I think it's not that simple.
 16· ·BY MR. CALLOW:
 17· · · · ·Q· · For an individual resident who's getting
 18· ·all of their prescriptions from a single long-term
 19· ·care pharmacy, you don't have an opinion of whether
 20· ·eMARs is safer or better than MARs for that
 21· ·individual resident?
 22· · · · ·A· · No, I certainly am not an expert on MARs
 23· ·or pharmacy.· I believe the testimony in the case is
 24· ·that, in fact, anytime you have different systems, it
 25· ·increases the chance of an error for both sides.                     I

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 ·1· ·mean, the MAR is not what's coming from the pharmacy
 ·2· ·as I understand it.· It's what's being administered
 ·3· ·in the home.
 ·4· · · · ·Q· · Well, is there ever a situation where a
 ·5· ·long-term care pharmacy is going to have a hundred
 ·6· ·percent of the residents in the community?
 ·7· · · · ·A· · I don't know.· I'm sure it's possible.
 ·8· ·I'm sure people do.
 ·9· · · · ·Q· · Are you aware of any community in this
 10· ·case where Guardian had one hundred percent all of
 11· ·the residents of a particular community at a given
 12· ·time?
 13· · · · ·A· · No.· My recollection is that generally
 14· ·they said that 85 to 90 percent.
 15· · · · ·Q· · So freedom of choice most communities are
 16· ·going to have more than one long-term care pharmacy
 17· ·servicing one or more of its residents?
 18· · · · ·A· · I don't know that.
 19· · · · ·Q· · Do you know whether or not there are
 20· ·multiple long-term care pharmacies servicing one or
 21· ·more residents in almost every community at issue in
 22· ·this case?
 23· · · · · · · MR. RISSLER:· Objection, misstates the
 24· · · · facts.
 25· · · · ·A· · Are you asking me?· I have no idea.

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 ·1· ·BY MR. CALLOW:
 ·2· · · · ·Q· · The value of eMAR, then, to remove this
 ·3· ·error or inconsistency you can only evaluate that by
 ·4· ·looking at the community as a whole and not looking
 ·5· ·at how it impacts an individual resident?
 ·6· · · · ·A· · I would -- I would think that that's for
 ·7· ·the safety considerations it's -- it would be both.
 ·8· · · · ·Q· · So if Guardian has 40 residents out of a
 ·9· ·hundred and somebody else has 60 or some group of
 10· ·long-term care pharmacies has 60, is it appropriate
 11· ·for Guardian not to use eMARs for the 40 because it
 12· ·believes eMARs is safer than MARs but it wants to
 13· ·hold out until it gets the majority of the residents?
 14· · · · ·A· · I -- I think what determinations Guardian
 15· ·makes as to how and when they want to deploy it is --
 16· ·is basically a decision.· I don't really -- I don't
 17· ·know.· I'm not a professional, and I don't know
 18· ·everything that goes into MARs versus eMARs or what's
 19· ·entailed by switching.
 20· · · · ·Q· · So as someone who's testifying about the
 21· ·Anti-Kickback Statute in this case, you can't tell me
 22· ·whether or not it's problematic.· If Guardian
 23· ·indicates it would only go to eMARs versus MARs,
 24· ·which it believes is safer only when it gets a
 25· ·certain percentage of residents to sign on?

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 ·1· · · · ·A· · I mean, I don't think that's -- I don't
 ·2· ·think that's necessarily inappropriate --
 ·3· · · · ·Q· · So it's okay to tie going from MARs to
 ·4· ·eMARs paper system to a number or a percentage of
 ·5· ·residents signing up with Guardian?
 ·6· · · · ·A· · First of all, there's -- MARs and eMARs
 ·7· ·are just two pieces of the same thing.· So they're
 ·8· ·getting the services that are required and that they
 ·9· ·have a perfect function.· Whether and when Guardian
 10· ·thinks it makes sense to switch to eMARs as opposed
 11· ·to MARs can very well depend on the number of
 12· ·residents and the cost to them if there were the
 13· ·fixed costs.· If they're not, that happens.· People
 14· ·can provide different levels of services based on
 15· ·their number of customers in a given location.· It
 16· ·happens all the time.
 17· · · · ·Q· · In paragraph 58 of your report, you said
 18· ·that historically medication administration records
 19· ·are paper records.· Increasingly, MARs are kept
 20· ·electronically.· Do you see that?
 21· · · · ·A· · I see that.
 22· · · · ·Q· · The next sentence in your report is that
 23· ·Guardian preferred eMARs for its clients because in
 24· ·part they were safer for the patient.· You see that?
 25· · · · ·A· · Yes.

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 ·1· · · · ·Q· · So your opinion is that Guardian
 ·2· ·preferred eMARs for safety?
 ·3· · · · ·A· · In appropriate circumstances, yes.
 ·4· · · · ·Q· · Is it appropriate for Guardian to hold
 ·5· ·out eMARs versus MARs until the community delivers a
 ·6· ·certain percentage of patients?
 ·7· · · · ·A· · First of all, there's nothing in here
 ·8· ·about delivering patients.· It's if a certain number
 ·9· ·of patients in your facility, then we will -- then at
 10· ·that point we have enough customers that we may
 11· ·switch to an eMAR.· I don't -- there's -- there's
 12· ·safety; it has nothing to do with the kickback
 13· ·statute at that point.
 14· · · · ·Q· · The preference for eMARs safety isn't
 15· ·dependent on a number of residents.· The safety of
 16· ·eMARs is for every individual resident.
 17· · · · ·A· · We've already --
 18· · · · · · · MR. RISSLER:· Objection.
 19· · · · ·A· · I don't think that's true.· I already
 20· ·said why it wasn't true.
 21· ·BY MR. HENDRIX:
 22· · · · ·Q· · So for an individual resident, eMARs is
 23· ·not safer than MARs for an individual resident?
 24· · · · ·A· · I don't know, but I think it certainly
 25· ·depends on what everybody else is doing.· Quality --

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 ·1· ·quality and quality assurance in healthcare depends
 ·2· ·on systems, not on necessarily individuals.
 ·3· · · · ·Q· · Paragraph 60, you note that Guardian
 ·4· ·clients were charged a monthly fee of $10 for a
 ·5· ·bundle of services that included eMAR.· So the eMAR
 ·6· ·service populated the eMAR with residents' specific
 ·7· ·information about dispensed medications is only
 ·8· ·available for Guardian's clients.· You see that?
 ·9· · · · ·A· · Yes.
 10· · · · ·Q· · Do you see any evidence that Guardian was
 11· ·willing to cut the price of that $10 monthly fee if
 12· ·the community referred more patients to Guardian?
 13· · · · ·A· · No, I did not see it.
 14· · · · ·Q· · Did you see any testimony in the record
 15· ·that Guardian would cut its eMAR fees if more
 16· ·residents would sign up for Guardian?
 17· · · · ·A· · Yes.· I saw an e-mail that said -- I
 18· ·think it was somebody was contemplating go someplace
 19· ·else, and they said if we had enough patients, we
 20· ·could cut it.· I would point out that that's not --
 21· ·nothing in that went to the facility.· It was an
 22· ·incentive to the individual customers, the residents.
 23· ·It's sort of an odd -- so, I mean, yes, you said it
 24· ·right.· It's sort of a so what.
 25· · · · ·Q· · So what?

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 ·1· · · · ·A· · So what.
 ·2· · · · ·Q· · Guardian tells the community that if
 ·3· ·enough residents will sign up with us, I will cut the
 ·4· ·eMAR fee.
 ·5· · · · ·A· · To the residents.
 ·6· · · · ·Q· · To the residents.
 ·7· · · · ·A· · The community doesn't get anything.
 ·8· · · · ·Q· · Right.· You don't think --
 ·9· · · · ·A· · They're not being paid for referrals.
 10· · · · ·Q· · You don't think that was encouragement to
 11· ·the community to refer more patients to Guardian?
 12· · · · ·A· · It might have encouraged them to -- to --
 13· ·to tell -- tell residents to do it, but they weren't
 14· ·being paid for it.· They got no remuneration for it.
 15· ·It doesn't implicate the kickback statute.· It's as
 16· ·simple as that.
 17· · · · ·Q· · You recognize that Guardian repeatedly
 18· ·encouraged the community to refer patients to
 19· ·Guardian through the welcome packet, through
 20· ·communications, through the e-mails.· Guardian
 21· ·encouraged the community to refer the patients to
 22· ·Guardian when there was a contract in a preferred
 23· ·pharmacy (inaudible)?
 24· · · · ·A· · A, they don't make referrals.· I mean,
 25· ·I'll say it again.

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 ·1· · · · ·Q· · I didn't say referrals.· I said
 ·2· ·encouraged.
 ·3· · · · · · · MR. RISSLER:· Let him finish his
 ·4· · · · answer, Joe.· Go ahead.
 ·5· · · · ·A· · Clearly, they wanted their -- the homes
 ·6· ·to recommend them.· I mean, that's why they were the
 ·7· ·preferred provider.
 ·8· ·BY MR. CALLOW:
 ·9· · · · ·Q· · So Guardian was encouraging the
 10· ·communities to refer the residents to Guardian for
 11· ·long-term care services?
 12· · · · ·A· · Yes.
 13· · · · ·Q· · And you agree that took place throughout
 14· ·this entire timeframe.· Guardian was encouraging the
 15· ·communities to do so and then the residents chose
 16· ·what they wanted to do?
 17· · · · ·A· · Yes.· I think that's -- that's a --
 18· ·that's generally how it worked.· And I am not sure
 19· ·how much they encouraged beyond the initial welcome
 20· ·packet.
 21· · · · ·Q· · You don't know that one way or the other;
 22· ·you haven't read or don't understand what they did
 23· ·beyond the welcome packet?
 24· · · · ·A· · Right.· I don't recall -- I don't recall
 25· ·any specific testimony on that by the representatives

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 ·1· ·of the homes.
 ·2· · · · ·Q· · Let's go to paragraph 63 which I think
 ·3· ·starts the bases of your opinions.· You see where I
 ·4· ·am?
 ·5· · · · ·A· · Yes.
 ·6· · · · ·Q· · And then in the 65 through 69, I've got
 ·7· ·paragraphs and bullet points.
 ·8· · · · ·A· · Yes.
 ·9· · · · ·Q· · Where do these bullet points come from?
 10· · · · ·A· · My experience.
 11· · · · ·Q· · Are they in a document or a guidance or a
 12· ·statute?· Is there something -- there's no footnote
 13· ·to it, so I'm wondering if there's something in here
 14· ·I can cite or rely upon for 65 through 69?
 15· · · · ·A· · No, I think 65 is basically -- I could
 16· ·get some things for some of them, but it's -- it's
 17· ·basically based on my experience and with the
 18· ·government and with regulators and prosecutors don't
 19· ·throw in analyzing.
 20· · · · ·Q· · Because these bullet points are yours.
 21· ·They don't come from a case or a guidance or a
 22· ·statute or regulation.· I can't find them anywhere
 23· ·other than you created these for your opinions in
 24· ·this case.
 25· · · · ·A· · Well, I mean, some.· I mean, I

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 ·1· ·specifically created this list.· I think these things
 ·2· ·are derived from various -- I mean, most of them are
 ·3· ·derived from specific things.
 ·4· · · · ·Q· · You haven't footnoted anything here.                    I
 ·5· ·can't track them.
 ·6· · · · ·A· · No, I didn't.· I'm sorry, what was the
 ·7· ·end of that?
 ·8· · · · ·Q· · You don't have a footnote for any bullet
 ·9· ·points, for any statement, for any of the language
 10· ·that you have in 65 through 69?
 11· · · · ·A· · Correct.
 12· · · · ·Q· · So for 65, is the conduct of the crime
 13· ·commonly understood to be unlawful, unethical or
 14· ·otherwise improper?
 15· · · · ·A· · Yes.
 16· · · · ·Q· · You created that question, but I don't
 17· ·have a statute or regulation, a case, an article?
 18· · · · ·A· · I cited -- I mean, that's basically the
 19· ·language from the committee report for the original
 20· ·1977.· I mean, I think I've cited it elsewhere.
 21· · · · ·Q· · You cited to the 1977 amendment?
 22· · · · ·A· · Yes, the committee report for the 1977
 23· ·amendment.
 24· · · · ·Q· · That bullet point refers to a committee
 25· ·report from 1977?

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 ·1· · · · ·A· · Yes, when this statute was passed.
 ·2· · · · ·Q· · You've got the report there.· Can you
 ·3· ·tell me what the citation is for that?· You've got
 ·4· ·footnotes, and you've got whatever you want to look
 ·5· ·at.· I'm curious where that comes from.
 ·6· · · · ·A· · So it is Senate report 95483 -- 453,
 ·7· ·page 11.
 ·8· · · · ·Q· · Page 11?
 ·9· · · · ·A· · That's what I said.· That's what it says
 10· ·here, yeah.
 11· · · · ·Q· · My page 11 has four footnotes to the
 12· ·Lewin report.
 13· · · · ·A· · This is page 11 of the report, the Senate
 14· ·report I just quoted.· Senate report 95453, page 11
 15· ·of that report.
 16· · · · ·Q· · Where is that Senate report cited in your
 17· ·opinion?
 18· · · · ·A· · Footnote five.· And I believe I provided
 19· ·you a copy or at least I provided my...
 20· · · · ·Q· · So the bullet point on 65 is supported by
 21· ·footnote five on page six, Senate report 95-453,
 22· ·page 11?
 23· · · · ·A· · Yes.
 24· · · · ·Q· · And you believe that's a 1977 committee
 25· ·report?

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 ·1· · · · ·A· · Yes.
 ·2· · · · ·Q· · The 95-453 doesn't indicate to you it may
 ·3· ·be something other than a 1977 report?
 ·4· · · · ·A· · No, 95 is the Congress.
 ·5· · · · ·Q· · How about the second bullet point then?
 ·6· ·Is the remuneration sufficiently great to be likely
 ·7· ·to influence the decision-maker?· Do you have a
 ·8· ·source to cite for that?
 ·9· · · · ·A· · No.· I mean, there's guidance out there
 10· ·that if it's going to be an inducement; it's got to
 11· ·be -- the value is supposed to do it.· It has an
 12· ·obvious impact how much money it is.
 13· · · · ·Q· · Let me ask you to turn to 77,
 14· ·paragraph 77 on page 22.
 15· · · · ·A· · Yes.
 16· · · · ·Q· · Paragraph 77 you write that Guardian's
 17· ·provision of the services does not result in unfair
 18· ·competition.· Unlike the fourth proposed arrangement
 19· ·in AO 12-19 that the OIG declined to protect, the
 20· ·eMARs utilized by Guardian would not lock in any home
 21· ·to Guardian's services.· Nor do the other services
 22· ·provided by Guardian lock any home to Guardian's
 23· ·services.· Moreover, Guardian's competitors offer the
 24· ·same or comparable services on the same or comparable
 25· ·terms.

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 ·1· · · · · · · Do you see that?
 ·2· · · · ·A· · I do.
 ·3· · · · ·Q· · And then you have a cite to footnote 50
 ·4· ·where you cite a declaration from a John Martin,
 ·5· ·correct?
 ·6· · · · ·A· · Yes.
 ·7· · · · ·Q· · Do you know who John Martin is?
 ·8· · · · ·A· · I can't recall.
 ·9· · · · ·Q· · Well, you make the statement that
 10· ·Guardian's competitors offer the same or comparable
 11· ·services on the same or comparable terms.
 12· · · · · · · You did not do any independent
 13· ·investigation to prove the accuracy of that
 14· ·statement, did you?
 15· · · · ·A· · No.· I relied on the statements and the
 16· ·depositions and the declarations that were in the
 17· ·case.
 18· · · · ·Q· · Do you know of any Guardian competitors
 19· ·that charge for the consulting services provided
 20· ·consistent with the Georgia regulations?
 21· · · · ·A· · I believe there may have been some.
 22· · · · ·Q· · So some competitors charge for the same
 23· ·medication services required by the Georgia
 24· ·regulation for community licensure that Guardian
 25· ·provides to the community for free?

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 ·1· · · · ·A· · No.· Guardian also charged some
 ·2· ·communities for the services if they didn't charge
 ·3· ·the patients.· In this case, they charged the clients
 ·4· ·and what wasn't covered was in the dispensing fee.
 ·5· ·So they charged for the services.· They provided
 ·6· ·nothing for free.
 ·7· · · · ·Q· · So you understand that Guardian's
 ·8· ·competitors charged the communities for the
 ·9· ·medication services required by the Georgia
 10· ·regulations, that Guardian chooses not to charge the
 11· ·community and instead charges the dispensing fee and
 12· ·the service fee to the residents?
 13· · · · ·A· · I think the evidence is pretty clear that
 14· ·some long-term care pharmacies may have charged some.
 15· ·I don't think there were many.· But most offered the
 16· ·same services in the same -- same -- on the same
 17· ·basis that these services were included in either or
 18· ·both the dispensing and the service fees they charged
 19· ·to patients.
 20· · · · ·Q· · The competitors --
 21· · · · ·A· · That was a common understanding among the
 22· ·providers.
 23· · · · ·Q· · The competitors who charged the
 24· ·communities for the medication management services
 25· ·required on a quarterly basis would not be at the

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 ·1· ·same or comparable terms for the exact same services,
 ·2· ·were they?
 ·3· · · · ·A· · Well, I don't know what they -- what else
 ·4· ·they were charging.
 ·5· · · · ·Q· · Right.· But --
 ·6· · · · ·A· · I mean, if they were -- if they weren't
 ·7· ·charging the individual resident for the fee, then I
 ·8· ·assume that they are the same.· But it also doesn't
 ·9· ·establish that what they were charging the facilities
 10· ·was fair market value.
 11· · · · ·Q· · Well, it doesn't, but you didn't look at
 12· ·that one way or the other before you made a statement
 13· ·that Guardian's competitors offered same or
 14· ·comparable services on the same or comparable terms.
 15· ·You don't know that to be true?
 16· · · · ·A· · I -- I know that that is what the
 17· ·administrators or officials of the various homes,
 18· ·that was what they -- that was their -- generally the
 19· ·gist of their testimony, that they -- all these
 20· ·facilities -- all these long-term care pharmacies
 21· ·provided about the same services, the same prices
 22· ·pretty much, and they based their choices on the
 23· ·quality.
 24· · · · ·Q· · Did anyone testify that the long-term
 25· ·care pharmacy charged for the consulting services to

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 ·1· ·the community, that Guardian did not charge the
 ·2· ·community?
 ·3· · · · ·A· · I'm sorry, what was the question?
 ·4· · · · ·Q· · Yes, sir.· The medication management
 ·5· ·services requires under the quarterly consulting
 ·6· ·requirements under Georgia law that you talked about
 ·7· ·in paragraph 40 through 44, the licensure
 ·8· ·requirements for the community.· Are we on the same
 ·9· ·page?
 10· · · · ·A· · Yeah, I think so.· I mean, you're talking
 11· ·about the quarterly?
 12· · · · ·Q· · Yes.
 13· · · · · · · You're aware that Guardian's competitors,
 14· ·some of them charged for those quarterly medication
 15· ·services and some may not have, correct?
 16· · · · ·A· · That's my general understanding, that at
 17· ·least one did.· I can't recall how many.
 18· · · · ·Q· · But whether Omnicare, one of the largest
 19· ·providers in the country, charged for its services?
 20· · · · ·A· · I don't recall any testimony specifically
 21· ·about Omnicare charging for its services and ALCs or
 22· ·congregate facilities.
 23· · · · ·Q· · How about PharMerica, another large
 24· ·long-term care facility -- pharmacy?
 25· · · · ·A· · Yes.

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 ·1· · · · ·Q· · They charged for the same quarterly
 ·2· ·consulting medication services under the Georgia
 ·3· ·regulations to the communities?
 ·4· · · · ·A· · If you say so.· I'm not sure I'm aware of
 ·5· ·that testimony.
 ·6· · · · ·Q· · The ones that did charge for the
 ·7· ·quarterly consulting services, that's not the same or
 ·8· ·comparable terms as the ones who didn't charge,
 ·9· ·correct?
 10· · · · ·A· · No, that's not correct.· I don't know.                     I
 11· ·mean, it depends on what other charges they were
 12· ·making to the residents.
 13· · · · ·Q· · Did you do any independent investigation
 14· ·of that?
 15· · · · ·A· · No.
 16· · · · ·Q· · Do you know who Guardian of Atlanta's
 17· ·largest competitor is?
 18· · · · ·A· · No.
 19· · · · ·Q· · Do you know its second largest
 20· ·competitor?
 21· · · · ·A· · No.
 22· · · · ·Q· · Do you know the size of any of the other
 23· ·companies out there that were referenced in the
 24· ·reports that you were discussing, the depositions?
 25· · · · ·A· · I -- I -- my recollection was that during

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 ·1· ·the time in question in the ALF congregate facility,
 ·2· ·the big players were Guardian, Gayco, Collier, and I
 ·3· ·think there might have been somebody else.
 ·4· · · · ·Q· · You understand those were the big
 ·5· ·players?
 ·6· · · · ·A· · In the Georgia ALF congregate home.
 ·7· · · · ·Q· · And Omnicare and PharMerica were not?
 ·8· · · · ·A· · I don't recall testimony as to those
 ·9· ·particular, no.
 10· · · · · · · MR. RISSLER:· If you get to a spot
 11· · · · where we could take a five-minute break,
 12· · · · I'd appreciate it.
 13· · · · · · · MR. CALLOW:· We can do it now.· That's
 14· · · · fine.
 15· · · · · · · MR. RISSLER:· Thanks.
 16· · · · · · · THE VIDEOGRAPHER:· The time is
 17· · · · 1:56 p.m.· We're now off the record.
 18· · · · · · · (Whereupon, the video camera was
 19· · · · turned off.)
 20· · · · · · · (Whereupon, a brief recess was taken.)
 21· · · · · · · (Whereupon, the video camera was
 22· · · · turned on.)
 23· · · · · · · THE VIDEOGRAPHER:· The time is
 24· · · · 2:01 p.m.· We're back on the record.
 25· ·BY MR. CALLOW:

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 ·1· · · · ·Q· · So let's stick with your report in here,
 ·2· ·the paragraph 78 which is on page 23.
 ·3· · · · ·A· · Yes.
 ·4· · · · ·Q· · You note that if the practices are
 ·5· ·commonly thought to be unethical or unlawful, private
 ·6· ·payors would also object to them.· There is no
 ·7· ·evidence that commercial payors object to pharmacies
 ·8· ·providing medication administration related
 ·9· ·assistance to ALCs and PCHs.· Do you see that?
 10· · · · ·A· · Yes.
 11· · · · ·Q· · Did you do any independent investigation
 12· ·of what private payors thought or didn't think?
 13· · · · ·A· · No.
 14· · · · ·Q· · Did you get any information from Guardian
 15· ·on private payors at all?
 16· · · · ·A· · No.· I -- I -- I assumed if there was
 17· ·information that they objected, you would have
 18· ·brought it to our attention.
 19· · · · ·Q· · You assume that if there was information
 20· ·that I would have brought it to your attention?
 21· · · · ·A· · Well, if they had objected, I think you
 22· ·would have used it.· But none -- I saw no evidence
 23· ·that anyone objected to it.
 24· · · · ·Q· · Let me back up.
 25· · · · · · · Did you investigate that issue?

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 ·1· · · · ·A· · I didn't investigate any issue.
 ·2· · · · ·Q· · Did you ask anyone at Guardian about that
 ·3· ·issue?
 ·4· · · · ·A· · No, I did not.
 ·5· · · · ·Q· · Do you know whether Guardian prevented us
 ·6· ·from getting discovery on that topic?
 ·7· · · · ·A· · No, I do not.
 ·8· · · · ·Q· · Would it have been helpful if Guardian
 ·9· ·had provided that information to us so I could have
 10· ·shown it to you if you thought that was important to
 11· ·put in your report?
 12· · · · ·A· · I believe that if the industry had been
 13· ·objecting to it, it would not have been specific to
 14· ·Guardian, it would have been to the industry in
 15· ·general and they would have.
 16· · · · ·Q· · Any evidence to that effect?
 17· · · · ·A· · No.· It's just my experience that this
 18· ·wasn't anything Guardian was doing by itself.
 19· · · · ·Q· · It's relevant to your opinion whether or
 20· ·not private payors objected to these charges and
 21· ·relationship, correct?
 22· · · · ·A· · Potentially, yes.
 23· · · · ·Q· · And you don't have any evidence of that,
 24· ·and Guardian prevented us from getting that evidence
 25· ·in discovery.· And you're sitting here testifying

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 ·1· ·that because I can't show you the document, somehow
 ·2· ·you're going to offer an opinion when you didn't
 ·3· ·investigate, you don't know anything about it?· Is
 ·4· ·that the --
 ·5· · · · · · · MR. RISSLER:· Objection.
 ·6· ·BY MR. CALLOW:
 ·7· · · · ·Q· · -- (inaudible)?
 ·8· · · · · · · MR. RISSLER:· Objection, Joe, that
 ·9· · · · misstates the discovery in this case.· We
 10· · · · did not prevent you from obtaining evidence
 11· · · · of what payors did with respect to the
 12· · · · industry and these practices.
 13· · · · · · · MR. CALLOW:· You objected, and we'll
 14· · · · take that to the judge.
 15· ·BY MR. CALLOW:
 16· · · · ·Q· · Mr. McAnaney, is the source of your
 17· ·opinion 78 that I didn't present something to you of
 18· ·private payors?
 19· · · · ·A· · No.
 20· · · · ·Q· · What other evidence do you have that
 21· ·other payors didn't object other than Joe Callow
 22· ·didn't provide it to you in this deposition here
 23· ·today?
 24· · · · ·A· · I haven't seen any evidence in everything
 25· ·that I've reviewed that showed that there was any

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 ·1· ·objection to it, any court cases, anything.
 ·2· · · · ·Q· · So the lack of information provided to
 ·3· ·you by counsel for Guardian allows you to put in
 ·4· ·paragraph 78 that you haven't seen anything, but you
 ·5· ·didn't actually investigate or ask the question of
 ·6· ·whether private payors had objected to any of this or
 ·7· ·not?
 ·8· · · · ·A· · I did not do any investigation.· I made
 ·9· ·that clear at the beginning.
 10· · · · ·Q· · Did you ask Guardian whether or not
 11· ·private payors objected to any of these terms?
 12· · · · ·A· · I don't recall.
 13· · · · ·Q· · You have a citation in paragraph 51,
 14· ·paragraph 80, the key element of the AKS is an intent
 15· ·to induce referrals through the provision of
 16· ·remuneration.· Mere encouragement is not sufficient.
 17· ·And you have a cite in 51 to the Shalala opinion; is
 18· ·that right?
 19· · · · ·A· · I'm sorry, what -- what page and footnote
 20· ·are we on?
 21· · · · ·Q· · Paragraph 80.
 22· · · · ·A· · 80.
 23· · · · ·Q· · A key element of the AKS is an intent to
 24· ·induce referrals through the provision of
 25· ·remuneration.· Mere encouragement is not sufficient,

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 ·1· ·and you have a citation to the Shalala case from the
 ·2· ·9th Circuit in 1995, correct?
 ·3· · · · ·A· · Right.
 ·4· · · · ·Q· · Did you add that citation?
 ·5· · · · ·A· · Yes.
 ·6· · · · ·Q· · Are you familiar with that case?
 ·7· · · · ·A· · Yes.
 ·8· · · · ·Q· · Do you believe that it has been overruled
 ·9· ·or extinguished at any point from 1995 to present?
 10· · · · ·A· · Not on that point, no.
 11· · · · ·Q· · You don't think mere encouragement is not
 12· ·sufficient as outlined in the Shalala opinion from
 13· ·1995 has been extinguished or overruled by subsequent
 14· ·cases?
 15· · · · ·A· · No, it has not.
 16· · · · ·Q· · So you would be surprised if I had case
 17· ·law that says it has?
 18· · · · ·A· · That says mere encouragement is enough?
 19· · · · ·Q· · Yes, sir.
 20· · · · ·A· · Yes, I would be surprised.
 21· · · · ·Q· · That's not your understanding of the
 22· ·Anti-Kickback Statute?
 23· · · · ·A· · I don't believe it's the understanding of
 24· ·the Justice Department either.
 25· · · · ·Q· · Is it your understanding?

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 ·1· · · · ·A· · No, it is not my understanding.· Mere
 ·2· ·encouragement is not.
 ·3· · · · ·Q· · Paragraph 81 you note if the provider's
 ·4· ·competitors are offering the same service, however,
 ·5· ·the service does not provide any competitive
 ·6· ·advantage legal or illegal.· Rather the service
 ·7· ·simply maintains a level playing field.· Do you see
 ·8· ·that?
 ·9· · · · ·A· · I do.
 10· · · · ·Q· · If Guardian's competitors are engaging in
 11· ·conduct that violates the Anti-Kickback Statute, does
 12· ·Guardian get to violate the Anti-Kickback Statute to
 13· ·create a level playing field?
 14· · · · ·A· · I believe they wouldn't be violating the
 15· ·Anti-Kickback Statute, then.· You have to satisfy
 16· ·each element of the statute.
 17· · · · ·Q· · So if Guardian's competitors are engaging
 18· ·in criminal conduct, Guardian can engage in criminal
 19· ·conduct to level the playing field?
 20· · · · ·A· · They can engage in criminal conduct, but
 21· ·the crime is not the Anti-Kickback Statute.· So I
 22· ·don't know -- I mean, that's all I'm saying.
 23· · · · ·Q· · Why is the crime not a violation of the
 24· ·Anti-Kickback Statute?
 25· · · · ·A· · Because the statute requires you to give

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 ·1· ·remuneration in exchange for or to cause referrals.
 ·2· ·And if -- if all you're doing is matching exactly
 ·3· ·what your competitors are doing, that gives you no --
 ·4· ·no competitive advantage.· That's not going to induce
 ·5· ·anybody.· It only puts you on the same playing field.
 ·6· ·That's all.
 ·7· · · · · · · It's a simple matter of -- it's one of
 ·8· ·the factual evidence that you would put in the trial.
 ·9· ·It's just -- you don't get an advantage.· It's not
 10· ·going to induce anybody.
 11· · · · ·Q· · If Guardian's competitors are giving
 12· ·remuneration in exchange for referrals, which is
 13· ·clearly a violation of the Anti-Kickback Statute as
 14· ·you testified for four hours, can Guardian also give
 15· ·remuneration in exchange for referrals and not
 16· ·violate the Anti-Kickback Statute?
 17· · · · ·A· · First of all, I think you
 18· ·mischaracterized my testimony.· I didn't say giving
 19· ·remuneration to induce referrals, violation of
 20· ·kickback statute.· There has to be -- each element
 21· ·has to be satisfied.· It has to be knowing, willful,
 22· ·etcetera.· But I am saying that if, in fact, you are
 23· ·meeting competition, that you're giving the same
 24· ·thing that your competitors are, that that doesn't --
 25· ·as a factual matter that's not going to induce anyone

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 ·1· ·to use your service.· It just puts you on the level
 ·2· ·playing field with the other people.· The kickback
 ·3· ·statute -- I mean, it doesn't say you have to commit
 ·4· ·hari-kari.
 ·5· · · · ·Q· · If Guardian's competitors are knowingly
 ·6· ·and willfully giving remuneration in exchange for a
 ·7· ·referral in violation of the Anti-Kickback Statute,
 ·8· ·is Guardian excused from liability if it does the
 ·9· ·exact same conduct to create a level playing field?
 10· · · · ·A· · I believe that's exactly what this
 11· ·statute says.· I mean --
 12· · · · ·Q· · So you can violate the law if your
 13· ·competitors are violating the law?
 14· · · · ·A· · No, it's -- you only violate the law if
 15· ·what you're giving is causing the people to refer to
 16· ·you.· If you're only giving what everybody else is
 17· ·given, you are not causing that.· I mean, logically
 18· ·it makes no sense.· You're not causing them.· You're
 19· ·only doing exactly what everybody else is doing, so
 20· ·you're all on the same playing field.
 21· · · · ·Q· · And if all of that conduct what everybody
 22· ·is doing is violative of the Anti-Kickback Statute,
 23· ·you're immune from liability for your individual
 24· ·actions because everybody else is doing it?
 25· · · · ·A· · I'm not saying you're immune.· I'm saying

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 ·1· ·you don't violate the statute.· You don't meet the
 ·2· ·elements of the statute.
 ·3· · · · ·Q· · So if you're doing what everybody else is
 ·4· ·doing and everybody is violating the statute, you're
 ·5· ·not violative of the Anti-Kickback Statute because
 ·6· ·your defense is everybody else is doing it and I'm
 ·7· ·creating a level playing field?
 ·8· · · · ·A· · No.· My defense is I didn't knowingly and
 ·9· ·willfully give somebody something to cause them to
 10· ·refer to me.· I was only giving it because it put me
 11· ·on the same playing field as everybody else.
 12· · · · ·Q· · And if I knowingly and willingly gave
 13· ·remuneration in exchange for referrals because my
 14· ·competitor was knowingly and willfully giving
 15· ·remuneration in exchange for referrals, have I
 16· ·violated the Anti-Kickback Statute?
 17· · · · ·A· · Yes.· If you're giving it -- if you're
 18· ·giving it in exchange, if you have a quid quo pro,
 19· ·that's not -- that's not what the example you used.
 20· · · · ·Q· · My example is that my competitor is
 21· ·violating the Anti-Kickback Statute.· My competitor
 22· ·is knowingly and willingly giving remuneration to a
 23· ·community in exchange for referrals.· You've told me
 24· ·that's wrong, right?· That's a violation of the
 25· ·Anti-Kickback Statute?

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 ·1· · · · ·A· · It sounds as you phrased it, yes.· It
 ·2· ·seems to meet all the elements.
 ·3· · · · ·Q· · So if my competitor is knowingly and
 ·4· ·willfully giving remuneration to a community in
 ·5· ·exchange for referrals which is a violation of the
 ·6· ·Anti-Kickback Statute, is it an excuse for me to do
 ·7· ·the same conduct without also being violative of the
 ·8· ·Anti-Kickback Statute?
 ·9· · · · ·A· · Well, I think you would be if in fact
 10· ·whatever you're doing is in exchange for referrals.
 11· ·That's not the example that -- I mean, that's the
 12· ·example you give.· Sure, you can have a quid quo pro.
 13· ·But if you're telling -- if in fact you're alleging
 14· ·that you can't do it to induce referrals, then I
 15· ·would just say you're not inducing referrals.
 16· · · · ·Q· · The fact that my competitors are
 17· ·violating the law doesn't give me an excuse to also
 18· ·violate the law, does it?
 19· · · · ·A· · No.· But you're not violating the law.
 20· ·You don't satisfy the elements of the crime.
 21· · · · ·Q· · Page 24, paragraph 86, sir.
 22· · · · ·A· · Yes.
 23· · · · ·Q· · You have here that in light of the
 24· ·widespread open and common practice of providing
 25· ·medication administration-related services to ALC and

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 ·1· ·PCHs, it is unlikely that Guardian's consulting
 ·2· ·services would have given Guardian any improper
 ·3· ·advantage in securing new business.
 ·4· · · · · · · What are you referring to in
 ·5· ·paragraph 86?
 ·6· · · · ·A· · I'm referring to the testimony that the
 ·7· ·consulting services were commonly given by their
 ·8· ·competitors.· They were open.· I mean, there was
 ·9· ·nothing -- it was historical, goes back.· I mean, the
 10· ·Lewin report documented it.· So -- and the testimony
 11· ·of the homes was they all had approximately the same
 12· ·services.
 13· · · · ·Q· · So because some competitors provided the
 14· ·same medication management services for free, it's
 15· ·okay for Guardian to provide those medication
 16· ·management services for free?
 17· · · · ·A· · Guardian did not provide any medication
 18· ·administration services for free.
 19· · · · ·Q· · To the community?· That's what you said.
 20· · · · ·A· · To their patients.· I mean, that's who
 21· ·they were providing it to.
 22· · · · ·Q· · 85 says there's substantial evidence that
 23· ·LTC pharmacies including Guardian's competitors
 24· ·continued to provide such services without charge to
 25· ·CHs, right?

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 ·1· · · · ·A· · Yes.
 ·2· · · · ·Q· · And then you have a citation to a bunch
 ·3· ·of stuff in there that you add that supposedly says
 ·4· ·that other Guardian competitors continue to provide
 ·5· ·services without charge to the community homes,
 ·6· ·right?
 ·7· · · · ·A· · Yes.
 ·8· · · · ·Q· · And aren't those terms confidential, the
 ·9· ·pricing terms that we discussed earlier?
 10· · · · ·A· · Well, these were -- these were -- this
 11· ·was the testimony in court.· So I -- I'm relying on
 12· ·these were the people that were buying the services
 13· ·or at least contracting for them.
 14· · · · ·Q· · Testimony after the fact in litigation,
 15· ·not testimony that this was known or that this was
 16· ·happening at the time?
 17· · · · ·A· · Well --
 18· · · · ·Q· · All affidavits or depositions in the
 19· ·case.
 20· · · · ·A· · It's consistent with the Lewin report.
 21· ·It's consistent with general descriptions of the
 22· ·industry.
 23· · · · ·Q· · But Guardian's pricing is confidential.
 24· ·You said that earlier.
 25· · · · ·A· · Right.

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 ·1· · · · ·Q· · Any reason to believe that the
 ·2· ·competitors' pricing was not confidential?
 ·3· · · · ·A· · No.· I have no idea.· I assume it would
 ·4· ·be as well.
 ·5· · · · ·Q· · You assume it would be confidential as
 ·6· ·well?
 ·7· · · · ·A· · As -- as confidential as they can keep
 ·8· ·it.
 ·9· · · · ·Q· · Right.
 10· · · · · · · So all of the competitors were keeping
 11· ·their pricing confidential from 2014 to 2018?
 12· · · · ·A· · I'm sorry?
 13· · · · ·Q· · All the competitors as you understood it
 14· ·were keeping their pricing confidential and not
 15· ·sharing with each other, were they?
 16· · · · ·A· · No, they weren't generally, but I'm
 17· ·sure they -- I mean, you get -- I'm sure they had
 18· ·ideas.
 19· · · · ·Q· · Your phraseology in 86 is "it is unlikely
 20· ·that."· Did you form an opinion whether in fact it
 21· ·did or did not?
 22· · · · ·A· · I saw no evidence that it gave them any
 23· ·advantage.
 24· · · · ·Q· · So that's different than "it is
 25· ·unlikely"?

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 ·1· · · · ·A· · Well, no, I mean, it's -- it's not
 ·2· ·determinable.· I just...
 ·3· · · · ·Q· · Are you offering an opinion that the free
 ·4· ·consulting services did not give Guardian an unfair
 ·5· ·advantage or an advantage over its competitors?
 ·6· · · · ·A· · I said based on the evidence, it does not
 ·7· ·seem to have given them any advantage based on all
 ·8· ·the depositions of the operators of the homes.
 ·9· · · · ·Q· · So you would change your language in 86
 10· ·and 87 not to "it is unlikely," but you have an
 11· ·opinion that it actually did not is what you're
 12· ·telling me?
 13· · · · ·A· · No, I -- I phrased it the way I phrased
 14· ·it.
 15· · · · ·Q· · Oh, I know.· But "it is unlikely"
 16· ·isn't -- isn't taking a stand.· It's not saying one
 17· ·way or the other.· It either is or is not.
 18· · · · ·A· · Well, it is.· It is a -- based on the
 19· ·evidence, it looks unlikely.· That factors into a
 20· ·decision to the overall review of the facts and
 21· ·circumstances.
 22· · · · ·Q· · I'm going to ask you to look at 88,
 23· ·paragraph 88 on page 25.· You have a statement that
 24· ·people who are knowingly and willfully engaging in
 25· ·criminal acts do not commonly publicize those

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 ·1· ·activities.· Instead, they tend to conceal their
 ·2· ·illegal activities.· Correct?
 ·3· · · · ·A· · Correct.
 ·4· · · · ·Q· · You don't have a citation for that,
 ·5· ·right?· You're just stating it?
 ·6· · · · ·A· · That's right.· That's based on my
 ·7· ·experience.
 ·8· · · · ·Q· · Is it your experience that this is a
 ·9· ·criminal case or a civil case?
 10· · · · ·A· · Well, it's a criminal -- it's a
 11· ·criminal -- it's a civil case, but it's alleging a
 12· ·crime.· So it is both.
 13· · · · ·Q· · You can violate the Anti-Kickback Statute
 14· ·only through criminal activity, not civil activity?
 15· · · · ·A· · That's correct.
 16· · · · ·Q· · Do you recognize that when you say
 17· ·commonly publicized, what are you referring to?· The
 18· ·people that violate the Anti-Kickback Statute and not
 19· ·talk about contracts or talk about their practices
 20· ·and still get caught?
 21· · · · ·A· · I'm sorry, I don't understand.
 22· · · · ·Q· · Have you ever been involved in an
 23· ·Anti-Kickback Statute where a company was actively
 24· ·telling people its conduct but it still violates the
 25· ·Anti-Kickback Statute?

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 ·1· · · · ·A· · I'm sorry, I still didn't catch the very
 ·2· ·beginning.
 ·3· · · · ·Q· · Have you ever been involved in a case
 ·4· ·where a company violates the Anti-Kickback Statute by
 ·5· ·pricing or policies that are known to third parties?
 ·6· · · · ·A· · I actually -- I actually don't know of
 ·7· ·any -- any criminal conviction based on those facts.
 ·8· · · · ·Q· · I'm not talking a criminal conviction.
 ·9· ·I'm talking about civil liability in the
 10· ·Anti-Kickback Statute context.· In your six years of
 11· ·working at OIG and your private practice since 2003,
 12· ·you're not aware of a single instance where the
 13· ·conduct or course of conduct of a company was known
 14· ·to a third party that resulted in Anti-Kickback
 15· ·Statute liability after the fact?
 16· · · · ·A· · I -- there is no civil Anti-Kickback
 17· ·liability, so I'm really not sure what you're talking
 18· ·about.
 19· · · · ·Q· · Are you aware of any liability under the
 20· ·Anti-Kickback Statute in your six years at OIG and
 21· ·your private practice since 2003 where the conduct
 22· ·was known to a third party prior to settlement and
 23· ·prior to conviction?
 24· · · · ·A· · I don't know of any criminal convictions.
 25· ·I just can't think of it.· Are there settlements in

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 ·1· ·cases?· Sure.
 ·2· · · · ·Q· · You're not aware of a single case where a
 ·3· ·third party knew about the criminal conduct prior to
 ·4· ·it being disclosed?· Every case you're aware of --
 ·5· · · · ·A· · I'm just --
 ·6· · · · ·Q· · -- involves concealment of all the facts
 ·7· ·in a criminal case from 2003 to present?
 ·8· · · · ·A· · I'm just trying to think of -- I can't
 ·9· ·think of -- I mean, I -- first of all, there aren't
 10· ·very many criminal cases.· And I just can't -- I just
 11· ·don't recall the facts of them particularly.
 12· · · · ·Q· · Paragraph 93 of your report says that
 13· ·there is also no clear federal guidance addressing
 14· ·the provision of such services by LTC pharmacies to
 15· ·residents of ALCs or PCHs.
 16· · · · · · · Is it your opinion that there is no
 17· ·federal guidance related to the conduct at issue in
 18· ·this case?
 19· · · · ·A· · What paragraph were you on?· I didn't
 20· ·catch it.
 21· · · · ·Q· · 92.
 22· · · · ·A· · 92.· So the question is?
 23· · · · ·Q· · Reading paragraph 92 in your first
 24· ·sentence says:· There is no clear federal guidance
 25· ·addressing the provision of such services by LTC

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 ·1· ·pharmacies to residents of ALCs or PCHs.· Your
 ·2· ·opinion in this case is there is no federal guidance
 ·3· ·that instructs on the providing of services by LTC
 ·4· ·pharmacies to residents or assisted living
 ·5· ·communities or personal care homes?
 ·6· · · · ·A· · I am not aware of any (inaudible) that
 ·7· ·deals with the provision of these specific services
 ·8· ·by LTC pharmacies to residents of congregate care
 ·9· ·homes.· I cite the one -- the only one that
 10· ·specifically discusses it, which is the advisory
 11· ·opinion.
 12· · · · ·Q· · So the OIG guidance that we looked at
 13· ·earlier from September 30th, 2008, it specifically
 14· ·says:· Nursing facilities that receive consultant
 15· ·pharmacist services under contract with a long-term
 16· ·care pharmacy should be mindful that the provision or
 17· ·receipt of free services or services at non-fair
 18· ·market value rates between actual or potential
 19· ·referral services presents a heightened risk of fraud
 20· ·and abuse.· That's not federal guidance that's clear
 21· ·on the topic?
 22· · · · ·A· · That's not federal guidance that
 23· ·addresses the provision in these (inaudible) of any
 24· ·ALCs or PCHs.
 25· · · · ·Q· · It says:· Consulting pharmacists under

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 ·1· ·contract with long-term care pharmacies.· That's not
 ·2· ·clear federal guidance for learning the heightened
 ·3· ·issues with respect to (inaudible)?
 ·4· · · · ·A· · It's addressing nursing facilities which
 ·5· ·are very different.· I mean, does it -- is it
 ·6· ·generally -- I mean, generally free goods are -- are
 ·7· ·suspect.· But these are neither free goods nor are
 ·8· ·they to nursing facilities that are receiving
 ·9· ·reimbursement from federal coffers for providing
 10· ·those same services they're getting for free.
 11· · · · ·Q· · When we looked at the contract between
 12· ·Canterfield of Kennesaw and Guardian, we talked about
 13· ·the standards for consulting pharmacist services.· We
 14· ·looked through paragraphs A through H.
 15· · · · ·A· · Yes.
 16· · · · ·Q· · Are those clear?
 17· · · · ·A· · Not particularly because it says
 18· ·consulting pharmacist services -- consulting
 19· ·pharmacist services will be at cost.· And you read
 20· ·the other provision as saying consulting pharmacist
 21· ·costs are free.· So obviously, it's not particularly
 22· ·clear.· I don't -- I think they're different.
 23· · · · ·Q· · You don't think paragraph 7-A through H
 24· ·is clear as to what Guardian can and can't do under
 25· ·the Anti-Kickback Statute?

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 ·1· · · · ·A· · Well, as I said before, it's a contract
 ·2· ·provision.· It has no basis on whether or not they
 ·3· ·violate the Anti-Kickback Statute.
 ·4· · · · ·Q· · Sir, the section says:· The parties
 ·5· ·intend that their contractual relationship will be
 ·6· ·compliant in all manners with applicable federal and
 ·7· ·state laws including, but not limited to, the federal
 ·8· ·kickback statute.· Accordingly, they agree to the
 ·9· ·following terms which are hereby incorporated into
 10· ·the agreement by reference for all purposes.
 11· · · · · · · Are you saying that those terms A through
 12· ·H are not clear as to what violates the federal
 13· ·Anti-Kickback Statute?
 14· · · · ·A· · Well, I thought we were talking about
 15· ·federal guidance.· Those are contractual provisions.
 16· ·I'm sorry.· I mean, what's your question?
 17· · · · ·Q· · Are the contractual terms clear as to
 18· ·what is not allowed under the Anti-Kickback Statute
 19· ·in looking at paragraphs A through H under paragraph
 20· ·seven?
 21· · · · ·A· · Let's see.· This doesn't -- I got to go
 22· ·back to that.· I don't -- I'm having trouble pulling
 23· ·up the -- let me -- okay.· That was --
 24· · · · · · · MR. RISSLER:· Is this Exhibit 132 of
 25· · · · the Canterfield contract?

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 ·1· · · · · · · THE WITNESS:· I'm trying to --
 ·2· · · · · · · MR. RISSLER:· Is that what you were
 ·3· · · · reading from, Joe, Exhibit 132?
 ·4· · · · · · · MR. CALLOW:· I told him 132.
 ·5· · · · · · · THE WITNESS:· Oh, yes.· Yes, okay.
 ·6· · · · I've got it.· Sorry about that.· So, I
 ·7· · · · mean, I think they're as clear as most
 ·8· · · · contractual provisions.
 ·9· ·BY MR. CALLOW:
 10· · · · ·Q· · Your guidance to Guardian on what to do
 11· ·and not to do based on A through H under the
 12· ·Anti-Kickback Statute language that we see in Exhibit
 13· ·(inaudible)?
 14· · · · ·A· · I didn't catch the beginning of that.
 15· · · · ·Q· · A through H are clear?
 16· · · · ·A· · I mean, they're as clear as contract
 17· ·language.· They appear to be reasonably clear.
 18· · · · ·Q· · And it's known to both Guardian and the
 19· ·community what they can and cannot do to avoid
 20· ·violating the federal Anti-Kickback Statute by
 21· ·reading A through H in Exhibit B?
 22· · · · ·A· · Well, I mean, A through H don't establish
 23· ·the parameters of the kickback statute.· I mean,
 24· ·they're -- they're guidance.· I mean -- I mean, what
 25· ·those are probably good practices.

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 ·1· · · · ·Q· · Correct.
 ·2· · · · · · · And you see Exhibit B in a vast majority
 ·3· ·of the contracts between Guardian and its
 ·4· ·communities, right?
 ·5· · · · ·A· · Yes.
 ·6· · · · ·Q· · And that is guidance for Guardian of how
 ·7· ·to act to avoid violating the Anti-Kickback Statute
 ·8· ·by its own terms and by the agreement it signs,
 ·9· ·correct?
 10· · · · ·A· · I mean, it sets out standards for -- for
 11· ·their contractual relationship.
 12· · · · ·Q· · Paragraph 115 of your report, sir, is on
 13· ·page 30.
 14· · · · ·A· · This doesn't seem...
 15· · · · ·Q· · Take your time.· We'll get there.
 16· · · · ·A· · I'm sorry, what paragraph?
 17· · · · ·Q· · Paragraph 115 on page 30.
 18· · · · ·A· · Okay.· Yes.
 19· · · · ·Q· · Bona fide discounts are not the type of
 20· ·conduct that Congress intended to prohibit by the
 21· ·AKS.· In fact, discounts are exempted from AKS's
 22· ·prohibitions.· And then you have a citation to a 1977
 23· ·House report from interstate and foreign commerce?
 24· · · · ·A· · Yes.
 25· · · · ·Q· · That's the citation in support for your

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 ·1· ·paragraph in 115?
 ·2· · · · ·A· · Well, yeah, I mean, that and there's a
 ·3· ·specific statutory exception in the statute for
 ·4· ·certain discounts and then there's a safe harbor and
 ·5· ·I mean -- I mean, generally --
 ·6· · · · ·Q· · You didn't cite to the safe harbor.· You
 ·7· ·cited to a 1977 report of the interstate and foreign
 ·8· ·commerce?
 ·9· · · · ·A· · Right.· As I said in the beginning of my
 10· ·report, these were illustrative and not the only
 11· ·bases.
 12· · · · ·Q· · And you told me that you looked and are
 13· ·not applying any safe harbor provision that would
 14· ·apply to the Anti-Kickback Statute in (inaudible)?
 15· · · · ·A· · Yes, I did.
 16· · · · ·Q· · So whatever discount safe harbor there
 17· ·is, that doesn't apply in this case?
 18· · · · ·A· · Well, there's a different -- there's a
 19· ·discount safe harbor which wouldn't apply.· There's a
 20· ·statutory discount exception that potentially
 21· ·applies.
 22· · · · ·Q· · Based on this House report from 1977?
 23· · · · ·A· · Based on the language of the statute.
 24· · · · ·Q· · And then you say in 116:· Free
 25· ·introductory samples or teaser-type discounts are

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 ·1· ·commonplace.
 ·2· · · · ·A· · Yes.
 ·3· · · · ·Q· · And your basis for that is what?· You
 ·4· ·don't have a cite for that.
 ·5· · · · ·A· · My experience.
 ·6· · · · ·Q· · Your experience in what?· You don't have
 ·7· ·any --
 ·8· · · · ·A· · My experience --
 ·9· · · · ·Q· · -- in long-term care homes.
 10· · · · ·A· · In commerce.· The statute isn't
 11· ·particularly changes healthcare, and there are -- I
 12· ·do cite later on there are a number of advisory
 13· ·opinion.
 14· · · · ·Q· · Of your free introductory samples or
 15· ·teaser-type discounts are commonplace; it's based
 16· ·upon your experience in commerce.· It's not based
 17· ·upon the long-term care pharmacy industry.· It's not
 18· ·based upon assisted living communities.· It's not
 19· ·based on personal care homes.· It's based generally
 20· ·on commerce?
 21· · · · ·A· · It's basically vendors and customers.
 22· · · · ·Q· · Okay.
 23· · · · ·A· · Including healthcare industry.
 24· · · · ·Q· · Nothing specific to long-term care
 25· ·pharmacies, assisted living communities or personal

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 ·1· ·care homes?
 ·2· · · · ·A· · No, not particularly.
 ·3· · · · ·Q· · Paragraph 120 you say that there is no
 ·4· ·evidence that the homes receive these introductory
 ·5· ·discounts received anything of value.· You see that?
 ·6· · · · ·A· · Yes.
 ·7· · · · ·Q· · The discount the homes did receive, the
 ·8· ·classes that they didn't have to pay for prior to
 ·9· ·2018, correct?
 10· · · · ·A· · Correct.
 11· · · · ·Q· · Communities did receive skills checks at
 12· ·times that they didn't have to pay for if they paid
 13· ·for other services, correct?
 14· · · · ·A· · Under the terms of this, they didn't pay
 15· ·for these.· They may have paid for other services.
 16· · · · ·Q· · So there is a value to not paying for
 17· ·those classes and a value to not paying for the
 18· ·skills checks, but they paid other ways?
 19· · · · ·A· · Well, it may not be fair market.· It --
 20· ·despite the fact that these were given for -- it may
 21· ·be very well that their total payments for the
 22· ·educational classes were fair market value including
 23· ·these as I think the economy shows and the marginal
 24· ·costs of this was very, very low.· So unless we know
 25· ·how many courses they took, one can't really

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 ·1· ·ascertain whether it's below fair market value or
 ·2· ·not.
 ·3· · · · ·Q· · Well, the classes themselves were below
 ·4· ·fair market value prior to 2018 and the skills checks
 ·5· ·that were discounted to free had a value prior to
 ·6· ·2018 in and of themselves, correct?
 ·7· · · · ·A· · No.· I think that the way Guardian
 ·8· ·understood it was they were offering these for
 ·9· ·their -- for their -- for homes that were making them
 10· ·preferred providers and that they -- they would give
 11· ·them ten free ones.· There was a lot of turnover and
 12· ·that the cost -- I mean, they would ultimately --
 13· ·they weren't losing money on this even with the ten.
 14· ·So that was fair market value.· It's not -- you look
 15· ·at it as a whole.
 16· · · · ·Q· · Well, there's a value to the community in
 17· ·not paying a hundred dollars per class for the ten
 18· ·people, correct?· That has a value?
 19· · · · ·A· · But it may not be fair -- that may not be
 20· ·fair market value.· I mean --
 21· · · · ·Q· · Because they got it for free so, I mean,
 22· ·it's clearly not fair market value.· They got ten
 23· ·classes for free that had a fair market value of a
 24· ·hundred dollars that the community didn't pay for.
 25· ·That is a value in and of itself, correct?

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 ·1· · · · ·A· · No.· There's no evidence in here that $50
 ·2· ·was fair market value.· It's just what Guardian
 ·3· ·charged.· And depending on the -- Guardian looked at
 ·4· ·this as a relationship.· They're looking at the whole
 ·5· ·of educational services, not one by one.· And so what
 ·6· ·that they charge a particular customer is based on
 ·7· ·how many education sales they make.· So the beginning
 ·8· ·they think we'll get them in and they'll see how good
 ·9· ·they are and with turnover we'll get a lot.
 10· · · · ·Q· · So the fact that they gave classes and
 11· ·allowed ten individuals to attend without any charge,
 12· ·you're not willing to say that that has a value in
 13· ·and of itself?
 14· · · · ·A· · I'm -- I think it is -- I think it's a
 15· ·discount.· What I don't know is whether they paid
 16· ·fair market value for it over the course of the
 17· ·relationship.
 18· · · · ·Q· · Well, it's a discount because they didn't
 19· ·pay the hundred dollar Guardian charge; it was zero
 20· ·payments for that class?
 21· · · · ·A· · That's correct.
 22· · · · ·Q· · For ten people?
 23· · · · ·A· · You get ten free.· Buy one get one free.
 24· · · · ·Q· · And that's a value of a thousand dollars
 25· ·if you send ten people to those classes prior to

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 ·1· ·January 30 of 2018, correct?
 ·2· · · · ·A· · No, I don't think it's necessarily a
 ·3· ·thousand dollar value.· It's basically -- I mean, A,
 ·4· ·I don't know what other people were charging but, B,
 ·5· ·I don't know what the fair market value was.· It
 ·6· ·didn't cost hardly anything near that.
 ·7· · · · ·Q· · It doesn't matter what it cost Guardian.
 ·8· ·Guardian was charging attendance at a hundred dollars
 ·9· ·for a two-day seminar, but it allowed certain
 10· ·communities to send ten people without paying the
 11· ·hundred dollars for the same class that the person
 12· ·sitting next to them was paying a hundred dollars
 13· ·for.
 14· · · · ·A· · Right.
 15· · · · ·Q· · You're saying that doesn't have any value
 16· ·to the community to send ten people to get certified
 17· ·under the state licensure requirements as you
 18· ·outlined in paragraphs 40 to 44; there's no value in
 19· ·not paying a hundred dollars per head, a thousand
 20· ·dollars for ten people to get their CMT or whatever
 21· ·the license was?
 22· · · · ·A· · It has -- it -- it has some value.
 23· ·Whether or not it -- whether or not it is below fair
 24· ·market value can be only ascertained over the course
 25· ·of the relationship, how many other courses they

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 ·1· ·took, what was the amount they paid.
 ·2· · · · ·Q· · So the Anti-Kickback Statute looks at the
 ·3· ·relationship as a whole and not just individual
 ·4· ·actions that a company takes?
 ·5· · · · ·A· · It looks -- in terms of discounts it
 ·6· ·looks at the discount, why it's done, how long it's
 ·7· ·done, and whether it's time loaded for a specific
 ·8· ·function.· Whether it's basically a legitimate
 ·9· ·discount or whether it's in fact a disguised
 10· ·kickback.
 11· · · · ·Q· · So you're saying as you're opining here
 12· ·today that we both acknowledge that Guardian provided
 13· ·classes, lets certain communities send ten people to
 14· ·those classes without incurring payment.· It's a
 15· ·thousand dollar value to the community.· But you're
 16· ·telling me you don't judge whether that's a kickback
 17· ·until you look at the long-term overall relationship
 18· ·over time?
 19· · · · · · · MR. RISSLER:· Objection, misstates his
 20· · · · prior testimony, asked and answered.
 21· · · · ·A· · I believe that when you look at a
 22· ·discount for a continuing service that you look to
 23· ·decide whether or not it is legitimate depends in
 24· ·large part on whether or not it makes business sense,
 25· ·and that that's -- the kickback statute did not

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 ·1· ·criminalize discounts in the healthcare industry.                     I
 ·2· ·think that's just pretty clear.· They get them every
 ·3· ·day.
 ·4· ·BY MR. CALLOW:
 ·5· · · · ·Q· · Do you have any evidence of what was paid
 ·6· ·by communities to Guardian over the relationship?
 ·7· · · · ·A· · No, I do not.
 ·8· · · · ·Q· · So when you say let's look at the total
 ·9· ·aggregate, you don't know what that is?
 10· · · · ·A· · No.
 11· · · · ·Q· · So did you evaluate whether or not the
 12· ·total remuneration made up for the fact that it was
 13· ·three classes as outlined in 120?
 14· · · · ·A· · No, I did not --
 15· · · · ·Q· · You don't know one way or the other?
 16· · · · ·A· · Right.· But I know that this is a -- this
 17· ·is a typical normal kind of a discount and it needs
 18· ·to be accumulated.· And I saw no proof provided it
 19· ·wasn't.
 20· · · · ·Q· · You say in assessing whether a home
 21· ·actually received improper remuneration one must look
 22· ·at the total aggregate services received and
 23· ·aggregate compensation paid by a community for the
 24· ·classroom instruction to determine if it received any
 25· ·unlawful benefit.

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 ·1· · · · · · · You did not do that?
 ·2· · · · ·A· · Neither did you.· That's why -- you're
 ·3· ·right.· I'm looking at the evidence I reviewed.                      I
 ·4· ·saw no evidence that it didn't.
 ·5· · · · ·Q· · You did not do it in your opinions and
 ·6· ·your report here --
 ·7· · · · ·A· · No, I did not.
 ·8· · · · ·Q· · -- as outlined in Exhibit 120?
 ·9· · · · ·A· · I'm sorry, what was the question?
 10· · · · ·Q· · You said no, I do not.· I'm good with
 11· ·that.
 12· · · · ·A· · Okay.
 13· · · · ·Q· · Do you know if the discounts were passed
 14· ·on to Medicare by Guardian?· Do you know if they
 15· ·provided the discounts to Medicare in the course of
 16· ·their relationship?
 17· · · · ·A· · They wouldn't be paid on to -- they
 18· ·wouldn't be passed on to Medicare because Medicare
 19· ·doesn't pay for it.
 20· · · · ·Q· · Well, the discounts on the classes,
 21· ·that's not part of the dispensing fee, it's not part
 22· ·of what Medicare is paying for for the dispensing of
 23· ·the product?
 24· · · · ·A· · Well, I think generally if it was -- I
 25· ·mean, in -- I mean, actually, I think it could be

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 ·1· ·part of the dispensing fee and part of the service
 ·2· ·fee.· And it may have been paid entirely through that
 ·3· ·even with the discount.· But generally, Medicare does
 ·4· ·not -- Medicare wouldn't pay for that.· I don't think
 ·5· ·it would be part of the dispensing fee to the -- to
 ·6· ·the part D plan.
 ·7· · · · ·Q· · So the classes for training that were
 ·8· ·done over time are not part of the dispensing fee
 ·9· ·paid by Medicare for the dispensing of the
 10· ·pharmaceutical drugs?
 11· · · · ·A· · Well, I'm not -- I don't know.
 12· ·I don't -- I'm not an expert on what's covered by the
 13· ·dispensing fee.· I think they may have been covered
 14· ·at least in part by the service fee paid by the
 15· ·residents.
 16· · · · ·Q· · Do you know whether the skills checks and
 17· ·the payments or costs associated with skills checks
 18· ·as required by the Georgia regulation is part of the
 19· ·dispensing fee paid by the PBMs?
 20· · · · ·A· · Again, I don't know.· I don't know
 21· ·anything about the dispensing fee in general, I mean,
 22· ·besides what I've read in the reports.· I think it
 23· ·could be covered by the service fee.
 24· · · · ·Q· · If the skills check discounts and the
 25· ·class discounts are covered by the dispensing fee,

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 ·1· ·you understand that Guardian needs to report that to
 ·2· ·the PBMs, do you not?
 ·3· · · · ·A· · Not -- no -- how the -- exactly what gets
 ·4· ·reported and what doesn't.
 ·5· · · · ·Q· · You don't know that one way or the other?
 ·6· · · · ·A· · No.
 ·7· · · · ·Q· · When you looked at the deposition
 ·8· ·testimony, did you review any of the pharmacy reports
 ·9· ·that were provided by Guardian for the quarterly
 10· ·consulting that was done?
 11· · · · ·A· · Yes, I looked at some of them, some of
 12· ·the exhibits.· I can't say I read them all carefully.
 13· · · · ·Q· · And you know that those pharmacy reports
 14· ·are provided to the community but they're not
 15· ·provided to the resident unless requested, right?
 16· · · · ·A· · Yes, not directly.· Yes.
 17· · · · ·Q· · And you know the pharmacy reports also
 18· ·are not provided to the PBMs, right?
 19· · · · ·A· · I don't know, but I wouldn't think so.
 20· · · · ·Q· · Let me ask you to look at 46 which I'm
 21· ·going to put up.
 22· · · · · · · ·(Whereupon, Exhibit No. 46 was previously
 23· · · · ·marked for identification by the court
 24· · · · ·reporter.)
 25· ·BY MR. CALLOW:

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 ·1· · · · ·Q· · You have 46 up there, sir?
 ·2· · · · ·A· · I do now, yes.
 ·3· · · · ·Q· · 46 is 118295 through 303.· You'll see
 ·4· ·those Bates stamps in the bottom right corner there.
 ·5· · · · ·A· · So what were the numbers again?
 ·6· · · · ·Q· · The Bates stamps are in the bottom right
 ·7· ·corner of Exhibit 46.· It should be Guardian 118295
 ·8· ·through 118303.
 ·9· · · · ·A· · Yep.
 10· · · · ·Q· · You have that?
 11· · · · ·A· · Yes.
 12· · · · ·Q· · This is a pharmacy report that Lori
 13· ·Newcomb prepared for Waterford and Oakwood in May of
 14· ·2015.· Do you see that?
 15· · · · ·A· · Yes.
 16· · · · ·Q· · In the middle of that first page, there's
 17· ·a paragraph that starts:· Guardian Pharmacy is
 18· ·servicing 57 percent of your residents.
 19· · · · ·A· · Yes.
 20· · · · ·Q· · That in October of 2014, we had
 21· ·54 percent and in January 52 percent.· We really need
 22· ·to be above 80 percent in order to consider packaging
 23· ·changes, new carts and more accurate data collection.
 24· · · · · · · Do you see that?
 25· · · · ·A· · Yes.

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 ·1· · · · ·Q· · Ms. Newcomb is telling Waterford and
 ·2· ·Oakwood that they need to be get to 80 percent of the
 ·3· ·residents in order to get more accurate data
 ·4· ·collection for servicing the clients.· Do you see
 ·5· ·that?
 ·6· · · · ·A· · I do.
 ·7· · · · ·Q· · They're already servicing 57 percent
 ·8· ·which is greater than they had in the months before,
 ·9· ·and Ms. Newcomb is telling them that for packaging
 10· ·changes, a new cart and more accurate data the
 11· ·community has to get them to 80 percent.· Do you see
 12· ·that?
 13· · · · ·A· · I don't think it says that.· I see where
 14· ·you're reading.· I don't think it says what you say.
 15· · · · ·Q· · We really need to be above 80 percent in
 16· ·order to consider packaging changes, new carts and
 17· ·more accurate data collection.· That's what Guardian
 18· ·is telling the executive director and wellness
 19· ·director of Waterford and Oakwood, correct?
 20· · · · ·A· · Yes.
 21· · · · ·Q· · Guardian is not providing packaging
 22· ·changes, new carts or more accurate data collection
 23· ·until they get 80 percent of the residents at that
 24· ·community.
 25· · · · ·A· · They said they need 80 percent to

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 ·1· ·consider that.· It doesn't say -- I see nothing
 ·2· ·asking a community to do anything.· It's just stating
 ·3· ·a fact.
 ·4· · · · ·Q· · That's stating a fact and not encouraging
 ·5· ·those communities to get more residents to come to
 ·6· ·Guardian?
 ·7· · · · ·A· · No.
 ·8· · · · ·Q· · And you think it's appropriate for
 ·9· ·Guardian to hold out packaging changes, carts and
 10· ·more accurate data collection until it happens to hit
 11· ·80 percent of the residents?
 12· · · · ·A· · I certainly think they're -- yes, there
 13· ·are circumstances in which it's perfectly
 14· ·appropriate.· I don't know particularly this facility
 15· ·or this -- but I think it was explained in the
 16· ·depositions.
 17· · · · ·Q· · So 57 percent of the residents chose
 18· ·Guardian.· 57 percent have contracts with Guardian.
 19· ·But Guardian's not going to provide new packaging,
 20· ·new carts or more accurate data collection until
 21· ·80 percent of the residents sign on?
 22· · · · ·A· · It says unless.· Yeah, before they do
 23· ·that.
 24· · · · ·Q· · So those 57 residents don't have
 25· ·packaging changes, don't have new carts and don't

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 ·1· ·have accurate data collection until Guardian somehow
 ·2· ·gets 80 percent, not 57 percent?
 ·3· · · · · · · MR. RISSLER:· Objection, misstates the
 ·4· · · · document.
 ·5· · · · ·A· · I mean, I think what it says is -- I
 ·6· ·mean, it says -- it says what it says.· As I said,
 ·7· ·there may be many reasons why you don't.· I think
 ·8· ·there's testimony about you don't change -- the drug
 ·9· ·packaging is a big -- has consequences I don't
 10· ·understand.· There's clearly discussions, and I think
 11· ·there's deposition testimony on why you didn't want
 12· ·to switch until there was a lot.· I think there's a
 13· ·lot of safety concerns.· I think the carts actually
 14· ·go with the scripts.· So it goes with the kind of
 15· ·packaging you have.· You have different kinds of
 16· ·packaging.· And I don't know what they're talking
 17· ·about, the data collection.
 18· · · · · · · But as I said, it's perfectly -- it's
 19· ·perfectly appropriate for vendors to provide
 20· ·different services depending on how many customers
 21· ·they have in -- from a particular facility, I mean,
 22· ·whether it's long-term care or anything else.
 23· ·BY MR. CALLOW:
 24· · · · ·Q· · Just to be clear, sir, when you say
 25· ·"vendor," you're talking about Guardian of Atlanta, a

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 ·1· ·long-term care pharmacy that is handling the
 ·2· ·medications for a person in an assisted living
 ·3· ·community.· You're treating them like a FedEx truck
 ·4· ·by calling them a vendor.
 ·5· · · · · · · MR. RISSLER:· Objection.
 ·6· ·BY MR. CALLOW:
 ·7· · · · ·Q· · This vendor has obligations under federal
 ·8· ·and state requirements to ensure the patient safety
 ·9· ·of the people that sign up for a contract.· And
 10· ·you're telling me that it's okay for Guardian
 11· ·Pharmacy to hold up packaging changes, new carts and
 12· ·more accurate data collection to 57 percent of the
 13· ·residents until somehow it gets to 80 percent of
 14· ·residents.· That's your testimony under oath here
 15· ·today?
 16· · · · · · · MR. RISSLER:· Objection, misstates his
 17· · · · testimony, misstates the document.
 18· · · · ·A· · My testimony under oath is that there is
 19· ·no evidence and I heard no allegations in this that
 20· ·Guardian -- that these particular patients were
 21· ·somehow unsafe or didn't have it better.· They just
 22· ·don't -- they have a different kind of packaging and
 23· ·they have data collection.
 24· · · · · · · You're -- you were -- your statement has
 25· ·no basis on what's in the record here.· What they do

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 ·1· ·say is we won't consider certain changes until we
 ·2· ·have enough people for reasons that they can best
 ·3· ·explain.
 ·4· ·BY MR. CALLOW:
 ·5· · · · ·Q· · So you as an Anti-Kickback Statute
 ·6· ·consulting expert testifying here today find nothing
 ·7· ·of any significance or concern with Guardian telling
 ·8· ·the community that servicing 57 percent of the
 ·9· ·residents is not enough to get packaging changes, new
 10· ·carts and more accurate data collection and they
 11· ·really need to be above 80 percent to do so.· It
 12· ·doesn't bother you at all?· Nothing wrong here at
 13· ·all?· Take a look and move on to your opinion.
 14· · · · ·A· · Nothing on its face.· I don't -- first of
 15· ·all, there's no remuneration to the facility.· So the
 16· ·kickback statute as far as I read this isn't even
 17· ·implicated.
 18· · · · ·Q· · Because the new cart that they get with
 19· ·80 percent isn't something that the community would
 20· ·have to buy if they don't have it yet?
 21· · · · ·A· · We can talk about the cart.· The loan of
 22· ·the cart is perfectly acceptable.
 23· · · · ·Q· · But they don't get that new loan cart
 24· ·unless they get to 80 percent?
 25· · · · ·A· · I suspect the way this is that they

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 ·1· ·already have a cart.· They're having a different
 ·2· ·cart.
 ·3· · · · ·Q· · They want a new one.· They want the new
 ·4· ·cart.· And they don't get the new cart until they get
 ·5· ·to 80 percent?
 ·6· · · · ·A· · They may very well get the new cart when
 ·7· ·they have new packaging which requires a different
 ·8· ·cart.
 ·9· · · · ·Q· · That's your understanding?· The packaging
 10· ·determines the cart?
 11· · · · ·A· · I believe there is testimony to that
 12· ·effect.
 13· · · · · · · ·(Whereupon, Exhibit No. 48 was previously
 14· · · · ·marked for identification by the court
 15· · · · ·reporter.)
 16· ·BY MR. CALLOW:
 17· · · · ·Q· · Let me ask you to look at Exhibit 48.· 48
 18· ·is another pharmacy report from Ms. Newcomb.
 19· · · · ·A· · I'm going to take a while here.
 20· · · · ·Q· · Okay.
 21· · · · ·A· · That's 46.· Is this Exhibit 48?
 22· · · · ·Q· · Yes, sir.· Exhibit 48 has a Bates number
 23· ·in the bottom of Guardian 115303 through 311.
 24· · · · ·A· · So we skipped 47?
 25· · · · ·Q· · Yes.

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 ·1· · · · ·A· · Okay.· I've got it in front of me.
 ·2· · · · ·Q· · 48 is another Ms. Newcomb report.· This
 ·3· ·one is to Waterford and Oakwood going to the
 ·4· ·executive director, the wellness director and the
 ·5· ·regional QA nurse.· Do you see that?
 ·6· · · · ·A· · Yes.
 ·7· · · · ·Q· · And this one is dated December of 2016,
 ·8· ·right?
 ·9· · · · ·A· · Yes.
 10· · · · ·Q· · I must begin with my biggest concern
 11· ·which is that Guardian is following the servicing on
 12· ·50 percent of your residents.· We were at a highest
 13· ·number of residents, paren, in a long time, closed
 14· ·paren, last quarter, 63 percent.· Please let us know
 15· ·if there is a problem with marketing or our services.
 16· ·There were 11 new residents admitted this quarter and
 17· ·only two of these came to Guardian Pharmacy.
 18· ·Remember that if you fall below 50 percent of
 19· ·residents, the community is at risk of losing
 20· ·services provided by Guardian Pharmacy.
 21· · · · · · · Do you see that?
 22· · · · ·A· · I do.
 23· · · · ·Q· · The community is not referring enough
 24· ·people to Guardian, and if they don't get 50 percent,
 25· ·Ms. Newcomb's going to withhold services.· You don't

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 ·1· ·believe this is in any way encouragement for the
 ·2· ·community to refer more patients to Guardian?
 ·3· · · · ·A· · Actually, I do not, and I don't think
 ·4· ·your prefatory statement was accurate.· But no, I
 ·5· ·think what this shows is that Guardian is concerned
 ·6· ·that it's going down and they're asking them what can
 ·7· ·we do about it.
 ·8· · · · ·Q· · The community is at risk of losing
 ·9· ·services provided by Guardian if the number falls
 10· ·below 50 percent.· Is that what she says?
 11· · · · ·A· · Yes.
 12· · · · ·Q· · Guardian's going to take away services to
 13· ·the 49 percent of the residents it services unless it
 14· ·gets 50 percent of all the residents.· You see that?
 15· · · · ·A· · Yes.
 16· · · · · · · MR. RISSLER:· Objection, misstates the
 17· · · · document.
 18· ·BY MR. CALLOW:
 19· · · · ·Q· · What do those poor 49 percent of
 20· ·residents do that signed up with Guardian that are
 21· ·going to lose services provided by Guardian if other
 22· ·residents choose not to sign up with Guardian?
 23· · · · · · · MR. RISSLER:· Objection, misstates the
 24· · · · exhibit.
 25· · · · ·A· · Well, I -- it is -- certainly they're

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 ·1· ·still getting the services that they paid for.
 ·2· ·There's no indication of that.· Maybe there are
 ·3· ·additional -- and the fact is that it's -- we don't
 ·4· ·really know what Ms. Newcomb is specifically
 ·5· ·referencing.· But I think more importantly it's not
 ·6· ·saying get other people up; it's saying let us know
 ·7· ·if there are concerns so we can address them.
 ·8· ·BY MR. CALLOW:
 ·9· · · · ·Q· · If you fall below 50 percent of
 10· ·residents, the community is at risk of losing
 11· ·services provided by Guardian Pharmacy.
 12· · · · · · · Is that an acceptable statement that you
 13· ·believe a consulting pharmacist at Guardian should
 14· ·make to a community?· Are you fine with that
 15· ·statement?· You're okay with that statement?
 16· · · · ·A· · Is the question do I think that violates
 17· ·the kickback statute somehow, or do I think it's just
 18· ·not a good thing to say?
 19· · · · ·Q· · Do you think it's a good thing to say?
 20· ·Let's start with that.· Do you think it's a good
 21· ·thing to say in your years of healthcare experience
 22· ·for a consulting pharmacist to tell the community if
 23· ·you fall below 50 percent of residents, I'm cutting
 24· ·your services?· Do you think that's --
 25· · · · · · · MR. RISSLER:· Objection, misstates the

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 ·1· · · · documents.
 ·2· · · · ·A· · I don't think that's -- I think she's
 ·3· ·saying you're at risk and we should talk about it.
 ·4· ·We don't know what services they're talking about.
 ·5· ·We don't know -- we don't know what exactly she's
 ·6· ·referencing.
 ·7· · · · · · · ·(Whereupon, Exhibit No. 39 was previously
 ·8· · · · ·marked for identification by the court
 ·9· · · · ·reporter.)
 10· ·BY MR. CALLOW:
 11· · · · ·Q· · Let me ask you to look at Exhibit 39
 12· ·which Mr. Miller will put on the screen.· Take a
 13· ·moment to review that and I'll ask you some questions
 14· ·with respect to it.
 15· · · · ·A· · (Witness complies with request of
 16· ·counsel.)
 17· · · · ·Q· · 39 is a one-page document from one of the
 18· ·depos that you read.· It's Guardian 11720.· Take a
 19· ·moment to review it.· I'll ask you some questions
 20· ·with respect to it.
 21· · · · · · · Have you looked at Exhibit 39?
 22· · · · ·A· · Yes.
 23· · · · ·Q· · 39 is an e-mail from Ms. Newcomb
 24· ·internally where she notes that the percentage of
 25· ·residents serviced at Waterford has dropped to

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 ·1· ·57 percent, correct?
 ·2· · · · ·A· · Yes.
 ·3· · · · ·Q· · The staff at Waterford wants to convert
 ·4· ·us to eMAR and Ms. Newcomb told them that without a
 ·5· ·majority of the residents, it was not possible,
 ·6· ·correct?
 ·7· · · · ·A· · Yes.
 ·8· · · · ·Q· · The community wants the safer strips and
 ·9· ·the safer eMAR.· And Ms. Newcomb told them no unless
 10· ·there's 50 percent of the residents signing with
 11· ·Guardian?
 12· · · · · · · MR. RISSLER:· Objection, misstates the
 13· · · · document.
 14· ·BY MR. CALLOW:
 15· · · · ·Q· · And you think this is good business
 16· ·practice as well, nothing wrong here, nothing to see?
 17· · · · ·A· · Again, I believe this is a -- Ms. Newcomb
 18· ·addressed this in her deposition that it is basically
 19· ·in their view it is unsafe unless you have a
 20· ·significant majority.
 21· · · · ·Q· · That is not what she said in the depo;
 22· ·what she said in the depo at pages 158 and 159:· But
 23· ·as I understand your testimony about this e-mail even
 24· ·if a majority of the residents at Waterford and
 25· ·Oakwood sign an agreement with Guardian Atlanta and

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 ·1· ·are willing to pay this conversion to strips and
 ·2· ·eMAR, Guardian of Atlanta is not going to provide
 ·3· ·that until you get a super majority of people.
 ·4· · · · · · · The answer:· Yes, because what is the
 ·5· ·community going to do for the other people and what's
 ·6· ·going to happen.· How they are -- their meds going to
 ·7· ·be passed and what kind of packaging are they going
 ·8· ·to be in.· And it's all about the safety of the
 ·9· ·residents.
 10· · · · · · · So what Yvonne and the staff need to get
 11· ·more people to sign up for Guardian, what do you want
 12· ·them to do?· I don't know and I want them to --
 13· ·that's not my issue.
 14· · · · · · · You don't think that was encouraging
 15· ·Yvonne and her staff to get more people to sign up
 16· ·with Guardian so they can get strips and eMAR?
 17· · · · ·A· · I think she says she's going to call for
 18· ·a family night.· She wants to increase the -- as I
 19· ·said, it says she's not doing it until they think
 20· ·it's safe.
 21· · · · · · · MR. CALLOW:· Why don't we take five
 22· · · · minutes and switch to another topic after
 23· · · · the break.
 24· · · · · · · THE VIDEOGRAPHER:· This is the end of
 25· · · · Media 2.· The time is 3:07 p.m.· We're now

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 ·1· · · · off the record.
 ·2· · · · · · · (Whereupon, the video camera was
 ·3· · · · turned off.)
 ·4· · · · · · · (Whereupon, a brief recess was taken.)
 ·5· · · · · · · (Whereupon, the video camera was
 ·6· · · · turned on.)
 ·7· · · · · · · THE VIDEOGRAPHER:· This is the
 ·8· · · · beginning of Media 3.· The time is
 ·9· · · · 3:17 p.m.· We're back on the record.
 10· ·BY MR. CALLOW:
 11· · · · ·Q· · Mr. McAnaney, can you hear me?
 12· · · · ·A· · Yes.
 13· · · · ·Q· · I'm going to have Mr. Miller put up
 14· ·Exhibit 58.
 15· · · · · · · ·(Whereupon, Exhibit No. 58 was previously
 16· · · · ·marked for identification by the court
 17· · · · ·reporter.)
 18· ·BY MR. CALLOW:
 19· · · · ·Q· · Do you have 58 handy?
 20· · · · ·A· · Yes.
 21· · · · ·Q· · Okay.· 58 is a DOJ press release from
 22· ·November 3rd, 2009 relating to the Omnicare and
 23· ·Omnicare settlement.· Do you see that?
 24· · · · ·A· · Yes.
 25· · · · ·Q· · Are you familiar with this settlement?

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 ·1· · · · ·A· · I mean, I -- I've read the press release.
 ·2· · · · ·Q· · Did you ever write about it, do an
 ·3· ·article or speak about it?
 ·4· · · · ·A· · Not that I recall.
 ·5· · · · ·Q· · You'll note that this settlement in the
 ·6· ·middle of the third paragraph says:· The government
 ·7· ·further alleged that Omnicare regularly paid
 ·8· ·kickbacks to nursing homes by providing consultant
 ·9· ·pharmacist services rates below the company's cost
 10· ·and below the fair market value of such services in
 11· ·order to induce the homes to refer their patients to
 12· ·Omnicare for pharmacy services.· Correct?
 13· · · · ·A· · Correct.
 14· · · · ·Q· · That was part of the settlement?
 15· · · · ·A· · Yes, that was -- that was part of the
 16· ·conduct that they settled.
 17· · · · ·Q· · And your work that you told me about for
 18· ·Omnicare, was it before after this settlement if you
 19· ·know, knowing that this is November 3rd of 2009?
 20· · · · ·A· · As I said, I don't recall.
 21· · · · · · · ·(Whereupon, Exhibit No. 59 was previously
 22· · · · ·marked for identification by the court
 23· · · · ·reporter.)
 24· ·BY MR. CALLOW:
 25· · · · ·Q· · Let me ask you to look at Exhibit 59.

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 ·1· · · · ·A· · (Witness complies with request of
 ·2· ·counsel.)
 ·3· · · · ·Q· · Have you seen this document before?
 ·4· · · · ·A· · I don't know that I've seen it before.                       I
 ·5· ·saw it referenced before.
 ·6· · · · ·Q· · You saw a reference to it, but you didn't
 ·7· ·read it before?
 ·8· · · · ·A· · I don't -- I don't believe so.
 ·9· · · · ·Q· · Okay.· Well, you talk in your report
 10· ·about experienced healthcare counsel, correct?
 11· · · · ·A· · Yes.
 12· · · · ·Q· · Experienced healthcare counsel will look
 13· ·at developments and write articles, case notes,
 14· ·(inaudible), correct?
 15· · · · ·A· · Yes.
 16· · · · ·Q· · Did you read this legal alert?
 17· · · · ·A· · Excuse me?
 18· · · · ·Q· · Have you read this client alert?
 19· · · · ·A· · I haven't read this particular one
 20· ·before.
 21· · · · ·Q· · Take a moment to read it and I'll ask you
 22· ·some questions with respect to it.
 23· · · · ·A· · (Witness complies with request of
 24· ·counsel.)· Okay.· I've read it.
 25· · · · ·Q· · Second page of the legal alert you see

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 ·1· ·the top paragraph:· The Anti-Kickback Statute and its
 ·2· ·accompanying regulations make it a criminal offense
 ·3· ·to knowingly and willfully offer, pay, solicit or
 ·4· ·receive any remuneration to induce or reward
 ·5· ·referrals of services which may be reimbursable in
 ·6· ·whole or in part by federal healthcare programs.
 ·7· · · · · · · Do you agree with that statement?
 ·8· · · · ·A· · No.
 ·9· · · · ·Q· · What's wrong with that statement?
 10· · · · ·A· · I think it's the phrase "to induce or
 11· ·reward referrals."· I'm not sure it necessarily
 12· ·prohibits one from rewarding referrals if one didn't
 13· ·have any sort of prior arrangement.
 14· · · · ·Q· · You would say "to induce," but you would
 15· ·take out "or reward"?
 16· · · · ·A· · I think that's what the statute says.
 17· ·The statute doesn't include any language towards a
 18· ·reward.
 19· · · · ·Q· · If we take out "or reward," you would
 20· ·agree with that statement?
 21· · · · ·A· · I think it's a -- I think it's a fairly
 22· ·generic restatement of the kickback statute, yes.
 23· · · · ·Q· · But with "or reward" you disagree with
 24· ·that statement?
 25· · · · ·A· · Yeah, I mean, it could, but I don't think

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 ·1· ·it -- certainly not on its face it does.· It would
 ·2· ·have to be inducing referrals.· So if you're
 ·3· ·rewarding referrals and you're not getting future
 ·4· ·referrals from somebody, I don't think you've
 ·5· ·violated the kickback statute.
 ·6· · · · ·Q· · Where remuneration is paid or received
 ·7· ·with the intent to induce or reward referrals the
 ·8· ·Anti-Kickback Statute can be violated.· Do you agree
 ·9· ·with that statement?
 10· · · · ·A· · Yes, that it can be violated.· Yeah.
 11· · · · ·Q· · The statute has been broadly
 12· ·interpreted --
 13· · · · ·A· · Excuse me.· Again, I would take out
 14· ·reward in that statement.
 15· · · · ·Q· · So you disagree with the statement as
 16· ·written.· If you take out "or reward," you would
 17· ·agree with the statement?
 18· · · · ·A· · I think that's -- yeah, I think that's a
 19· ·generally accurate statement.
 20· · · · ·Q· · Statute has been broadly interpreted to
 21· ·cover any arrangement where only one purpose of any
 22· ·number of purposes of the remuneration was to reward
 23· ·the referral of services to induce further referrals.
 24· ·Do you agree with that statement?
 25· · · · ·A· · No.· Again, I would take out the reward.

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 ·1· ·I think it's -- where one of the purposes -- and
 ·2· ·again, I mean, it covers it.· That doesn't -- it's
 ·3· ·not solely a violation, but it's where one purpose is
 ·4· ·to induce referrals.
 ·5· · · · ·Q· · So the statement as written you disagree
 ·6· ·with.· You would change "reward" to "induce" and then
 ·7· ·you would agree with the statement?
 ·8· · · · ·A· · Yes.· I think that's a -- that's a
 ·9· ·statement of --
 10· · · · · · · ·(Whereupon, Exhibit No. 394 was marked
 11· · · · ·for identification by the court reporter.)
 12· ·BY MR. CALLOW:
 13· · · · ·Q· · Sir, I'm going to have Mr. Miller put up
 14· ·394.· 394 is going to be a three-page document from a
 15· ·legal advisor called Buyer Beware.· If you would take
 16· ·a moment to review it.· I'll ask you some questions
 17· ·with respect to it.
 18· · · · ·A· · 59 or is that -- that was just what I
 19· ·saw, right?
 20· · · · ·Q· · 394, sir.
 21· · · · ·A· · Oh, I'm sorry.
 22· · · · ·Q· · That's all right.· No problem.
 23· · · · ·A· · I go to the bottom of the list.
 24· · · · ·Q· · It's okay.· It's okay.· Take your time.
 25· · · · ·A· · Okay.· I've got it in front of me.

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 ·1· · · · ·Q· · Have you seen this legal advisor alert
 ·2· ·from Ropes & Gray before?
 ·3· · · · ·A· · No.
 ·4· · · · ·Q· · Do you know who Ropes & Gray is?
 ·5· · · · ·A· · Yes.
 ·6· · · · ·Q· · When you talk about experienced
 ·7· ·healthcare counsel, I assume Ropes & Gray would fit
 ·8· ·that bill, would they not?
 ·9· · · · ·A· · Yes.
 10· · · · ·Q· · So this is another legal alert talking
 11· ·about the Omnicare settlement.· Do you see that?
 12· · · · ·A· · Yes.
 13· · · · ·Q· · And the settlement in the first paragraph
 14· ·specifically talks about the fact that they relied
 15· ·upon the OIG supplemental compliance program guidance
 16· ·for nursing facilities, which is a document we looked
 17· ·at earlier, right, September 30th, 2008, guidance
 18· ·that was 392, right?
 19· · · · ·A· · I'm sorry, I thought you said they relied
 20· ·on it.· I don't see anything here that says they
 21· ·relied on it.
 22· · · · ·Q· · So let's look at that first paragraph.
 23· ·The settlement came one year after the Department of
 24· ·Health and Human Services Office of Inspector
 25· ·General, paren, OIG, closed paren, published its

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 ·1· ·supplemental compliance program guidance for nursing
 ·2· ·facilities, closed -- quotation marks, cautioning
 ·3· ·that free goods and service arrangements, such as
 ·4· ·pharmaceutical consultant services, medication
 ·5· ·management or supplies offered by a pharmacy are
 ·6· ·suspect and warrant careful review.· Right?
 ·7· · · · ·A· · Yes.
 ·8· · · · ·Q· · And that is what we looked at earlier in
 ·9· ·392 which had the footnote we talked about that says
 10· ·in the long-term care space, that consulting
 11· ·relationship is suspect or can be, right?
 12· · · · ·A· · I think it said that.
 13· · · · ·Q· · And then on page two of the legal alert,
 14· ·third full paragraph, first column, citing OIG's 2008
 15· ·guidance, the settlement agreement stated that the,
 16· ·quote, consultant pharmacist services contracts
 17· ·between Omnicare and nursing homes implicated the
 18· ·Anti-Kickback Statute because, inter alia, bracket,
 19· ·among other things, closed bracket, they involved the
 20· ·provision of services at below cost and/or below fair
 21· ·market value.· Correct?
 22· · · · ·A· · Yes, that's what it says.
 23· · · · ·Q· · This legal alert certainly isn't saying
 24· ·that Omnicare only applies to skilled nursing
 25· ·facilities.· They're talking about applying to

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 ·1· ·long-term care facilities and the relationships
 ·2· ·between long-term care facilities and pharmacy
 ·3· ·providers, correct?
 ·4· · · · ·A· · I'm not sure what the -- I think they're
 ·5· ·talking about nursing homes.
 ·6· · · · ·Q· · Well, back on page one, Heightened
 ·7· ·Scrutiny:· The Omnicare settlement and the OIG
 ·8· ·guidance suggests that the relationships between
 ·9· ·long-term care facilities and pharmacy providers will
 10· ·likely be subject to increased government oversight
 11· ·and enforcement in the near future, resulting in a
 12· ·need to revisit pricing structures.· Correct?
 13· · · · ·A· · Yes.
 14· · · · ·Q· · It says long-term care facilities, not
 15· ·skilled nursing facilities, right?
 16· · · · ·A· · I think it's nursing homes and skilled
 17· ·nursing facilities.
 18· · · · ·Q· · Including long-term care facilities,
 19· ·right?
 20· · · · ·A· · I don't think people -- I mean, I
 21· ·generally don't -- long-term care facility generally
 22· ·means nursing homes.· I don't think it necessarily --
 23· ·I mean -- I mean, as opposed to personal care homes
 24· ·or assisted living.
 25· · · · ·Q· · So reading this legal alert, you wouldn't

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 ·1· ·think that assisted living communities in Georgia
 ·2· ·would note that they were in a long-term care
 ·3· ·facility when they read this legal alert?
 ·4· · · · ·A· · I think they -- I mean, I think the
 ·5· ·settlement and the guidance is specific to nursing
 ·6· ·homes.· Do I think they wouldn't take note of it?
 ·7· ·Sure.
 ·8· · · · ·Q· · You think the guidance is specific to
 ·9· ·nursing homes?· You don't think it advises or helps
 10· ·guide the relationship between Guardian and long-term
 11· ·care facilities in Georgia that are not skilled
 12· ·nursing homes?
 13· · · · ·A· · I think it -- it's only as applicable as
 14· ·it's applicable.· And I think there are differences
 15· ·between -- there are differences between those types
 16· ·of facilities.
 17· · · · ·Q· · So you would in your practice not use the
 18· ·Omnicare settlement of these legal alerts in advising
 19· ·a long-term care pharmacy or an assisted living
 20· ·community about the Anti-Kickback Statute, what's
 21· ·appropriate or not appropriate?
 22· · · · ·A· · No, I would take it into consideration
 23· ·for what it's worth.
 24· · · · ·Q· · In your private practice, do you ever
 25· ·conclude that a relationship is inappropriate and

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 ·1· ·violates the Anti-Kickback Statute?
 ·2· · · · ·A· · Well, I never conclude that something
 ·3· ·violates the Anti-Kickback Statute.· I say this is --
 ·4· ·this is highly risky, and that this is probably not
 ·5· ·where you want to go.· And generally -- I mean,
 ·6· ·generally, I say there's a risk that it would be --
 ·7· ·if brought -- I mean, if it comes to someone's
 ·8· ·attention or a Relator that the statute would be --
 ·9· ·incur a lot of costs and potential liability.
 10· · · · ·Q· · So from 2003 to present, you've never
 11· ·advised a client that you think an arrangement or
 12· ·relationship violates the Anti-Kickback Statute?
 13· · · · ·A· · I do not -- I generally do not -- I mean,
 14· ·I think things are very problematic but do I --
 15· ·that's a jury -- only a jury decides whether
 16· ·something violates the kickback statute.· And I
 17· ·very -- I never have access to the facts of what one
 18· ·would look for for knowing and willfully.
 19· · · · ·Q· · In advising your clients in your private
 20· ·practice, you don't have access to the facts to make
 21· ·a determination of knowing or willful?
 22· · · · ·A· · Not all the facts, not all the e-mail.                     I
 23· ·mean, I'm not going to do discovery.
 24· · · · ·Q· · Do you ask --
 25· · · · ·A· · I rely on what they tell me.

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 ·1· · · · ·Q· · So you never ask your clients about
 ·2· ·information that help you evaluate the knowing and
 ·3· ·willful component?
 ·4· · · · ·A· · Of course I ask them.· I'm just saying I
 ·5· ·have no guarantee I get it, and I'm not going to --
 ·6· ·the Anti-Kickback Statute is a criminal statute,
 ·7· ·requires knowing and willful intent, the highest
 ·8· ·criminal standard possible.· And it's highly factual
 ·9· ·in circumstances.· So no, I'm a sole practitioner.
 10· ·People advise me on structures and arrangements.
 11· ·It's usually enough to know it's going to be
 12· ·problematic.
 13· · · · · · · ·(Whereupon, Exhibit No. 395 was marked
 14· · · · ·for identification by the court reporter.)
 15· ·BY MR. CALLOW:
 16· · · · ·Q· · All right, sir.· We're going to put up
 17· ·Exhibit 395.· 395 is a Lexis printout of a decision
 18· ·issued in the United States, ex rel., Banigan versus
 19· ·Organon USA, Inc.
 20· · · · · · · Are you familiar with that decision?
 21· · · · ·A· · Yes, that's the -- that's the -- that's
 22· ·the case I was thinking about.
 23· · · · ·Q· · Okay.· This is the case where you were an
 24· ·expert?
 25· · · · ·A· · Yes.· I believe so.· Let me get it up

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 ·1· ·because my memory --
 ·2· · · · ·Q· · Do you recall that your expert opinion
 ·3· ·was Dauberted out and ruled inadmissible?
 ·4· · · · ·A· · Excuse me?
 ·5· · · · ·Q· · Do you recall that your opinion was ruled
 ·6· ·inadmissible under Daubert?
 ·7· · · · ·A· · In part.
 ·8· · · · ·Q· · In part.· Most of your opinion was
 ·9· ·knocked out where you were not qualified as an expert
 10· ·to offer the opinions.· Do you recall that?
 11· · · · ·A· · Yes.· However, I was allowed to testify
 12· ·as to the guidance and what people would have relied
 13· ·on.
 14· · · · ·Q· · You were allowed to testify to guidance
 15· ·but you were not allowed to apply -- testify
 16· ·regarding its application in the healthcare field
 17· ·because the court said that there could be little
 18· ·doubt that Mr. McAnaney is an experienced healthcare
 19· ·lawyer, but what is lacking from his background is
 20· ·direct experience in the pharmaceutical industry.
 21· · · · · · · Mr. McAnaney has not worked for a
 22· ·pharmaceutical company nor any other company in the
 23· ·healthcare industry, paren, save his one-year stint
 24· ·as a junior lawyer handling general claims of a
 25· ·hospital around 1980, closed paren, period.· This

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 ·1· ·hardly makes him qualified to testify about what
 ·2· ·companies in the healthcare industry would have
 ·3· ·reasonably believed as he seeks to do in topics
 ·4· ·three, four and five of his report.
 ·5· · · · · · · It also renders him ill-suited to testify
 ·6· ·about what is common, usual and customary in the
 ·7· ·pharmaceutical industry as he seeks to do in the
 ·8· ·first topic.
 ·9· · · · · · · Is that accurate?
 10· · · · ·A· · I mean, if you say so.
 11· · · · ·Q· · Well, do you have it up, sir?
 12· · · · ·A· · Yes.
 13· · · · ·Q· · So take a look at -- it starts on the
 14· ·bottom of three of six, column?
 15· · · · ·A· · Yes.
 16· · · · ·Q· · There's a paragraph there can be little
 17· ·doubt that Mr. McAnaney is an experienced healthcare
 18· ·lawyer.
 19· · · · ·A· · Yes.
 20· · · · ·Q· · But what is lacking from his background
 21· ·is direct experience in the pharmaceutical industry.
 22· · · · ·A· · Yes.
 23· · · · ·Q· · Right?
 24· · · · ·A· · Yes.
 25· · · · ·Q· · He has not worked for a pharmaceutical

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 ·1· ·company nor any other company in the healthcare
 ·2· ·industry, save his one-year stint as a junior lawyer
 ·3· ·handling general claims in a hospital around 1980.
 ·4· ·This hardly makes him qualified to testify about what
 ·5· ·companies in the healthcare industry would have
 ·6· ·reasonably believed as he seeks to do on topics
 ·7· ·three, four and five of his report, right?
 ·8· · · · ·A· · Yes.
 ·9· · · · ·Q· · Then it goes on to talk that you had
 10· ·opinions on what questions would be addressed and
 11· ·what would have been considered in determining
 12· ·whether the discounts violated the Anti-Kickback
 13· ·Statute and notes that your opinions are paradigmatic
 14· ·examples of improper speculation.
 15· · · · · · · Do you see that in the second column --
 16· · · · ·A· · I do.
 17· · · · ·Q· · -- (inaudible) paragraph?
 18· · · · · · · The next page notes on page five in the
 19· ·first column:· Mr. McAnaney offers opinions on what
 20· ·experienced healthcare attorneys and regulators would
 21· ·have reasonably believed about the discounts and
 22· ·rebates during the relevant time period.· As a
 23· ·threshold matter, what experienced healthcare
 24· ·attorneys would have believed is not relevant to
 25· ·whether Omnicare knew it was contravening the AKS.

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 ·1· ·Omnicare's own views of course are the most relevant
 ·2· ·to that inquiry.
 ·3· · · · · · · In other companies' reviews and
 ·4· ·regulators' reviews may provide circumstantial
 ·5· ·evidence of what Omnicare knew, but the views of
 ·6· ·experienced healthcare attorneys are less probative
 ·7· ·of Omnicare's knowledge.· These attorneys' views are
 ·8· ·likely derivative of their clients' views and their
 ·9· ·expectations of the regulators' views, so they have
 10· ·little probative value on their own.· And even if
 11· ·other attorneys' views can be deemed relevant, the
 12· ·reliability of Mr. McAnaney's methodology and
 13· ·offering his opinions on these views is suspect under
 14· ·Daubert.
 15· · · · · · · Correct?
 16· · · · ·A· · That's what the -- that's what the
 17· ·opinion says.
 18· · · · ·Q· · Further on the second column on page
 19· ·five:· Mr. McAnaney's opinions about what the
 20· ·regulators would have reasonably believed also failed
 21· ·under the Daubert standard.· He does nothing more
 22· ·than rely on his prior employment at OIG to review
 23· ·the facts of this case and speculate about how
 24· ·regulators would have reacted to that evidence.· He
 25· ·uses no testable methodology to arrive at his

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 ·1· ·conclusions as to what regulators might have
 ·2· ·reasonably believed.· He does not explain how his
 ·3· ·experience leads to the conclusions that he reaches,
 ·4· ·why his experience offers him sufficient basis for
 ·5· ·his opinions or how his experience can reliably be
 ·6· ·applied to the facts here.
 ·7· · · · · · · Did I read that correctly?
 ·8· · · · ·A· · I assume so.
 ·9· · · · ·Q· · Mr. McAnaney's opinions about what
 10· ·regulators might have believed are supported only by
 11· ·his ipse dixit and are not sufficiently reliable to
 12· ·be admissible expert testimony.
 13· · · · · · · You see that in page five as well?
 14· · · · ·A· · Yes.
 15· · · · ·Q· · So your opinion was rejected on topics
 16· ·one and three through five.· And with respect to
 17· ·topic two, you were limited in what you could testify
 18· ·about; is that correct?
 19· · · · ·A· · Yes.
 20· · · · ·Q· · Have you been Dauberted in other
 21· ·situations, sir?· Have your expert opinions been
 22· ·rejected in other cases that you've testified in?
 23· · · · ·A· · They've been limited in part in some.
 24· ·I've been Dauberted in virtually every case, but most
 25· ·of them never comes to a decision.

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 ·1· · · · ·Q· · What other cases have your opinions been
 ·2· ·limited or stricken that you can recall?
 ·3· · · · ·A· · I can't recall off the top of my head.
 ·4· · · · ·Q· · But they have been limited or stricken in
 ·5· ·other cases?
 ·6· · · · ·A· · I think in at least one other case it was
 ·7· ·limited somewhat.
 ·8· · · · ·Q· · So in your Exhibit B to your report you
 ·9· ·cite to Comprehensive Neurosurgical, PC, et al.,
 10· ·versus The Valley Hospital, case pending in Bergen
 11· ·County.· You've given a deposition in that case?
 12· · · · ·A· · I must have done a deposition because
 13· ·it's -- because it's on the list.
 14· · · · ·Q· · And who were you retained by in that
 15· ·case?
 16· · · · ·A· · Well, let me go call up my --
 17· · · · ·Q· · It's Exhibit B to your report, so take
 18· ·your time and get to it.
 19· · · · · · · MR. RISSLER:· Do we have Exhibit B up
 20· · · · as an exhibit, Joe?
 21· · · · · · · MR. CALLOW:· I'm sorry.
 22· · · · · · · MR. RISSLER:· We just have the report
 23· · · · and appendix A.
 24· · · · · · · MR. CALLOW:· You're right.· My fault,
 25· · · · Jared.· Let me fix that.· Hold on one

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 ·1· · · · second, Mr. McAnaney.
 ·2· · · · · · · THE WITNESS:· I remember it's not on
 ·3· · · · my --
 ·4· · · · · · · MR. CALLOW:· Hold on.· So it should be
 ·5· · · · up now, sir.· See if you can open
 ·6· · · · Exhibit B.· And it may be at the top or
 ·7· · · · bottom of that list depending on how your
 ·8· · · · system deals with it.
 ·9· · · · · · · THE WITNESS:· Appendix C.· Appendix B,
 10· · · · okay.· Let me just...
 11· · · · · · · ·(Whereupon, Exhibit No. 396 was marked
 12· · · · ·for identification by the court reporter.)
 13· ·BY MR. CALLOW:
 14· · · · ·Q· · So appendix B were the cases that you
 15· ·listed over the last four years.
 16· · · · ·A· · Yes, it's where I've given testimony on.
 17· ·So in that case, I was pending expert opinion
 18· ·proffered by Valley Hospital.
 19· · · · ·Q· · Generally, what do you recall the
 20· ·substance of your deposition or your expert report in
 21· ·that case to revolve around?
 22· · · · ·A· · It -- it -- it dealt with a combination
 23· ·of an exclusive contract between Valley Hospital and
 24· ·Comprehensive Neurosurgical, PC.· And I'm not -- I
 25· ·think it may have involved both Stark and kickback

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 ·1· ·issues.
 ·2· · · · ·Q· · Okay.· Do you know whether you are the
 ·3· ·subject of a Daubert motion in that case yet?
 ·4· · · · ·A· · I do not.
 ·5· · · · ·Q· · Do you know whether that's the case where
 ·6· ·you may have had your opinions limited or stricken?
 ·7· · · · ·A· · I do not believe they were limited or
 ·8· ·stricken in that case.
 ·9· · · · ·Q· · Second case is U.S., ex rel., Garrett
 10· ·versus Roach Diagnostics Corp.· Have you given a
 11· ·deposition in that case?
 12· · · · ·A· · I obviously did.
 13· · · · ·Q· · Do you recall when you gave a deposition
 14· ·in that case?
 15· · · · ·A· · No.
 16· · · · ·Q· · Do you recall who you testified for in
 17· ·that case?
 18· · · · ·A· · Well, my opinion was offered -- to tell
 19· ·you the truth, I don't remember the case at all.
 20· · · · ·Q· · Okay.· Do you know if that's the case
 21· ·where your opinion was stricken or limited in any
 22· ·respect?
 23· · · · ·A· · No.· It was not restricted in that case.
 24· · · · ·Q· · U.S., ex rel., Maggie versus Heart
 25· ·Hospital?

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 ·1· · · · ·A· · Yes.
 ·2· · · · ·Q· · Do you recall which -- or who you were
 ·3· ·retained by in that case?
 ·4· · · · ·A· · I was retained by McGee --
 ·5· · · · ·Q· · Okay.
 ·6· · · · ·A· · -- I believe it was and --
 ·7· · · · ·Q· · What do you recall the substance of that
 ·8· ·case being about?
 ·9· · · · ·A· · Yes, I was -- I mean, there was a
 10· ·specialty heart hospital that was basically
 11· ·terminating partners who didn't refer enough to the
 12· ·Heart Hospital.
 13· · · · ·Q· · And you testified for the Relator in that
 14· ·case?
 15· · · · ·A· · Yes.
 16· · · · ·Q· · And were your opinions in that case
 17· ·related to what?
 18· · · · ·A· · That the -- certain of the conduct of
 19· ·Heart Hospital had all the red flags of a violation
 20· ·of Stark and kickback.
 21· · · · ·Q· · Is that the case where your opinion was
 22· ·stricken or excluded?
 23· · · · ·A· · No.
 24· · · · ·Q· · Next case you have listed is Hebrew Homes
 25· ·versus Greenberg Traurig?

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 ·1· · · · ·A· · Yes.
 ·2· · · · ·Q· · Do you recall who retained you in that
 ·3· ·case?
 ·4· · · · ·A· · My opinion was offered on behalf of he
 ·5· ·Hebrew Homes.
 ·6· · · · ·Q· · And do you recall if that was the case
 ·7· ·where you were -- your opinions were stricken or
 ·8· ·excluded?
 ·9· · · · ·A· · No, there was no --
 10· · · · ·Q· · Generally, do you recall the topic of
 11· ·your expert testimony in the Hebrew Homes matter?
 12· · · · ·A· · Well, the case was a legal malpractice
 13· ·case and it dealt -- I testified as to what the
 14· ·standard would need for professional services and
 15· ·opining on the kickback or -- it dealt with specific
 16· ·facts and whether Greenberg's failure to investigate
 17· ·or the length of investigation, the amount of the
 18· ·investigation complied with standards of care and how
 19· ·it --
 20· · · · ·Q· · (Inaudible) malpractice case versus
 21· ·Anti-Kickback and Stark?
 22· · · · ·A· · Yes.· It was a malpractice case that was
 23· ·based on a failure to investigate a kickback or a
 24· ·potential kickback matter appropriately.
 25· · · · ·Q· · Okay.· United States of America and

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 ·1· ·several states through ex rel., Chris Purcell and
 ·2· ·Kimberly Groome versus Gilead Science.· Do you recall
 ·3· ·who retained you in that case?
 ·4· · · · ·A· · Yes.· The attorneys for Gilead Science.
 ·5· · · · ·Q· · And what do you recall the substance of
 ·6· ·your testimony was in that case?
 ·7· · · · ·A· · That case dealt with -- I'm trying to
 ·8· ·think of the -- basically I'm trying to think -- I
 ·9· ·can't remember the terms, but basically meals and
 10· ·dinners, so medical lectures to physicians in the
 11· ·community offered by speaker -- speaker programs.
 12· ·That's it.· It was a pharmaceutical speaker program
 13· ·case.
 14· · · · ·Q· · You testified for Gilead in that case?
 15· · · · ·A· · Yes.
 16· · · · ·Q· · And was your opinion stricken or excluded
 17· ·in that case?
 18· · · · ·A· · No.
 19· · · · ·Q· · Does going through these five help you in
 20· ·any way to refresh your recollection of what case was
 21· ·other than the Banigan case were your opinions
 22· ·stricken or excluded?
 23· · · · ·A· · No.· I can't -- I can't recall.· It may
 24· ·have been involving McKesson, but I can't -- I can't
 25· ·quite -- and it was basically allowed but they --

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 ·1· ·there was some constraints.· But in fact, the case
 ·2· ·settled.
 ·3· · · · ·Q· · Were you an expert for McKesson in the
 ·4· ·opioids litigation?
 ·5· · · · ·A· · Excuse me?
 ·6· · · · ·Q· · Were you an expert for McKesson in the
 ·7· ·opioids litigation relating to opioids distribution?
 ·8· · · · ·A· · No.
 ·9· · · · · · · MR. CALLOW:· Sir, we may be close to
 10· · · · done.· I'd like to take ten minutes and
 11· · · · talk to my cocounsel.· Let's come back at
 12· · · · 4:00 o'clock.· But we're either done or
 13· · · · we're very close to done today.· So just
 14· · · · give me a couple more minutes, and we'll
 15· · · · see what we have.· All right?
 16· · · · · · · THE WITNESS:· That's fine with me.
 17· · · · 4:00 o'clock?
 18· · · · · · · THE VIDEOGRAPHER:· The time is
 19· · · · 3:52 p.m.· We're now off the record.
 20· · · · · · · (Whereupon, the video camera was
 21· · · · turned off.)
 22· · · · · · · (Whereupon, a brief recess was taken.)
 23· · · · · · · (Whereupon, the video camera was
 24· · · · turned on.)
 25· · · · · · · THE VIDEOGRAPHER:· The time is

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 ·1· ·4:01 p.m.· We're back on the record.
 ·2· · · · ·MR. CALLOW:· Sir, that's all the
 ·3· ·questions I have for you today.                    I
 ·4· ·appreciate your time and your patience, but
 ·5· ·I think we're done.· Thank you.
 ·6· · · · ·THE WITNESS:· Thank you.
 ·7· · · · ·MR. RISSLER:· Thanks, everybody.
 ·8· · · · ·THE VIDEOGRAPHER:· This concludes the
 ·9· ·deposition.· The time is 4:01 p.m.· We're
 10· ·now off the record.
 11· · · · · (Whereupon, the video camera was turned
 12· · off.)
 13· · · · · · · · · · - - -
 14· · ·(Deposition concluded at 4:01 p.m.)
 15
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 ·1· · · · · · · · E R R A T A· S H E E T

 ·2
 · · · · ·Pursuant to Rule 30(7)(e) of the Federal
 ·3· ·Rules of Civil Procedure and/or Georgia Code
 · · ·Annotated 81A-130(B)(6)(e), any changes in form
 ·4· ·or substance which you desire to make to your
 · · ·deposition testimony shall be entered upon the
 ·5· ·deposition with· a statement of the reasons given
 · · ·for making them.
 ·6
 · · · · ·To assist you in making any such corrections,
 ·7· ·please use the form below.· If supplemental or
 · · ·additional pages are necessary, please furnish
 ·8· ·same and attach them to this errata sheet.

 ·9· · · · · · · · · · · ·- - -

 10· · · ·I, the undersigned, KEVIN MCANANEY, do hereby
 · · ·certify that I have read the foregoing deposition
 11· ·and that to the best of my knowledge said
 · · ·deposition is true and accurate (with the
 12· ·exception of the following corrections listed
 · · ·below).
 13

 14

 15· ·Page_____ Line______should read:_________________

 16· ·Reason for change:_______________________________

 17

 18· ·Page_____ Line______should

 19· ·read:__________________

 20· ·Reason for change:_______________________________

 21

 22· ·Page_____ Line______should

 23· ·read:__________________

 24· ·Reason for change:_______________________________

 25


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 ·1· ·Page_____ Line______should
 ·2· ·read:__________________
 ·3· ·Reason for
 ·4· ·change:________________________________
 ·5
 ·6· ·Page_____ Line______should
 ·7· ·read:__________________
 ·8· ·Reason for
 ·9· ·change:________________________________
 10
 11· ·Page_____ Line______should
 12· ·read:__________________
 13· ·Reason for
 14· ·change:________________________________
 15
 16· ·Page_____ Line______should
 17· ·read:__________________
 18· ·Reason for
 19· ·change:________________________________
 20
 21· ·Page_____ Line_____should
 22· ·read:___________________
 23· ·Reason for
 24· ·change:________________________________
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 ·1· ·Page_____ Line_____should
 ·2· ·read:___________________ Reason for
 ·3· ·change:________________________________
 ·4
 ·5· ·Page_____ Line_____should
 ·6· ·read:___________________ Reason for
 ·7· ·change:________________________________
 ·8
 ·9· ·_______________________
 10· ·Signature
 11· ·Sworn to and Subscribed before me
 12· ·_____________________, Notary Public.
 13· ·This________day of _______________, 2022.
 14· ·My Commission Expires:
 15
 16
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 21
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 ·1· · · · · · · · ·C E R T I F I C A T E

 ·2· ·STATE OF GEORGIA:

 ·3· ·COUNTY OF COBB:

 ·4

 ·5· · · · ·I hereby certify that the foregoing

 ·6· ·transcript was taken down as stated in the

 ·7· ·caption and the questions and answers thereto

 ·8· ·were reduced to typewriting under my direction,

 ·9· ·that the foregoing pages 1 through 219 represent

 10· ·a true, complete and correct transcript of the

 11· ·evidence given upon said hearing, and I further

 12· ·certify that I'm not of kin or counsel to the

 13· ·parties in the case; am not in the regular employ

 14· ·of counsel of any of said parties; nor am I in

 15· ·anywise interested in the result of said case.

 16· · · · ·This 23rd day of Jume 2022.

 17

 18

 19

 20· · · · · · · · · · · · · LYNNE C. FULWOOD,
 · · · · · · · · · · · · · · Certified Court Reporter
 21· · · · · · · · · · · · · State of Georgia
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